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                         UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MAINE


In re:
                                                   Bk. No. 13-10670
MONTREAL MAINE & ATLANTIC                          Chapter 11
RAILWAY, LTD.

                   Debtor.



         ORDER CONFIRMING TRUSTEE’S REVISED FIRST AMENDED PLAN
          OF LIQUIDATION DATED JULY 15, 2015 AND AUTHORIZING AND
           DIRECTING CERTAIN ACTIONS IN CONNECTION THEREWITH

         WHEREAS, on March 31, 2015, Robert J. Keach, the chapter 11 trustee (the “Trustee”)

of Montreal Maine & Atlantic Railway, Ltd. (the “Debtor”), filed with the United States

Bankruptcy Court for the District of Maine (the “Court”) the Trustee’s Plan of Liquidation Dated

March 31, 2015 [D.E. 1384] and the Disclosure Statement for the Trustee’s Plan of Liquidation

Dated March 31, 2015 [D.E. No. 1385];

         WHEREAS, on June 5, 2015, the Trustee filed with the Court the Notice of Filing Plan

Supplement [D.E. 1450];

         WHEREAS, on July 7, 2015, the Trustee filed with the Court the Trustee’s First

Amended Plan of Liquidation Dated July 7, 2015 [D.E. 1495] and the First Amended Disclosure

Statement with Respect to Trustee’s Plan of Liquidation Dated July 7, 2015 [D.E. No. 1497];

         WHEREAS, on July 8, 2015, the Trustee filed with the Court the Notice of Filing

Revised Exhibits to Plan Supplement [D.E. 1502];

         WHEREAS, on July 15, 2015, the Trustee filed the Trustee’s Revised First Amended

Plan of Liquidation Dated July 15, 2015 [D.E. 1534] (as may be amended in accordance with the
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Disclosure Statement Order, the “Plan” 1) and the Revised First Amended Disclosure Statement

with Respect to Trustee’s Plan of Liquidation Dated July 15, 2015 [D.E. No. 1535] (as may be

amended in accordance with the Disclosure Statement Order, the “Disclosure Statement”);

         WHEREAS, on July 17, 2015, this Court entered the Order (I) Approving Proposed

Disclosure     Statement;     (II) Establishing     Notice,     Solicitation    and    Voting     Procedures;

(III) Scheduling Confirmation Hearing; and (IV) Establishing Notice and Objection Procedures

for Confirmation of the Plan [D.E. 1544] (the “Disclosure Statement Order”);

         WHEREAS, on July 22, 2015, the Trustee filed the (a) Notice of Order (I) Approving

Proposed Disclosure Statement; (II) Establishing Notice, Solicitation and Voting Procedures;

(III) Scheduling Confirmation Hearing; and (IV) Establishing Notice and Objection Procedures

for Confirmation of the Plan [D.E. 1548] and (b) Notice to Holders of Derailment Claims of

Order (I) Approving Proposed Disclosure Statement; (II) Establishing Notice, Solicitation and

Voting Procedures; (III) Scheduling Confirmation Hearing; and (IV) Establishing Notice and

Objection Procedures for Confirmation of the Plan [D.E. 1549];

         WHEREAS, also on July 22, 2015, the Trustee caused the Confirmation Hearing Notice

to be published in the Bangor Daily News; Portland Press Herald; Wall Street Journal; and in the

following Canadian newspapers: La Presse (in French); La Tribune (in French); The Gazette (in

English); and The Sherbrooke Record (in English), as directed by the Disclosure Statement

Order and as set forth in the Certificate of Publication related to the Confirmation Hearing

Notice [D.E. 1622] (the “Certificate of Publication”);




1
 Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Plan or the
Trustee’s Motion for an Order (I) Approving Proposed Disclosure Statement; (II) Establishing Notice, Solicitation
and Voting Procedures; (III) Scheduling Confirmation Hearing; and (IV) Establishing Notice and Objection
Procedures for Confirmation of the Plan [D.E. 1432] (the “Disclosure Statement Motion”), as applicable.


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        WHEREAS, on July 24, 2015, the Trustee caused the Confirmation Hearing Notice to be

published in L’Echo de Frontenac (in French), as directed by the Disclosure Statement Order and

as set forth in the Certificate of Publication;

        WHEREAS, Solicitation Packages conforming to the requirements of the Disclosure

Statement Order were transmitted to creditors and parties-in-interest in accordance with the

Disclosure Statement Order, as set forth in the Affidavit of Service of Solicitation Materials and

Chapter 15 Documents [D.E. 1562] (the “Certificate of Service”);

        WHEREAS, on August 26, 2015, the Court entered the Chapter 15 Recognition and

Enforcement Order [No. 15-20518, D.E. 74];

        WHEREAS, the following objections to confirmation of the Plan were timely filed

(collectively, the “Objections”): (a) Objection of New Brunswick Southern Railway Company

Limited and Maine Northern Railway Company to Confirmation of the Trustee’s Revised First

Amended Plan of Liquidation Dated July 15, 2015 [D.E. 1656] (the “MN/NB Objection”);

(b) Canadian Pacific Railway Company’s objection to trustee’s July 15, 2015 plan of liquidation

[D.E. 1657] (the “CP Objection”); and (c) Wheeling & Lake Erie Railway Company’s Objection

to Confirmation of the Trustee’s Revised First Amended Plan of Liquidation Dated July 15, 2015

[D.E. 1659] (the “Wheeling Objection”);

        WHEREAS, on September 17, 2015, Prime Clerk, LLC (“Prime Clerk”), the Trustee’s

noticing and solicitation agent, filed the Declaration of Christina Pullo of Prime Clerk LLC

Regarding the Solicitation of Votes and Tabulation of Ballots Cast on the Trustee’s Revised First

Amended Plan of Liquidation Dated July 15, 2015 [D.E. 1689] (the “Voting Certification”)

certifying the results of the ballot tabulation for the votes to accept or reject the Plan;




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       WHEREAS, on September 17, 2015, the Trustee filed the Trustee’s Memorandum of

Law in Support of, and Omnibus Reply to Objections to, Confirmation of the Trustee’s Revised

First Amended Plan of Liquidation Dated July 15, 2015 [D.E. 1684] (the “Confirmation Brief”);

       WHEREAS, on September 17, 2015, the Trustee filed the following declarations in

support of confirmation of the Plan (collectively with the Settling Defendant Declarations in

Support and the XL Declaration in Support, each as defined below, the “Declarations in

Support”):

              (a)    Declaration of Robert J. Keach, Chapter 11 Trustee, in Support of
                     Confirmation of Trustee’s Revised First Amended Plan of Liquidation
                     Dated July 15, 2015 [D.E. 1686];

              (b)    Declaration of Andrew Adessky, Monitor in the CCAA Case, in Support of
                     Confirmation of Trustee’s Revised First Amended Plan of Liquidation
                     Dated July 15, 2015 [D.E. 1687]; and

              (c)    Declaration of Fred C. Caruso in Support of Confirmation of Trustee’s
                     Revised First Amended Plan of Liquidation Dated July 15, 2015 [D.E.
                     1688];

       WHEREAS, on September 22 and 23, 2015, the Trustee filed the following declarations

in support of confirmation of the Plan (collectively, the “Settling Defendant Declarations in

Support”):

              (a)    Declaration of Stacey McLey in Support of Confirmation of Trustee's
                     Revised First Amended Plan of Liquidation Dated July 15, 2015 [D.E.
                     1697];

              (b)    Declaration of Nancy A. Washington on behalf of the CIT Parties in
                     Support of Confirmation of Trustee's Revised First Amended Plan of
                     Liquidation Dated July 15, 2015 [D.E. 1698];

              (c)    Declaration of ConocoPhillips Company in Support of Confirmation of
                     Trustee's Revised First Amended Plan of Liquidation Dated July 15, 2015
                     [D.E. 1699];

              (d)    Declaration of Edward A. Burkhardt (D&O Parties), Chairman of the
                     Board of Directors of Montreal, Maine & Atlantic Railway, LTD., in




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                 Support of Confirmation of Trustee's Revised First Amended Plan of
                 Liquidation Dated July 15, 2015 [D.E. 1700];

          (e)    Declaration of Devlar Energy Marketing, LLC in Support of Confirmation
                 of Trustee's Revised First Amended Plan of Liquidation Dated July 15,
                 2015 [D.E. 1701];

          (f)    Declaration of Enserco Energy, LLC in Support of Confirmation of
                 Trustee's Revised First Amended Plan of Liquidation Dated July 15, 2015
                 [D.E. 1702];

          (g)    Declaration of Richard Seymour of First Union Rail Corporation
                 Regarding Trustee's Revised First Amended Plan of Liquidation Dated
                 July 15, 2015 [D.E. 1703];

          (h)    Declaration of Enerplus Resources (USA) Corporation in Support of
                 Confirmation of Trustee's Revised First Amended Plan of Liquidation
                 [D.E. 1704];

          (i)    Declaration of Oliver W.R. Champagne on behalf of General Electric
                 Railcar Services LLC in Support of Confirmation of Trustee's Revised
                 First Amended Plan of Liquidation Dated July 15, 2015 [D.E. 1705];

          (j)    Declaration of Golden Eye Resources LLC in Support of Confirmation of
                 Trustee's Revised First Amended Plan of Liquidation Dated July 15, 2015
                 [D.E. 1706];

          (k)    Declaration of Halcon Resources Corporation in Support of Confirmation
                 of Trustee's Revised First Amended Plan of Liquidation Dated July 15,
                 2015 [D.E. 1707];

          (l)    Declaration of Inland Oil & Gas Corporation in Support of Confirmation
                 of Trustee's Revised First Amended Plan of Liquidation Dated July 15,
                 2015 [D.E. 1708];

          (m)    Declaration of Kodiak Oil & Gas Corp. (N/K/A Whiting Canadian
                 Holding Company, ULC) in Support of Confirmation of Trustee's Revised
                 First Amended Plan of Liquidation Dated July 15, 2015 [D.E. 1709];

          (n)    Declaration of Oasis Petroleum, LLC in Support of Confirmation of
                 Trustee's Revised First Amended Plan of Liquidation Dated July 15, 2015
                 [D.E. 1710];

          (o)    Declaration of Oasis Petroleum, Inc. in Support of Confirmation of
                 Trustee's Revised First Amended Plan of Liquidation Dated July 15, 2015
                 [D.E. 1711];




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          (p)     Declaration of Tracker Resources Development III, LLC in Support of
                  Confirmation of Trustee's Revised First Amended Plan of Liquidation
                  Dated July 15, 2015 [D.E. 1712];

          (q)     Declaration of Whiting Petroleum Corporation in Support of
                  Confirmation of Trustee's Revised First Amended Plan of Liquidation
                  Dated July 15, 2015 [D.E. 1713];

          (r)     Declaration of the UTCC Parties in Support of Confirmation of Trustee's
                  Revised First Amended Plan of Liquidation Dated July 15, 2015 [D.E.
                  1714];

          (s)     Declaration of QEP Resources, Inc. in Support of Confirmation of
                  Trustee's Revised First Amended Plan of Liquidation Dated July 15, 2015
                  [D.E. 1715];

          (t)     Declaration of Edward A. Burkhardt on behalf of the Rail World Parties
                  in Support of Confirmation of Trustee's Revised First Amended Plan of
                  Liquidation Dated July 15, 2015 [D.E. 1716];

          (u)     Declaration of Shell Oil Company in Support of Confirmation of Trustee's
                  Revised First Amended Plan of Liquidation Dated July 15, 2015 [D.E.
                  1717];

          (v)     Declaration of Slawson Exploration Company, Inc. in Support of
                  Confirmation of Trustee's Revised First Amended Plan of Liquidation
                  Dated July 15, 2015 [D.E. 1718];

          (w)     Declaration of SMBC Rail Services, LLC f/k/a Flagship Rail Services,
                  LLC, and TLP Rail Trust I, a Delaware Statutory Trust in Support of
                  Confirmation of Trustee's Revised First Amended Plan of Liquidation
                  Dated July 15, 2015 [D.E. 1719];

          (x)     Declaration of Shell Trading (US) Company in Support of Confirmation of
                  Trustee's Revised First Amended Plan of Liquidation Dated July 15, 2015
                  [D.E. 1720];

          (y)     Declaration of Trinity Industries, Inc. in Support of Confirmation of
                  Trustee's Revised First Amended Plan of Liquidation Dated July 15, 2015
                  [D.E. 1721];

          (z)     Declaration of Trinity Industries Leasing Company in Support of
                  Confirmation of Trustee's Revised First Amended Plan of Liquidation
                  Dated July 15, 2015 [D.E. 1722];

          (aa)    Declaration of Trinity Rail Leasing 2012 LLC in Support of Confirmation
                  of Trustee's Revised First Amended Plan of Liquidation Dated July 15,
                  2015 [D.E. 1723];


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               (bb)    Declaration of Trinity Tank Car, Inc. in Support of Confirmation of
                       Trustee's Revised First Amended Plan of Liquidation Dated July 15, 2015
                       [D.E. 1724];

               (cc)    Declaration of R. Alexander Lake, General Counsel of World Fuel
                       Services Corporation, in Support of Confirmation of Trustee's Revised
                       First Amended Plan of Liquidation Dated July 15, 2015 [D.E. 1725];

               (dd)    Declaration of Incorr Energy Group, LLC in Support of Confirmation of
                       the Trustee's Plan of Liquidation Dated July 15, 2015 [D.E. 1727]; and

               (ee)    Declaration of Charlene Ridgeway on behalf of the Hartford Casualty
                       Insurance Company in Support of Confirmation of Trustee's Revised First
                       Amended Plan of Liquidation Dated July 15, 2015 [D.E. 1728].

       WHEREAS, on September 22, 2015, the Trustee filed the Declaration of D. Jackson

Loughhead (XL Companies) in Support of Confirmation of the Trustee's Plan of Liquidation

[D.E. 1726] (the “XL Declaration in Support”);

       WHEREAS, this Court conducted a hearing on September 24, 2015 (the “Confirmation

Hearing”) to consider confirmation of the Plan; at the Confirmation Hearing, the parties

introduced all testimony to be offered in support of, or in opposition to, confirmation of the Plan

by declaration or proffer, the testimonial record was closed, subject to the rights of the parties to

assert reserved evidentiary objections, and the Confirmation Hearing was continued to October

5, 2015 (and then subsequently continued to October 9, 2015 at 8:30 a.m. (ET));

       WHEREAS, contingent upon entry of this Confirmation Order containing the judgment

reduction provisions set forth herein at paragraphs 63 through 70 (and an amendment of the

CCAA Approval Order to include substantially identical provisions), CP has agreed to

(a) withdraw with prejudice the CP Objection; (b) withdraw with prejudice its motion seeking

leave to appeal the CCAA Approval Order; and (c) dismiss with prejudice its appeal of the

Chapter 15 Recognition and Enforcement Order;




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         WHEREAS, the Trustee has resolved all other Objections by provisions in this

Confirmation Order set forth below;

         WHEREAS, all parties in interest, including, without limitation, CP, have consented to

entry of this Confirmation Order as a Final Order, and the Court therefore has constitutional

authority under Wellness Intern. Network, Ltd. v. Sharif, 135 S. Ct. 1932 (2015) to enter this

Confirmation Order as a Final Order 2; notwithstanding such consent, in order to insure that this

Confirmation Order will not be subject to any challenges as to any element hereof, under Stern v.

Marshall, 131 S. Ct. 2594 (2011) or its progeny, the Court will file this Confirmation Order with

the United States District Court for the District of Maine (the “District Court”) pursuant to

Bankruptcy Rule 9033 as proposed findings of fact and recommended conclusions of law to the

extent that any provision or element hereof was entered without constitutional authority and/or is

merely within the Court’s related-to jurisdiction;

         NOW, THEREFORE, based upon the Court’s review and consideration of (i) the

documents filed in this case, (ii) the record of the Confirmation Hearing (including the

statements of counsel in support of confirmation at the Confirmation Hearing and all testimony

presented and evidence admitted at the Confirmation Hearing), (iii) the declarations filed in

support of confirmation of the Plan, including the Voting Certification, the Certificate of

Publication and the Declarations in Support, (iv) the Confirmation Brief, and (v) the entire record

of this chapter 11 case (the “Chapter 11 Case”) and the Chapter 15 Case; and this Court finding

that (a) notice of the Voting Deadline, the Confirmation Objection Deadline, and the

2
  CP’s consent to the entry by this Court of this Confirmation Order as a Final Order shall be without prejudice to
CP’s positions and rights with respect to this Court’s constitutional authority to enter any other final order not
inconsistent with this Confirmation Order, including without limitation in the adversary proceeding stylized as
Robert J. Keach v. World Fuel Services, Corp., et al, No 14-1001 (Bankr. D. Me.). All of CP’s and the Trustee’s
rights with respect to such other orders are fully reserved, except that the entry of the Confirmation Order as a Final
Order shall not be the basis for an argument by the Trustee that the Bankruptcy Court has the constitutional authority
to enter another type of Order as a Final Order.


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Confirmation Hearing and the opportunity of any party in interest to object to confirmation of the

Plan were adequate and appropriate, in accordance with Bankruptcy Rule 2002(b) and the

Disclosure Statement Order, as to all parties to be affected by the Plan and the transactions

contemplated thereby, and (b) the legal and factual bases presented at the Confirmation Hearing

and as set forth in this Confirmation Order establish just cause for the relief granted herein; and

after due deliberation thereon, and good cause appearing therefor, the Court hereby makes the

following findings of fact, conclusions of law, and orders:

                      FINDINGS OF FACT AND CONCLUSIONS OF LAW 3

         1.       Jurisdiction and Venue. This Court has jurisdiction over this Chapter 11 Case

pursuant to 28 U.S.C. §§ 157 and 1334. Confirmation of the Plan is a “core proceeding”

pursuant to 28 U.S.C. §§ 157(b)(2)(L) and (O), and this Court has jurisdiction, as well as

constitutional authority, to finally determine whether the Plan complies with the applicable

provisions of the Bankruptcy Code, to determine whether the Plan should be confirmed and to

enter and enforce a final order with respect hereto. Venue of this Chapter 11 Case is proper

pursuant to 28 U.S.C. §§ 1408 and 1409.

         2.       Chapter 11 and Chapter 15 Docket. Judicial notice is hereby taken of the docket

of the Chapter 11 Case and Chapter 15 Case maintained by the Clerk of this Court, including,

without limitation, all pleadings and other documents filed, all orders entered, and transcripts of,

and all evidence and arguments made, proffered, or adduced at, the hearings held before the

Court during the pendency of the Chapter 11 Case and the Chapter 15 Case.




3
 Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as findings of fact
when appropriate. See Fed. R. Bankr. P. 7052.



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    A.        Compliance with the Bankruptcy Rules and Local Rules

         3.     The Plan complies with the applicable Bankruptcy Rules and Local Rules of the

United States Bankruptcy Court for the District of Maine (the “Local Rules”), including, without

limitation, Bankruptcy Rules 3016, 3017 and 3018. In particular:

                (a)    The Plan is dated and identifies the entity submitting it, thereby satisfying
                       Bankruptcy Rule 3016(a) and Local Rule 3018-1.

                (b)    The filing of the Disclosure Statement with the Court satisfies Bankruptcy
                       Rule 3016(b).

                (c)    All acts to be enjoined and identification of entities subject to such
                       injunction under the Plan are set forth in specific and conspicuous bold
                       text in the Plan and Disclosure Statement, thereby satisfying Bankruptcy
                       Rule 3016(c).

                (d)    The Trustee has given notice of the Confirmation Hearing and the
                       Confirmation Objection Deadline as required by Bankruptcy Rule 3017(d)
                       and Local Rule 3017-3. Such notice, including by publication in several
                       newspapers, including a newspaper of national circulation in both the
                       United States and in Canada, in both French and English, was good and
                       sufficient under the particular circumstances, and no other or further
                       notice is or shall be required. In addition, the opportunity of any party in
                       interest to object to confirmation of the Plan was adequate, fair and
                       reasonable, in accordance with Bankruptcy Rule 2002(b) and the
                       Disclosure Statement Order, as to all parties to be affected by the Plan and
                       the transactions contemplated thereby.

                (e)    The Trustee has also provided further notice of the releases and
                       injunctions in the Plan as required by Bankruptcy Rule 3017(f). In
                       addition to posting links providing all parties in interest with access to,
                       among other documents, copies of the Plan, the Disclosure Statement, the
                       Disclosure Statement Order and the Confirmation Hearing Notice on the
                       website maintained by Prime Clerk, Prime Clerk mailed the Voting
                       Solicitation Packages to approximately 7,200 voting parties. It also
                       mailed Non-Voting Solicitation Packages and Notice Solicitation
                       Packages (each including the Confirmation Hearing Notice), as applicable
                       and in accordance with the Disclosure Statement Order, to approximately
                       1,300 additional non-voting parties who might be subject to the Releases
                       and Injunctions. Further, the Confirmation Hearing Notice was published
                       in several U.S. and Canadian newspapers, in both French and English.
                       Such notice was good and sufficient under the circumstances, and no other
                       and further notice is or shall be required.



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                   (f)     Notice of the Voting Deadline was adequate, fair and reasonable, and the
                           solicitation of votes to accept or reject the Plan satisfies Bankruptcy Rule
                           3018. The Plan was transmitted to all creditors entitled to vote on the
                           Plan, and sufficient time was prescribed for such creditors to vote to
                           accept or reject the Plan, thereby satisfying the requirements of
                           Bankruptcy Rule 3018.

    B.        Bankruptcy Code Sections 1129(a)(1)—Compliance of the Plan with Applicable
              Provisions of the Bankruptcy Code

         4.        The Trustee has met his burden of demonstrating that the Plan complies with the

applicable provisions of the Bankruptcy Code by clear and convincing evidence, thus satisfying

the requirements of section 1129(a)(1) thereof.

              i.         Sections 1122 and 1123(a)(1)—Proper Classification

         5.        The classification of Claims and Interests under the Plan is proper under the

Bankruptcy Code. Pursuant to Bankruptcy Code sections 1122(a) and 1123(a)(1), Article 3 of

the Plan provides for the separate classification of Claims and Interests into fifteen (15) Classes,

based on differences in the legal nature or priority of such Claims and Interests (other than

Administrative Expense Claims, Priority Tax Claims and statutory fees owed to the U.S. Trustee,

which are addressed in Article 2 and 12.4 of the Plan and which are not required to be designated

as separate Classes pursuant to Bankruptcy Code section 1123(a)(1)). Valid business, factual

and legal reasons exist for the separate classification of the various Classes of Claims and

Interests created under the Plan and the classifications were not done for any improper purpose.

In addition, the creation of such Classes does not unfairly discriminate between or among

holders of Claims or Interests.

         6.        As required by Bankruptcy Code section 1122(a), each Class of Claims and

Interests contains only Claims or Interests that are substantially similar to the other Claims or

Interests within that Class. Accordingly, the requirements of Bankruptcy Code sections 1122(a)

and 1123(a)(1) have been satisfied.


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               ii.        Section 1123(a)(2)—Specification of Unimpaired Classes.

        7.            Article 3 of the Plan specifies that Claims in Classes 1 through 7 are Unimpaired

under the Plan. Accordingly, the requirements of Bankruptcy Code section 1123(a)(2) have been

satisfied.

               iii.       Section 1123(a)(3)—Specification of Treatment of Impaired Classes.

        8.            Article 3 of the Plan specifies the treatment of each impaired Class under the

Plan, including Classes 8 through 15.            Accordingly, the requirements of Bankruptcy Code

section 1123(a)(3) have been satisfied.

               iv.        Section 1123(a)(4)—No Discrimination.

        9.            Pursuant to Bankruptcy Code section 1123(a)(4), Article 3 of the Plan uniformly

provides for the same treatment of each Claim or Interest in a particular Class, unless the holder

of a particular Claim has agreed to a less favorable treatment with respect to such Claim or

Interest.     Accordingly, the requirements of Bankruptcy Code section 1123(a)(4) have been

satisfied.

               v.         Section 1123(a)(5)—Adequate Means for Plan Implementation.

        10.           Pursuant to Bankruptcy Code section 1123(a)(5), Article 5 and various other

provisions of the Plan specifically provide in detail adequate and proper means for the Plan’s

implementation, including, but not limited to: (a) approval of the Settlement Agreements;

(b) other sources of consideration for Plan distributions; (c) exhaustion of policies of Insurance

Companies that are Contributing Parties; (d) execution of the WD Trust Agreement and funding

and administration of the WD Trust; (e) management of the Post-Effective Date Estate; (f) duties

and powers of the Estate Representative; (g) cancellation of existing agreements and continued

corporate existence; and (h) authorization for certain effectuating transactions. Accordingly, the

requirements of Bankruptcy Code section 1123(a)(5) have been satisfied.


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                vi.       Section 1123(a)(6)—Voting Power of Equity Securities.

        11.           As provided in Article 6.6 of the Plan, the Post-Effective Date Estate’s certificate

of incorporation and bylaws shall be deemed amended to include a provision prohibiting the

issuance of non-voting equity securities, thereby satisfying the requirements of Bankruptcy Code

section 1123(a)(6).

                vii.      Section 1123(a)(7)—Selection of Officers and Directors.

        12.           Article 6.1(a) of the Plan, regarding the selection of the Estate Representative, is

consistent with the interests of creditors and equity security holders and with public policy,

thereby satisfying Bankruptcy Code section 1123(a)(7).

                viii.     Section 1123(b)—Discretionary Contents of the Plan.

        13.           The Plan contains various provisions that may be construed as discretionary, but

are not required for confirmation under the Bankruptcy Code.                  As set forth below, such

discretionary provisions comply with Bankruptcy Code section 1123(b) and are not inconsistent

with the applicable provisions of the Bankruptcy Code. Thus, Bankruptcy Code section 1123(b)

is satisfied.

                               (i)     Section 1123(b)(1)-(2)—Claims and Executory Contracts

        14.           Pursuant to Bankruptcy Code sections 1123(b)(1) and 1123(b)(2), Article 3 of the

Plan impairs or leaves unimpaired, as the case may be, each Class of Claims and Interests, and

Article 8 of the Plan provides for the rejection of the executory contracts and unexpired leases of

the Debtor not previously assumed or rejected and not pending assumption pursuant to

Bankruptcy Code section 365.




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                         (ii)    Section 1123(b)(3)—Settlement, Releases, Exculpation,
                                 Injunction, and Preservation of Claims and Causes of Action

       15.     The Plan implements the Settlement Agreements as approved by this

Confirmation Order. The Settlement Agreements are the product of extensive good-faith, arm’s-

length negotiations among the Trustee, MMA Canada and the Contributing Parties, each of

which was represented by counsel. The Trustee has entered into the Settlement Agreements in

exchange for fair and reasonable consideration. The Settlement Agreements are (a) within the

reasonable range of possible litigation outcomes; (b) fair, equitable and reasonable; and (c) an

essential element of the resolution of the Chapter 11 Case and in the best interest of the Debtor’s

Estate. The Settlement Agreements (i) are within the jurisdiction of the Court under 28 U.S.C.

§§ 1334(a) and (b); (ii) are an essential means of implementing the Plan pursuant to Bankruptcy

Code section 1123(a)(5) and (b)(3); (iii) are an integral element of the transactions embodied in

the Plan; (iv) confer material benefits on, and are in the best interests of, the Debtor, the Debtor’s

Estate and the Debtor’s creditors; and (v) are vital to the overall objectives of the Plan to fully

and finally resolve all Derailment-Related Causes of Action and claims among or against the

parties in interest in the Chapter 11 Case.

       16.     The release of Claims described in Article 10 of the Plan constitutes a good-faith

compromise and settlement of the matters covered thereby. Such compromises and settlements

are made in exchange for the consideration identified in the Settlement Agreements; are in the

best interests of the holders of Claims; are fair, equitable, and reasonable; and are integral

elements of the Plan. Each of the release, indemnification and exculpation provisions set forth in

the Plan (a) is within the jurisdiction of the Court under 28 U.S.C. §§ 1334(a) and (b); (b) is an

essential means of implementing the Plan pursuant to section 1123(a)(5) of the Bankruptcy

Code; (c) is an integral element of the Settlement Agreements identified in the Plan; (d) confers



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material benefits on, and is in the best interest of, the Debtor, the Estate and its creditors; (e) is

important to the overall objectives of the Plan to finally resolve all Claims among or against the

parties-in-interest in the Chapter 11 Case; and (f) is consistent with sections 105, 1123, 1129 and

other applicable provisions of the Bankruptcy Code.

       17.     The third party releases and injunctions set forth in Article 10 of the Plan are

appropriate because: (a) the Debtor and the third-party beneficiaries of the Releases and

Injunctions share a unity of interest; (b) the third parties have contributed substantial assets

which are to be distributed to holders of Claims under the Plan; (c) the third party releases and

injunctions are essential to the Settlement Agreements and the Plan; (d) the creditors who are

affected by the third party releases have voted overwhelmingly in favor of the Plan; (e) the Plan

provides a mechanism to resolve and make payment towards Claims of the affected creditors

through the CCAA Plan and the WD Trust, and the Trustee has provided notice to affected

creditors sufficient to provide them with the opportunity adequately to protect their interests; and

(f) the facts and circumstances of this Chapter 11 Case sufficiently establish extraordinary

circumstances to warrant approval of the third party releases and injunctions.

       18.     The releases by the Debtor, as set forth in Article 10.5(b)(i) of the Plan, are being

provided as part of the Settlement Agreements, which themselves represent a global compromise

that is supported by all major constituencies. In addition, the injunctions set forth in Article 10

of the Plan are necessary and appropriate to carry out the provisions of the Bankruptcy Code for

purposes of section 105(a) of the Bankruptcy Code.

       19.     The exculpation provision set forth in Article 10.3 of the Plan shall be revised as

follows (changes from the existing Plan language marked in bold italics):

          As of the Effective Date, none of (a) the Trustee, (b) the Creditors’
          Committee, (c) the Monitor, (d) MMA Canada, or (e) the members,



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          representatives, accountants, financial advisors, consultants and attorneys
          of the entities described in (a) through (d) of this paragraph shall have or
          incur any liability to any person for any act taken or omission in
          connection with or related to the Chapter 11 Case, including but not
          limited to (i) formulating, preparing, disseminating, implementing,
          confirming, consummating or administrating this Plan (including soliciting
          acceptances or rejections thereof), (ii) the Disclosure Statement or any
          contract, release or other agreement or document entered into or any
          action taken or omitted to be taken in connection with this Plan or the
          Disclosure Statement, or (iii) any distributions made pursuant to this Plan,
          except for any acts determined by Final Order to have constituted willful
          misconduct, bad faith or gross negligence; provided that in the event that
          the Creditors’ Committee (including each member of the Creditor’s
          Committee solely in such member’s capacity, and the Creditor’s
          Committee’s counsel and counsel’s authorized agents and
          representatives) violates or breaches the Stipulation and Order
          Resolving Trustee’s Motion for an Order Disbanding the Official
          Committee of Victims [D.E. 1671], this provision shall be void ab initio
          with respect to the Creditors’ Committee (including each member of the
          Creditor’s Committee in such member’s individual capacity, such
          members’ representatives and agents, and the Creditor’s Committee’s
          counsel and counsel’s authorized agents and representatives).

As modified, the exculpation provision is appropriate under applicable law because it is part of a

Plan proposed in good faith, was vital to the Plan formulation process and is appropriately

limited in scope. The exculpation provision, including its carve-out for gross negligence and

willful misconduct, is consistent with established practice in this jurisdiction and others.

                         (iii)   Section 1123(b)(4)—Sale of XL Policy Interests to Good
                                 Faith Purchasers

       20.     The XL Settlement Agreement was negotiated and proposed, and has been

entered into by the parties to the XL Settlement Agreement, in good faith, from arms-length

bargaining positions, and without fraud or collusion. Each party to the XL Settlement

Agreement was represented by counsel. The sale consideration to be realized by the Debtor’s

bankruptcy estate pursuant to the XL Settlement Agreement is fair and reasonable. The XL

Companies are good faith purchasers of MMA’s and MMA Canada’s interests in the XL Policies

(the “XL Policy Interests”) for value within the meaning of section 363(m) of the Bankruptcy


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Code and are entitled to the protection thereof. Neither the Trustee, nor the XL Companies, nor

any of their representatives, have engaged in any conduct that would (i) cause or permit the XL

Settlement Agreement or the sale of the XL Policy Interests to be avoided under Section 363(n)

of the Bankruptcy Code; (ii) cause or permit any amounts, costs, attorneys’ fees, expenses or

punitive damages to be recovered under Section 363(n) of the Bankruptcy Code; or (iii) prevent

the application of Section 363(m) of the Bankruptcy Code.

               ix.       Section 1172—Contents of Railroad Reorganization Plan

         21.         The Trustee has sold the assets of the Debtor as a going concern, thus facilitating

the continuation of rail service by a third party. To the extent applicable, Bankruptcy Code

section 1172(a) is thus satisfied, and no other provisions of section 1172 are applicable.

    C.         Compliance with the Balance of Bankruptcy Code Section 1129(a)

         22.         Section 1129(a)(2). The Trustee has complied with the applicable provisions of

the Bankruptcy Code, including, without limitation, Bankruptcy Code section 1125, thus

satisfying the requirements of Bankruptcy Code section 1129(a)(2). The Trustee and his present

and former representatives, advisors, attorneys and agents have fairly, in good faith within the

meaning of Bankruptcy Code section 1125(e), and in a manner consistent with the applicable

provisions of the Disclosure Statement, the Disclosure Statement Order, the Bankruptcy Code,

the Bankruptcy Rules and all other applicable rules, laws and regulations, (a) solicited and

tabulated votes on the Plan and (b) participated in the activities described in Bankruptcy Code

section 1125, and are therefore entitled to the protections afforded by Bankruptcy Code section

1125(e) and the Releases, exculpation, and Third-Party Injunction provisions set forth in Article

10 of the Plan.




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       23.     Section 1129(a)(3). The Plan, and the compromises and settlements embodied

therein, have been proposed in good faith and not by any means forbidden by law, thus satisfying

the requirements of Bankruptcy Code section 1129(a)(3).

       24.     Section 1129(a)(4). Subject to the provisions of Section 5.9 and 6.1 of the Plan,

all payments that have been made or are to be made under the Plan or by any person acquiring

property under the Plan, for services or for costs and expenses in, or in connection with the

Chapter 11 Case, or in connection with the Plan and incident to the Chapter 11 Case, have been

approved by, or will be subject to the approval of, the Bankruptcy Court as reasonable, thus

satisfying the requirements of Bankruptcy Code section 1129(a)(4).

       25.     Section 1129(a)(5). The Trustee has made available all necessary information

with respect to the identity of any individual proposed to serve, after confirmation of the Plan, as

a director, officer, or voting trustee or the successor to the Debtor under the Plan (including,

without limitation, the Estate Representative), and the appointment to such office of each

individual is consistent with the interests of creditors and equity security holders and with public

policy, thereby satisfying the requirements of Bankruptcy Code section 1129(a)(5).

       26.     Section 1129(a)(6). The Debtor’s business does not involve the establishment of

rates over which any regulatory commission has jurisdiction or will have jurisdiction after

confirmation. Thus, Bankruptcy Code section 1129(a)(6) is inapplicable to the Chapter 11 Case.

       27.     Section 1129(a)(7). As demonstrated in the Liquidation Analysis, each holder of

a Claim or Interest in an impaired Class has accepted the Plan, or will receive or retain under the

Plan property having a value, as of the Effective Date, that is not less than the amount that such

holder would receive on account of such Claim or Interest if the Debtor were liquidated under

chapter 7 of the Bankruptcy Code. The Plan therefore complies with the requirements of




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Bankruptcy Code section 1129(a)(7) and the “best interests” test set forth therein, as reflected

more fully in the evidence introduced on the record at the Confirmation Hearing.

         28.   Section 1129(a)(8).     Classes 1 through 7 are Unimpaired and thus are

conclusively presumed to have accepted the Plan under Bankruptcy Code section 1126(f).

Notwithstanding anything in the Plan to the contrary, to the extent that the State of Maine has an

Allowed Claim for unpaid pre-petition railroad taxes, such Claim shall constitute a Class 7

Claim.

         29.   Classes 8 through 13 are each Classes of impaired Claims and have each voted to

accept the Plan, with unanimous voting results in each such Class save Class 13, where one

creditor (out of sixty-one (61) voting creditors) voted to reject the Plan in the claim amount of

$1.00. The Voting Certification properly and correctly sets forth the tabulation of votes in

accordance with the Bankruptcy Code, the Bankruptcy Rules, and the Disclosure Statement

Order.

         30.   Classes 14 and 15 are each impaired and not receiving any property under the

Plan and, as such, are presumptively deemed to have rejected the Plan (together, the “Rejecting

Classes”). Accordingly, with respect to Classes 14 and 15, the Debtor sought confirmation of the

Plan under Bankruptcy Code section 1129(b) rather than Bankruptcy Code section 1129(a)(8).

Thus, although Bankruptcy Code section 1129(a)(8) has not been satisfied with respect to the

Rejecting Classes, based upon the record before the Bankruptcy Court, the Plan is confirmable

because the Plan does not discriminate unfairly and is fair and equitable with respect to the

Rejecting Class and thus satisfies Bankruptcy Code section 1129(b) with respect to such Classes.

         31.   Section 1129(a)(9). The treatment of Administrative Expense Claims satisfies the

requirements of Bankruptcy Code section 1129(a)(9)(A). The treatment of Priority Tax Claims




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under Article 2 of the Plan satisfies the requirements of Bankruptcy Code 1129(a)(9)(C). There

are no Claims of the kind specified in Bankruptcy Code sections 507(a)(2), (5), (6) or (7).

       32.     Section 1129(a)(10). Class 8 (Derailment Moral Damages and Personal Injury

Claims), Class 9 (Derailment Property Damage Claims), Class 10 (Derailment Government

Claims), Class 11 (Derailment Property Subrogated Insurance Claims), Class 12 (Derailment

Wrongful Death Claims) and Class 13 (General Unsecured Claims) are each impaired and have

each voted to accept the Plan, without consideration of any acceptance of the Plan by insiders,

thus satisfying the requirements of Bankruptcy Code section 1129(a)(10).

       33.     Section 1129(a)(11). Confirmation of the Plan is not likely to be followed by the

liquidation, or the need for further financial reorganization, of the Debtor or any successor to the

Debtor under the Plan, except as provided in the liquidation provisions of the Plan. The Plan is a

plan of liquidation, following a going concern sale of the Debtor’s assets earlier in the Chapter

11 Case. Accordingly, the Plan contemplates the liquidation of the Debtor’s assets and the

winding up of the Debtor’s estate by, among other things, making distributions to the WD Trust

and the Debtor’s creditors. Therefore, because the Plan proposes the liquidation of the Debtor’s

estate, it is consistent with Bankruptcy Code section 1129(a)(11).

       34.     Section 1129(a)(12). On the Effective Date, and thereafter as may be required,

the Estate Representative shall pay all fees payable pursuant to 28 U.S.C. § 1930, including all

quarterly fees pursuant to 28 U.S.C. § 1930 that become due after the Effective Date, thus

satisfying the requirements of Bankruptcy Code section 1129(a)(12).

       35.     Section 1129(a)(13). Section 1129(a)(13) of the Bankruptcy Code requires that a

plan of reorganization provide for the continuation, after the effective date, of all retiree benefits

at the level established by agreement or by court order pursuant to section 1114 of the




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Bankruptcy Code at any time prior to confirmation of the plan, for the duration of the period that

the debtor has obligated itself to provide such benefits. Because the Debtor does not have any

such “retiree benefits,” section 1129(a)(13) of the Bankruptcy Code is not applicable.

    D.         Compliance with Bankruptcy Code Section 1129(b)—
               Confirmation of Plan Over Nonacceptance of Impaired Class

         36.     To the extent required, the Trustee has met his burden of proving all applicable

elements of section 1129(b) of the Bankruptcy Code by clear and convincing evidence.

         37.     Notwithstanding the fact that the Rejecting Classes are deemed to have voted not

to accept the Plan, the Plan may be confirmed pursuant to Bankruptcy Code section 1129(b)(1)

because (i) Classes 8 through 13 are all impaired and have voted to accept the Plan, and (ii) the

Plan satisfies the requirements of Bankruptcy Code section 1129(b) with respect to Classes 14

and 15. Specifically, (a) each member of Classes 14 and 15 will equally receive no distribution

under the Plan, (b) Class 14 is junior to each of Classes 1 through 13, and (c) Class 15 is junior

to Class 14. Thus, the Plan necessarily does not unfairly discriminate with respect to Holders in

Classes 14 and 15. In addition, Class 15 is the only Class junior to Class 14, and there is no

Class junior to Class 15; as such, no Holder of any Claim or Interest junior to Class 14 or 15 will

receive any recovery under the Plan. Further, no senior Class is receiving more than full

recovery on account of its Claims (including Claims for interest and other contractual rights).

         38.     As a result, the Plan satisfies the requirements of Bankruptcy Code section

1129(b). Thus, the Plan may be confirmed even though Bankruptcy Code section 1129(a)(8) is

not satisfied. Upon the occurrence of the Effective Date, the Plan shall be binding upon the

members of, and holders of Interests in, the Rejecting Classes.




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    E.         Other Bankruptcy Code Confirmation Requirements

               i.         Section 1173—Confirmation of Railroad Reorganization Plan

         39.          Section 1173(a)(1) requires compliance with all applicable provisions of section

1129. As section 1129 has been satisfied, so too has section 1173(a)(1).

         40.          For all the same reasons that section 1129(a)(7) has been satisfied, section

1173(a)(2) has been satisfied as well.

         41.          For all the same reasons that section 1129(a)(11) has been satisfied (or is

inapplicable in a liquidation), so too has section 1173(a)(3) been satisfied (or is otherwise

inapplicable).

         42.          Section 1173(a)(4) requires that a plan be consistent with the public interest. The

sale of the Debtor’s assets early in the chapter 11 case as a going concern to a third party was

consistent with the public interest, as it facilitated the continued operation of the railroad.

         43.          As the Plan is the only plan before the Court, section 1173(b) is inapplicable

               ii.        Section 1129(c)—-Only One Plan

         44.          Notwithstanding the other chapter 11 plan proposed in the Chapter 11 Case on

January 29, 2014 [D.E. 600], for which the Court refused to approve a disclosure statement (and

which plan was therefore not prosecuted), the Plan is the only plan confirmed by the Court in the

Chapter 11 Case and, accordingly, section 1129(c) is inapplicable to the Plan.

               iii.       Section 1129(d)—Principal Purpose of the Plan Is Not Avoidance of Taxes

         45.          No governmental unit has requested that the Bankruptcy Court refuse to confirm

the Plan on the grounds that the principal purpose of the Plan is the avoidance of taxes or the

avoidance of the application of section 5 of the Securities Act. As evidenced by its terms, the

principal purpose of the Plan is not such avoidance.                 Accordingly, the requirements of

Bankruptcy Code section 1129(d) have been satisfied.


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       F.         Conditions to Confirmation and the Effective Date

            46.     Pursuant to Article 9.1 of the Plan, the conditions precedent to Confirmation,

including but not limited to the following, have been satisfied: (a) entry of the CCAA Approval

Order and (b) entry of the Chapter 15 Recognition and Enforcement Order.

            47.     Section 9.3 of the Plan shall be superseded and replaced with the following: 4

               The Effective Date shall not occur until (a) all of the conditions set forth in
               Section 9.1 have occurred; (b) the CCAA Approval Order shall have
               been amended in order to incorporate the judgment reduction
               provisions set forth in paragraphs 63 through 70 of the Confirmation
               Order; (c) the CCAA Approval Order, as amended, shall have has
               become a Final Order; (cd) the Chapter 15 Recognition and
               Enforcement Order shall be amended so that it applies to the CCAA
               Approval Order as amended; (e) the Chapter 15 Recognition and
               Enforcement Order, as so amended, shall have has become a Final
               Order; (df) the District Court has entered the Confirmation Order,
               pursuant to the filing of the same with such Court under Bankruptcy
               Rule 9033, or otherwise; (eg) the Confirmation Order has become a Final
               Order; (h) the conditions to implementation of the CCAA Plan have been
               met; and (fi) the Plan Implementation Date shall have occurred.

            48.     Pursuant to Article 9.3 of the Plan, as amended by the preceding paragraph, the

following are the conditions precedent to the Effective Date that have not been satisfied as of the

date hereof: (a) the CCAA Approval Order shall have been amended in order to incorporate the

judgment reduction provisions set forth in paragraphs 63 through 70 of this Confirmation Order;

(b) the CCAA Approval Order, as amended, shall have become a Final Order; (c) this Court’s

Chapter 15 Recognition and Enforcement Order shall be amended so as to apply to the CCAA

Approval Order as amended in accordance with this paragraph; (d) the Chapter 15 Recognition

and Enforcement Order, as so amended, shall have become a Final Order; (e) the conditions to

implementation of the CCAA Plan have been met; (f) the District Court has entered the

Confirmation Order, pursuant to the filing of the same with such Court under Bankruptcy Rule


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    Changes from the version in the Plan are indicated in bold underline.


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9033, or otherwise; (g) this Confirmation Order has become a Final Order; and (h) the Plan

Implementation Date (as defined in the CCAA Approval Order) shall have occurred. Each of the

conditions precedent to the Effective Date is reasonably likely to be satisfied.

         IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED THAT:

    A.         General Provisions Regarding Confirmation of the Plan
               and Approval of the Plan Supplement

         49.     Approval. The Plan, a true and correct copy of which is attached hereto as

Exhibit A and incorporated herein by reference, shall be and hereby is confirmed.             The

documents contained in the Plan Supplement, and any amendments, modifications and

supplements thereto, the Settlement Agreements, and all other documents and agreements related

thereto (including all exhibits and attachments thereto and documents referred to in such papers),

and the execution, delivery and performance thereof by the Trustee and the Estate

Representative, are authorized and approved as finalized, executed and delivered. Without

further order or authorization of the Bankruptcy Court, the Trustee or the Estate Representative

and their successors are authorized and empowered to make all modifications to all documents

included as part of the Plan Supplement that are consistent with the Plan. For the avoidance of

doubt, the Settlement Agreements may only be modified in accordance with their respective

terms.

         50.     Confirmation Objections. All confirmation objections and responses to the Plan,

including but not limited to the Objections, both filed and informal, to the extent not resolved,

withdrawn or otherwise addressed by this Confirmation Order or as set forth on the record at the

Confirmation Hearing, including any reservations of rights contained therein, are hereby

overruled on the merits. All withdrawn objections are deemed withdrawn with prejudice.




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       51.     Findings of Fact and Conclusions of Law.          The findings of fact and the

conclusions of law stated in this Confirmation Order shall constitute findings of fact and

conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to the proceeding by

Bankruptcy Rule 9014. To the extent any finding of fact shall be determined to be a conclusion

of law, it shall be so deemed, and to the extent any conclusion of law shall be determined to be a

finding of fact, it shall be so deemed.

       52.     Immediate Effect. This Confirmation Order shall be effective immediately upon

its entry notwithstanding Fed. R. Bankr. P. 3020(e).

       53.     Binding Effect. The Plan and its provisions (including the Plan Supplement) shall

be binding upon (i) the Debtor; (ii) any entity acquiring or receiving property (including cash)

under the Plan; and (iii) any creditor or equity security holder of the Debtor, including, without

limitation, any governmental unit, as such term is defined in Bankruptcy Code section 101(27);

(iv) any Holder of a Derailment Claim; and (v) any existing or potential defendant named in or

relating to any Derailment-Related Cause of Action, including any Non-Settling Defendants,

whether or not the Claim or Interest of such creditor or equity security holder is impaired under

the Plan and whether or not such creditor, equity security holder or governmental unit has

accepted the Plan.

       54.     Plan Modifications. Subsequent to filing the Plan on July 15, 2015, the Trustee

made certain non-material modifications to the Plan (the “Plan Modifications”), which are

reflected in this Order. Except as provided for by law, contract or prior order of this Bankruptcy

Court, none of the modifications made since the commencement of solicitation adversely affects

the treatment of any Claim against or Interest in the Debtor under the Plan. The disclosure of the

Plan Modifications on the record at the Confirmation Hearing and through the filing of this




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Order as a proposed order constitute due and sufficient notice thereof. Accordingly, pursuant to

Bankruptcy Code section 1127(a), Bankruptcy Rule 3019 and Local Rule 3019-1, none of these

modifications require additional disclosure under Bankruptcy Code section 1125 or resolicitation

of votes under Bankruptcy Code section 1126 (especially in light of previously provided

disclosures), nor do they require that holders of Claims or Interests be afforded an opportunity to

change previously cast acceptances or rejections of the Plan. The Plan as modified by this Order

shall constitute the Plan submitted for Confirmation by the Bankruptcy Court.

       55.     Deemed Acceptance of Plan as Modified. In accordance with Bankruptcy Code

section 1127, Bankruptcy Rule 3019 and Local Rule 3019-1, all holders of Claims who voted to

accept the Plan or who are conclusively presumed to have accepted the Plan are deemed to have

accepted the Plan as modified by the Plan Modifications. No holder of a Claim shall be

permitted to change its vote as a consequence of the Plan Modifications.

       56.     Authorization.    In accordance with the relevant provisions of the Plan, the

Trustee, the Estate Representative and the WD Trustee are hereby authorized, without further

Order of the Bankruptcy Court, to make all distributions and transfers of property required to be

made under the Plan. Except as otherwise expressly provided in Bankruptcy Code Section 1141,

the Plan, or this Confirmation Order, confirmation of the Plan shall effect the full and final

satisfaction, settlement, release, and discharge as against the Debtor of any and all legal and/or

equitable Claims against and Interests in and to the Debtor, including, without limitation, any

Claim or Interest that arose before the Confirmation Date, and any debt of a kind specified in

Bankruptcy Code sections 502(g), 502(h) or 502(i), whether or not (i) a proof of claim or interest

is filed or deemed filed under Bankruptcy Code section 501; (ii) such claim or interest is allowed

under Code section 502; or (iii) the holder of such claim or interest has accepted the Plan.




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        57.    Plan Classification Controlling.     The terms of the Plan shall govern the

classification of Claims and Interests for purposes of the distributions to be made thereunder.

The classifications set forth on the ballots tendered to or returned by the holders of Claims or

Interests in connection with voting on the Plan pursuant to the Disclosure Statement and

Disclosure Statement Order: (a) were set forth on the ballots for purposes of voting to accept or

reject the Plan; (b) in no event shall be deemed to modify or otherwise affect, the actual

classification of such Claims and Interests under the Plan for distribution purposes; (c) may not

be relied upon by any holder of a Claim or Interest as representing the actual classification of

such Claim or Interest under the Plan for distribution purposes; and (d) shall not be binding on

the Trustee, Estate Representative or WD Trustee except for purposes of voting on the Plan.

        58.    General Settlement of Claims and Interests.         As one element of, and in

consideration for, an overall negotiated settlement of numerous disputed Claims and issues

embodied in the Plan, pursuant to Bankruptcy Rule 9019 and Bankruptcy Code section 1123 and

in consideration for the classification, distributions, Releases and other benefits provided under

the Plan, the provisions of the Plan shall, upon Consummation, constitute a good-faith

compromise and settlement of all Claims, Interests and controversies resolved pursuant to the

Plan. Such compromises and settlements, individually and in the aggregate, are reasonable and

constitute proper exercises of the Trustee’s business judgment. All distributions made pursuant

to the Plan to holders of Allowed Claims and Interests in any Class are intended to be and shall

be final.

        59.    Approval of Settlements. The Settlements Agreements described in Article 5 of

the Plan are expressly approved in all respects pursuant to Bankruptcy Rule 9019 as fair,

equitable, reasonable and in the best interest of the Debtor’s Estate and pursuant to Bankruptcy




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Code section 1123(a)(5) and (b)(3), are binding upon all entities affected thereby, and shall be

effectuated in accordance with the terms thereof.                       Such compromises and settlements,

individually and in the aggregate, are reasonable and constitute proper exercises of the Trustee’s

business judgment. The Trustee and the Estate Representative are authorized, without further

approval of the Bankruptcy Court or any other party, to execute and deliver all agreements,

documents, instruments and certificates relating to such settlements and to perform their

obligations thereunder.

       B.         Releases, Injunctions and Bar Order

            60.     Item 9 on Exhibit 2 to the Plan shall be revised as follows: 5

               Edward A. Burkhardt, Larry Parsons, Steven J. Lee, Stephen Archer,
               Robert C. Grindrod, Joseph C. McGonigle, Gaynor Ryan, Donald
               Gardner, Jr., Fred Yocum, Yves Bourdon and James Howard,
               individually and in their capacity as directors and officers of MMA and
               MMAC, Montreal, Maine & Atlantic Corporation and/or LMS Acquisition
               Corporation (the “D&O Parties”).

            61.     Releases

               (a)      Settlement Agreement Releases Supplemented; No Impact on Rights
to Object. Except as expressly provided in sections 10.5, 10.8 or 10.9 of the Plan, nothing in
Section 10.5 of the Plan or otherwise in the Plan or this Confirmation Order, shall affect, release
or otherwise limit the rights and duties of the parties to the Settlement Agreements to enforce or
comply with the provisions of the Settlement Agreements. The rights and duties of the parties
under the Settlement Agreements are set forth in and shall be governed by the Settlement
Agreements. The following releases shall be in addition to and are intended to supplement any
releases included in the Settlement Agreements as between the parties to such Settlement
Agreements. In the event of any inconsistency between the Plan or this Confirmation Order and
the Settlement Agreement(s), the terms of the Settlement Agreement(s) will apply with respect to
the particular parties thereto; provided, however, that all Settlement Agreements are subject to
Sections 10.5, 10.8 and 10.9 of the Plan. Except as expressly set forth in the Settlement
Agreements, nothing in the Plan or the Releases set forth herein or therein shall affect any rights
of the Trustee or the Estate Representative to object to the allowance, amount, priority or secured
status of the Claims of any party receiving a release under the Plan as provided in sections 502,
503, 506, 507, 509 or 510 of the Bankruptcy Code, including with respect to any right of setoff
or recoupment, to the extent such Claims are not released, discharged or satisfied under any
Settlement Agreement, under the Plan, or pursuant to this Confirmation Order. Nothing herein
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    Changes from the version filed with the Plan are indicated in bold underline.


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or in the Plan shall affect any limitation contained in any Settlement Agreement with respect to
the release granted to any Released Party. Notwithstanding the definition of “Claim” in section
1.36 of the Plan, for the purposes of Article 10 of the Plan, including, without limitation, the
Releases and Injunctions, as well as this Section B of this Order (paragraphs 60 through 73),
“Claim” or “Claims” means, as the context requires, past, present and future claims, causes of
action, obligations, rights, liens, suits, judgments, orders, application of any kind including for
judicial review, remedies, interests, actions, liabilities, demands, duties, injuries, compensation,
damages, expenses, fees, and/or costs of whatever kind or nature (including attorney’s fees and
expenses), whether foreseen or unforeseen, known or unknown, asserted or unasserted,
contingent or matured, liquidated or unliquidated, whether in tort, contract, extra-contractual
responsibility or otherwise, whether statutory, at common law, civil law, public law or in equity,
regardless of the legal theory, including but not limited to claims for breach of contract, tort,
breach of the implied covenant of good faith and fair dealing, loss of support, loss of consortium,
statutory or regulatory violations, for indemnity or contribution, for any damages either moral,
material, bodily injury, punitive, exemplary or extra-contractual damages of any type, in any
jurisdiction (i) in any way arising out of, based upon, or relating in any way, in whole or in part,
directly or indirectly, whether through a direct claim, cross-claim, third-party claim, warranty
claim, recursory claim, subrogation claim, forced intervention, contribution claim, indemnity
claim, reimbursement claim, class action or otherwise, (A) to the Derailment, including any
claims held or asserted by any Person for wrongful death, personal injury, emotional distress,
loss of support, loss of consortium, property damage, economic loss, moral damage, material
damage and bodily injury or environmental damage, remediation or exposure or (B) to the XL
Policies, including the issuance thereof, coverage, reimbursement, or payment thereunder, and
any act or omission of an insurer of any type for which a Holder of a Claim might seek relief in
connection therewith, or (ii) that would otherwise constitute a claim as against MMA, MMA
Canada or their Estates (A) provable in bankruptcy under the Bankruptcy and Insolvency Act,
R.S.C. 1985, c.B-3, had MMA Canada become bankrupt on August 6, 2013 and/or (B) within the
definition of “claim” set forth in section 101(5) of the Bankruptcy Code. Without limiting the
foregoing, “Claim” or Claims” for purposes of Article 10 of the Plan includes all Claims in
Classes 8, 9, 10, 11 and 12.

               (b)     Releases by the Debtor and Estate Representative(s). Subject in all
respects to the provisions of Sections 9.1 and 9.3 of the Plan and full performance under the
applicable Settlement Agreement(s) applicable to the particular Released Parties, on the
Effective Date, the Debtor, the Trustee, the Estate Representative(s) and the Estate shall
unconditionally release, and hereby are deemed to forever unconditionally release, the
Released Parties, including, without limitation, the Released Parties’ respective attorneys and
advisors (solely in their respective capacities as such), from any and all Derailment Claims,
Causes of Action, and all other Claims (including any Claims assigned by the Other Released
Parties to the Trustee, MMA Canada or their designee pursuant to a Settlement Agreement
and including any Claims or Causes of Action for contribution, indemnity, reimbursement or
seeking the enforcement, attachment, collection, contribution or recovery of or from any
judgment, award, decree, or order against any one or more of the Other Released Parties or
property of any one or more of the Other Released Parties, or otherwise), debts, obligations,
demands, liabilities, suits, judgments, damages, rights, remedies and Post-Confirmation
Causes of Action, whatsoever (other than the right to enforce the obligations under the Plan,
the Settlement Agreements and the contracts, instruments, releases and other agreements and


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documents delivered thereunder), whether direct or indirect, liquidated or unliquidated, fixed
or contingent, matured or unmatured, known or unknown, whenever arising, in law, equity or
otherwise, that are based upon, arise from and/or are related to events and/or circumstances
that occurred or existed on or prior to the Effective Date relating in any way to the Debtor, the
Derailment, the Chapter 11 Case, the Plan, the Disclosure Statement, the Estate, the XL
Policies, and the Settlement Agreements; provided, however, and without limiting any
provision of the Affiliated Parties Settlement Agreement, including any provision that limits,
conditions or affects any release or injunction in favor of the Affiliated Released Parties, this
release shall not extend, and shall not be construed as extending, to any Claim brought or that
could be brought in the future by the Trustee, the Estate Representative or MMA Canada
against any of the Affiliated Released Parties to the extent there is, or may be, coverage for
such claims under the Great American Policy, and the assignment of rights under such
policies to the Estate, the Trustee or the Estate Representative shall not affect, reduce,
discharge or diminish such coverage, or provide a defense to any such insurer, or trigger any
exclusion under any such policy, including, without limitation, any insured vs. insured
exclusion.

               (c)     Releases in Favor of the Estate and Estate Representative(s). Subject
in all respects to the provisions of Sections 9.1, 9.3, 10.8 and 10.9 of the Plan, and full
performance under the applicable Settlement Agreement(s), and subject to any express
limitations and/or obligations contained in each Released Party’s respective Settlement
Agreement, on the Effective Date, each of the Trustee, the Estate Representative(s), and the
Estate shall be forever and unconditionally released from any and all Claims, debts,
obligations, demands, liabilities, suits, judgments, damages, rights and causes of action
whatsoever by the Released Parties and by all Persons or entities receiving consideration
under the Plan (other than the right to enforce the obligations under the Plan, the Settlement
Agreements and the contracts, instruments, releases and other agreements and documents
delivered thereunder), whether direct or indirect, liquidated or unliquidated, fixed or
contingent, matured or unmatured, known or unknown, whenever arising, in law, equity or
otherwise, that are based upon, arise from and/or are related to events and/or circumstances
that occurred or existed on or prior to the Effective Date, relating in any way to the Debtor,
including, without limitation, arising from the Derailment, the Chapter 11 Case, the Plan, the
Disclosure Statement, any prepetition act or omission of the Debtor, the Estate, the XL
Policies and the Settlement Agreements; provided, however, that this release shall not apply to
any Claims arising in the ordinary course of business that are unrelated to the Derailment and
that are held by Affiliates of any Contributing Party (unless such Claims are expressly
released pursuant to any Settlement Agreement). For the avoidance of doubt, the releases in
this section do not extend to any breaches of the Settlement Agreement(s).

               (d)    Releases by Affiliated Released Parties. Subject in all respects to the
provisions of Sections 9.1 and 9.3 of the Plan and the Affiliated Parties Settlement Agreement,
on the Effective Date, each of the Affiliated Released Parties shall unconditionally release,
and hereby are deemed to forever unconditionally release, each of the Debtor, the Estate, the
Trustee, the Estate Representative(s), the Creditors’ Committee, the Creditors’ Committee
members, and the Other Released Parties, including, without limitation, the foregoing
persons’ and entities’ respective attorneys and advisors (solely in their respective capacities as
such) from any and all Claims (including any Claims or Causes of Action for contribution,


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indemnity, reimbursement or seeking the enforcement, attachment, collection, contribution or
recovery of or from any judgment, award, decree, or order against any one or more of the
Other Released Parties or property of any one or more of the Other Released Parties, or
otherwise), debts, obligations, demands, liabilities, suits, judgments, damages, rights, and
causes of action whatsoever, whether direct or indirect, liquidated or unliquidated, fixed or
contingent, matured or unmatured, known or unknown, then existing or thereafter arising, in
law, equity or otherwise that are based in whole or in part upon any act or omission,
transaction, transfer, event, or other occurrence taking place on or prior to the Effective Date
in any way relating to the Debtor, the Derailment, the Chapter 11 Case, the Plan, the
Disclosure Statement, the Estate, or the negotiation or funding of the Settlement Agreements;
provided, however, that this release shall not apply to (A) any Claims or rights, under the
Great American Policy, assigned by the Affiliated Released Parties to the Debtor or to the
Chapter 11 Trustee pursuant to the Affiliated Parties Settlement Agreement, (B) any right to
enforce the obligations under the Plan, the Settlement Agreements, and the contracts,
instruments, releases and other agreements and documents delivered thereunder, provided,
however, that such assigned Claims or rights will not be asserted against Other Released
Parties, or (C) any Claims or rights of any of the Rail World Parties and/or the D&O Parties
(as defined in the CCAA Plan) to seek recovery from their insurers, including Hartford and
the XL Companies, for any attorneys’ fees, expenses or costs incurred prior to the Effective
Date.

                 (e)    Releases in Favor of Affiliated Released Parties. Subject in all respects
to the provisions of Sections 9.1, 9.3, 10.8 and 10.9 of the Plan and full performance under the
Affiliated Parties Settlement Agreement, on the Effective Date, all persons and entities shall
unconditionally release, and are hereby deemed to forever unconditionally release, the
Affiliated Released Parties, including, without limitation, the foregoing persons’ and entities’
respective attorneys and advisors (solely in their respective capacities as such), from any and
all Derailment Claims, Causes of Action, and all other Claims, debts, obligations, demands,
liabilities, suits, judgments, damages, rights, remedies and causes of action whatsoever,
whether direct or indirect, liquidated or unliquidated, fixed or contingent, matured or
unmatured, known or unknown, whenever arising, in law, equity or otherwise, that are based
upon, arise from and/or are related to events and/or circumstances that occurred or existed on
or prior to the Effective Date relating in any way to the Derailment, the Debtor, the Chapter
11 Case, the Plan, the Disclosure Statement, the Estate, and the negotiation or funding of the
Settlement Agreements; provided, however, and without limiting any provision of the
Affiliated Parties Settlement Agreement, including any provision that limits, conditions or
affects any release or injunction in favor of the Affiliated Released Parties, this release shall
not extend, and shall not be construed as extending to, any Claim brought or that could be
brought in the future by the Trustee, the Estate Representative, MMA Canada or the Holders
of Derailment Wrongful Death Claims (as applicable pursuant to the Affiliated Parties
Settlement Agreement) against any of the Affiliated Released Parties (or certain of them, as
applicable) to the extent there is, or may be, coverage for such claims under the Great
American Policy, but only to the extent such coverage is actually provided and without any
obligation on the part of the Rail World Parties or the D&O Parties to make any payment or
contribution to supplement what is actually obtained from the Great American Policy, and the
assignment of rights under such policy to the Estate, the Trustee or the Estate Representative
shall not affect, reduce, discharge or diminish such coverage, or provide a defense to any such


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insurer, or trigger any exclusion under any such policy, including, without limitation, any
insured vs. insured exclusion; provided further, however, that any right or recovery by
Holders of Derailment Wrongful Death Claims pursuant to the action authorized by this
subparagraph shall be, in all respects, subordinate to the claims of the Trustee and MMA
Canada in the Great American Policy.

               (f)     Releases by Other Released Parties. Subject in all respects to the
provisions of Sections 9.1, 9.3, 10.5(b)(ii), 10.8 and 10.9 of the Plan and full performance
under the Settlement Agreement(s) applicable to the particular Released Parties, on the
Effective Date, each Other Released Party and all other Released Parties shall unconditionally
release, and hereby are deemed to forever unconditionally release, each of the Debtor, the
Estate, the Trustee, the Estate Representative(s), the Creditors’ Committee, the Creditors’
Committee members, the Affiliated Released Parties, each other Other Released Party, and the
foregoing Persons’ and entities’ respective attorneys and advisors (solely in their respective
capacities as such) from any and all Derailment Claims and all other Claims (including any
Claims or Causes of Action for contribution, indemnity, warranty, forced intervention, or
seeking the enforcement, attachment, collection, contribution, indemnity, reimbursement or
recovery of or from any judgment, award, decree, or order against any one or more of the
Other Released Parties or property of any one or more of the Other Released Parties, or
otherwise), debts, obligations, demands, liabilities, suits, judgments, damages, rights, remedies
and causes of action whatsoever, whether direct or indirect, liquidated or unliquidated, fixed
or contingent, matured or unmatured, known or unknown, whenever arising, in law, equity or
otherwise, that are based upon, arise from and/or are related to events and/or circumstances
that occurred or existed on or prior to the Effective Date, relating in any way to the
Derailment, the Debtor, the Chapter 11 Case, the Plan, the Disclosure Statement, the Estate,
and the Settlement Agreements, including, without limitation, the Trustee’s or the Trustee’s
counsel’s negotiation of the Settlement Agreements or the funding of the Settlement
Agreements; provided, however, that this release shall not apply to any Claims of Canada
against MMA Canada, nor shall it apply to any Claims assigned by the Other Released Parties
to the Trustee, MMA Canada or their designee pursuant to a Settlement Agreement (other
than any Claims against any Other Released Parties), nor shall it apply to the right to enforce
the rights and obligations under the Plan, the Settlement Agreements, and the contracts,
instruments, releases and other agreements and documents delivered thereunder in their favor
nor shall it apply or be construed as applying to any Claims or claims or other rights to the
extent preserved by any of the Other Released Parties in their respective Settlement
Agreement(s) (other than any Claims against any Other Released Parties), provided further,
however, that notwithstanding anything to the contrary in the Plan, this release shall not apply
to any claims or Claims that the Irving Parties (as defined in their Settlement Agreement) have
or may have against one or more of their insurers; provided, further, however, that this
release shall not apply to any Claims arising in the ordinary course of business that are
unrelated to the Derailment and that are held by Affiliates of any of the Contributing Parties.
For the avoidance of doubt, the releases in this section do not extend to any breaches of the
Settlement Agreement(s).

               (g)    Releases in Favor of Other Released Parties. Subject in all respects to
the provisions of Sections 9.1, 9.3, 10.8 and 10.9 of the Plan and full performance under the
Settlement Agreement(s) applicable to the particular Other Released Parties, on the Effective


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Date, all Persons and entities shall unconditionally release, and hereby are deemed to forever
unconditionally release each of the Other Released Parties, including without limitation, the
Other Released Parties’ respective attorneys and advisors (solely in their respective capacities
as such), from any and all Derailment Claims, Causes of Action, and all other Claims
(including any claims or Causes of Action for contribution, indemnity, warranty, forced
intervention, or seeking the enforcement, attachment, collection, contribution, reimbursement
or recovery of or from any judgment, award, decree, or order against any one or more of the
Other Released Parties or property of any one or more of the Other Released Parties, or
otherwise), debts, obligations, demands, liabilities, suits, judgments, damages, rights
(including any right of setoff, subrogation, contribution, indemnity, reimbursement or
recoupment of any kind), remedies and causes of action whatsoever, whether direct or
indirect, liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
unknown, whenever arising, in law, equity or otherwise that are based upon, arise from and
/or are related to events and/or circumstances that occurred or existed on or prior to the
Effective Date, relating in any way to the Derailment, the Debtor, the Chapter 11 Case, the
Plan, the Disclosure Statement, the Estate, and the Settlement Agreements, including, without
limitation, the Released Parties and the Released Parties’ counsel’s negotiation of the
Settlement Agreements or the funding of the Settlement Agreements; provided, however, that
this release shall not in any way limit the right of the Estate Representative to enforce the
rights and obligations under the Plan, the Settlement Agreements, and the contracts,
instruments, releases and other agreements and documents delivered thereunder in the
Estate’s favor nor shall it apply or be construed as applying to any Claims or other rights to
the extent preserved by any of the Other Released Parties in their respective Settlement
Agreement(s) (other than any Claims against any Other Released Parties, including, without
limitation, Canada), provided further, however, that notwithstanding anything to the contrary
in the Plan, this release shall not apply to any claims or Claims that the Irving Parties (as
defined in their Settlement Agreement) have or may have against any one or more of their
insurers. For the avoidance of doubt, and notwithstanding anything in the Plan to the
contrary, the releases in this section do not extend to any breaches of the Settlement
Agreement(s).

       62.    Injunctions.

                (a)    No Impact on the Rights of the Parties to the Settlement Agreements.
Nothing in Section 10.6 of the Plan or otherwise in the Plan or this Confirmation Order
shall affect, release or otherwise limit the rights and duties of the parties to the Settlement
Agreements to enforce or comply with the provisions of their respective Settlement
Agreements. The rights and duties of the parties under the Settlement Agreements are set
forth in and shall be governed by the Settlement Agreements; provided, however, that no
Settlement Agreement may restrain or limit the effect or scope of the releases set forth in
Section 10.5 of the Plan as to any Released Party without the express written consent of
such Released Party.

              (b)    Injunction in Favor of the Debtor and Estate Representative(s).
Except as to the rights, claims or Claims created or expressly preserved by the Plan, the
CCAA Plan, the Settlement Agreements, and this Confirmation Order, upon the Effective
Date, the Debtor, the Trustee, and the Estate Representative(s) shall have and be entitled to


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an injunction forever barring and enjoining all Persons and/or entities from asserting
against the Debtor any past, present and future rights, interests, obligations, claims, causes
of action, damages (including punitive damages), demands (including demands for
contribution, indemnity or otherwise), liabilities, expenses, fees (including, but not limited
to, attorneys’ fees, expert fees, consulting fees and other professional fees) and costs of any
kind or any type whatsoever, whether known or unknown, whether foreseen or unforeseen,
whether direct or indirect, contingent or actual, whether liquidated or unliquidated,
whether statutory or common law, whether asserted or unasserted and whether based on
contract, negligence, bad faith, willful, wanton or malicious conduct, or any other theory in
law or equity concerning, arising from or relating to any actual or alleged past, present or
future act, omission, defect, incident, event or circumstance from the beginning of the
world to the Effective Date, in any way relating to or in connection with (A) the Debtor,
(B) the Derailment or (C) the Estate, the Chapter 11 Case, the Plan, the Disclosure
Statement, the Settlement Agreements and/or the XL Policies, except with regard to any
claims and rights expressly reserved pursuant to Sections 10.3 and 10.5 of the Plan.

               (c)    Injunction in Favor of Affiliated Released Parties. Except as to the
rights, claims or Claims created or expressly preserved by the Plan, the CCAA Plan, the
Affiliated Parties Settlement Agreement, and this Confirmation Order, upon the Effective
Date, all Persons and entities, including, without limitation, all Holders of Derailment
Claims, Non-Settling Defendants, and other Persons, shall be, and are hereby deemed to be,
permanently barred, enjoined, and restrained from commencing, prosecuting, continuing
or asserting against the Affiliated Released Parties any and all Derailment Claims, Causes
of Action and all other Claims, including, without limitation, any and all past, present and
future rights, interests, obligations, damages (including punitive damages), demands
(including demands for contribution, indemnity, reimbursement or otherwise), liabilities,
expenses, fees (including, but not limited to, attorneys’ fees, expert fees, consulting fees and
other professional fees) and costs of any kind or any type whatsoever, whether known or
unknown, whether foreseen or unforeseen, whether contingent or actual, whether direct or
indirect, liquidated or unliquidated, whether statutory or common law, whether asserted or
unasserted and whether based on tort, contract, negligence, bad faith, willful, wanton or
malicious conduct, or any other theory in law or equity concerning, arising from or relating
to any actual or alleged past, present or future act, omission, defect, incident, event or
circumstance from the beginning of the world to the Effective Date, in any way relating to
or in connection with (A) the Debtor; (B) the Derailment, (C) the Estate, (D) the Chapter 11
Case, (E) the Plan, (F) the Disclosure Statement, (G) the Settlement Agreements and/or
(H) the XL Policies, provided, however, and without limiting any provision of the Affiliated
Parties Settlement Agreement, including any provision that limits, conditions or affects any
release or injunction in favor of the Affiliated Released Parties, this injunction shall not
extend, and shall not be construed as extending to, any Claim brought or that could be
brought in the future by the Trustee, the Estate Representative, MMA Canada or the
Holders of Derailment Wrongful Death Claims (as applicable pursuant to the Affiliated
Parties Settlement Agreement) against the Affiliated Released Parties (or certain of them,
as applicable) to the extent there is, or may be, coverage for such claims under the Great
American Policy, but only to the extent such coverage is actually provided and without any
obligation on the part of the Rail World Parties or the D&O Parties to make any payment
or contribution to supplement what is actually obtained from the Great American Policy,


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and the assignment of rights under such policy to the Estate, the Trustee or the Estate
Representative shall not affect, reduce, discharge or diminish such coverage or provide a
defense to any such insurer, or trigger any exclusion under any such policy, including,
without limitation, any insured vs. insured exclusion; provided further, however, that any
right or recovery by Holders of Derailment Wrongful Death Claims pursuant to the action
authorized by this subparagraph shall be, in all respects, subordinate to the claims of the
Trustee and MMA Canada in the Great American Policy.

               (d)    Injunction in Favor of the Other Released Parties. Except as to the
rights and claims created or expressly preserved by the Plan, the CCAA Plan, the
Settlement Agreements (provided that there are no preserved claims (or Claims) against
Other Released Parties except as provided for in Exhibit 2 to the Plan), and this
Confirmation Order, upon the Effective Date, all Persons and entities, including, without
limitation, all Holders of Derailment Claims, Released Parties and Persons other than
Released Parties shall be, and are hereby deemed to be, permanently barred, enjoined, and
restrained from commencing, pursuing, prosecuting, continuing or asserting against the
Other Released Parties any and all Derailment Claims, Causes of Action and all other
Claims, including, without limitation, Claims or Causes of Action for any and all past,
present and future rights (including any right of setoff, subrogation, contribution,
indemnity, reimbursement or recoupment of any kind), interests (including creating,
perfecting or enforcing any encumbrance of any kind against any one or more of the Other
Released Parties), obligations, damages (including actual and/or punitive damages),
demands (including any Claims or Causes of Action for contribution, indemnity,
reimbursement, warranty, forced intervention, or seeking the enforcement, attachment,
collection, contribution or recovery of or from any judgment, award, decree, or order
against any one or more of the Other Released Parties or property of any one or more of
the Other Released Parties, or otherwise), liabilities, expenses, fees (including, but not
limited to, attorneys’ fees, expert fees, consulting fees and other professional fees), and
costs of any kind or any type whatsoever, whether known or unknown, whether foreseen or
unforeseen, whether contingent or actual, whether direct or indirect, liquidated or
unliquidated, whether statutory or common law, whether asserted or unasserted and
whether based on tort, contract, negligence, warranty, bad faith, willful, wanton or
malicious conduct, or any other theory in law or equity concerning, arising from or relating
to any actual or alleged past, present or future act, omission, defect, incident, event or
circumstance, including, without limitation, all Claims released pursuant to Section 10.5 of
the Plan, whenever arising, that are based upon, arise from and/or are related to events
and/or circumstances that occurred or existed on or prior to the Effective Date in any way
relating to or in connection with (A) the Debtor; (B) the Derailment, (C) the Estate, (D) the
Chapter 11 Case, (E) the Plan, (F) the Disclosure Statement, (G) the Settlement
Agreements and/or (H) the XL Policies (as to which, in the event of an inconsistency with
the Plan, the XL Settlement Agreement will govern).

       63.     Barred Persons and Barred Claims.            Without limiting the Releases and

Injunctions set forth above, all (i) Non-Settling Defendants; (ii) Released Parties; (iii) Persons

who have voted for or against the Plan or who are presumed to have voted for or against the Plan


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under section 1126(f)-(g) of the Bankruptcy Code; and (iv) any other Persons that hold, have

held or may hold a Claim (including a Derailment Claim) or Cause of Action, including, without

limitation, Canadian Pacific Railway Company and any parent, affiliate or subsidiary thereof

(collectively, the “Barred Persons”), are hereby permanently barred, enjoined and restrained

from commencing, continuing, prosecuting, or asserting in this Court, in any federal or state

court, or in any other court, arbitration proceeding, administrative agency, or other forum in the

United States or elsewhere (each such venue, a “Trial Court”), any Claim (including a

Derailment Claim) or Cause of Action against any of the Released Parties, including, without

limitation, any personal injury, property damage, wrongful death, indemnity, contribution,

reimbursement or subrogation claim, whether based upon a contract or otherwise, against any

Released Party (including, without limitation, any claim against the Released Parties, whether or

not denominated as for indemnity, contribution, reimbursement, or subrogation) arising out of or

related in any way to the Derailment or to the claims released pursuant to the Releases, whether

arising under state, federal or foreign law as claims, cross-claims, counterclaims, or third-party

claims (collectively, the “Barred Claims”). This Order is without prejudice to the position of any

party as to the existence, in the absence of this Order, of any Barred Claim. 6

         64.      In the event that any Person asserts any Claim (including any Derailment Claim),

Cause of Action, or any other claim, obligation, suit, judgment, damage, debt, right, remedy,

cause of action, avoidance power or right, liability of any nature whatsoever, or legal or equitable

remedy against any Person arising from or related to the Derailment, regardless of whether such

claim, cause of action, right, or legal or equitable remedy may be asserted pursuant to the

Bankruptcy Code or any other applicable law or contract, including, without limitation, any

6
 Notwithstanding anything to the contrary in this paragraph or this Order, neither this paragraph nor this Order shall
apply to any claims or Claims that the Irving Parties (as defined in their Settlement Agreement) have or may have
against any one or more of their insurers.


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claim for personal injury, property damage, wrongful death, indemnity (including contractual

indemnity), contribution, reimbursement or subrogation relating in any way to the Derailment

(collectively, the “Derailment-Related Causes of Action”) and which results in a determination

by a Trial Court (including, without limitation, by a jury impaneled by such Trial Court) that a

Barred Person who is a Non-Settling Defendant is liable in damages (the “Initial Damages

Determination”) to a Person, including, without limitation, a Holder of a Derailment Claim,

asserting a Derailment-Related Cause of Action against such Non-Settling Defendant (a

“Plaintiff'”), then, prior to final entry of any judgment, order or arbitration award with respect to

such Initial Damages Determination in such Derailment-Related Cause of Action, the Plaintiff

shall provide notice and a copy of this Order to the Trial Court. In such case, for purposes of the

Contribution/Indemnity Credit described below, such Trial Court (including, without limitation,

a jury impaneled by such Trial Court) shall determine whether the Derailment-Related Cause of

Action gives rise to Barred Claims on which any Released Party would have been liable to the

Barred Persons in the absence of this Order. Notwithstanding any finding referred to in section

10.7 of the Plan, the Trial Court, prior to final entry or final award of any verdict, judgment,

order or arbitration award (the “Judgment”), shall determine any such Judgment against such

Barred Person by reducing the Initial Damages Determination by an amount equal to the

“Judgment Reduction Amount,” which shall equal the greatest of:

               (a)     The “Settlement Credit,” which shall be an available alternative regardless
                       of whether the Trial Court determines that there is any liability on the part
                       of any Released Parties and shall mean the Distribution received or to be
                       received by such Plaintiff pursuant to the Plan or the CCAA Plan,
                       including by way of payment by the WD Trust (the “Distribution”);
                       provided, however, that the Settlement Credit shall be limited to the
                       amount of the Distribution received or to be received by the Plaintiff with
                       respect to the type of Derailment Claim asserted by Plaintiff against the
                       Barred Person, so that, for example, the Barred Person shall not receive a




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                 Settlement Credit for Distributions received by Plaintiff for a personal
                 injury claim if the claim against the Barred Person is for property damage;

          (b)    The “Insurance Credit,” which shall mean the amount of coverage, if any,
                 the Trial Court determines would have been recoverable to such Barred
                 Person under any insurance policies owned by the Debtor or MMA
                 Canada on account of such Plaintiff’s Claim or Cause of Action but for the
                 operation of the Order; or

          (c)    The “Contribution/Indemnity Credit,” which shall mean, in the event the
                 Trial Court determines that the Barred Person could establish a valid
                 indemnity or contribution claim against a Released Party but for the
                 operation of this Order, an amount equal to the value, as determined by the
                 Trial Court, of all contribution or indemnification claims (whether
                 equitable or contractual), if any, that the Trial Court determines such
                 Barred Person would be entitled to as against one or more Released Parties
                 but for operation of the Order, which shall be equal to the aggregate
                 proportionate shares of liability, if any, of the Released Parties, plus the
                 contractual indemnification for which the Barred Person would, in the
                 absence of this Order, be entitled to recover, as determined by the Trial
                 Court at the time of entry of any judgment against any Barred Person,
                 provided however, that any Contribution/Indemnity Credit with respect to
                 the Debtor and/or MMA Canada, shall be allocated among the Plaintiff,
                 the Barred Person and/or Released Parties other than the Debtor and/or
                 MMA Canada determined to be liable, in whole or in part, by the Trial
                 Court, such allocation (a) to the extent the Trial Court is located in the
                 United States, shall be in accordance with the holding in, and
                 methodology adopted by, Austin v. Raymark Indus., 841 F.2d 1184 (1st
                 Cir. 1988) (“Austin”); or (b) to the extent the Trial Court is in Canada,
                 shall be in accordance with applicable provincial law (provided, however,
                 that such reference to Austin and/or such provincial law shall govern only
                 with respect to the allocation of the proportionate liability of the Debtor
                 and/or MMA Canada, and shall have no effect on the scope of the
                 Contribution/Indemnity Credit (including, without limitation, that it
                 extends to claims for contractual indemnity, if any). Without limiting the
                 foregoing, if a Barred Person holds both contribution and indemnity
                 claims against the same Released Party, the value of such claims shall not
                 be combined to determine the amount of the Contribution/Indemnity
                 Credit unless such Barred Person could simultaneously recover, in the
                 absence of this Order, under both such contribution and indemnity claims
                 as a matter of law. Notwithstanding the foregoing, nothing in this
                 provision is intended to dictate the procedure in the Trial Court for
                 determination of the Judgment Reduction Amount pursuant to and
                 consistent with this provision, provided, however, in cases tried in the
                 United States, the trial judge (or equivalent arbitrator, tribunal or panel)
                 shall in the first instance determine the allocation of the proportionate
                 liability of the Debtor and/or MMA Canada in accordance with Austin.


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       65.     For the avoidance of doubt, and notwithstanding anything to the contrary, nothing

in paragraphs 63 and 64 shall in any way modify or affect the Releases and/or Injunctions in

favor the Released Parties as set forth in paragraphs 61 and 62 of this Order, and nothing set

forth herein shall be interpreted as providing that any Released Parties have any liability to any

Person for any Claims (including Derailment Claims) or Causes of Action. Furthermore, after

this Order becomes a Final Order, the Trustee is ordered to use his best efforts to ensure that any

Claims (including Derailment Claims) or Causes of Action against any Released Parties are

promptly dismissed with prejudice.

       66.     Nothing herein shall prejudice or operate to preclude the right of any Non-Settling

Defendant to (a) provide notice of this Order to any Trial Court hearing a Derailment-Related

Cause of Action at any point, (b) raise any issues, claims or defenses regarding the Judgment

Reduction Amount, including, without limitation, the contractual liability and/or relative or

comparative fault of any Person, including any Released Party, in any court or tribunal hearing

any Derailment-Related Cause of Action in accordance with applicable law or procedure; or

(c) take discovery of Released Parties in accordance with applicable law or procedure; provided,

however, that nothing herein shall in any way modify or affect the Releases or Injunctions in

favor of the Released Parties as set forth in paragraphs 61 and 62 of this Order. For the

avoidance of doubt, nothing herein shall (x) be deemed to entitle a Plaintiff to more than a single

satisfaction with respect to any Derailment-Related Cause of Action or (y) prejudice or operate

to preclude the rights of any Barred Person to assert any claims or causes of action that have not

been released, enjoined, or discharged under the Plan or this Order.

       67.     The judgment reduction and related provision in paragraphs 63 and 64 are the

bases upon which CP has agreed to withdraw, with prejudice, its objections to the Plan and to




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dismiss, with prejudice, its appeal of the Chapter 15 Recognition and Enforcement Order entered

by this Court on August 26, 2015, as well as to withdraw, with prejudice, its pleading seeking

leave to appeal the CCAA Approval Order. Accordingly, to the extent there is any inconsistency

between the judgment reduction and related provisions of paragraphs 63 and 64, on the one hand,

and the Plan or other provisions of this Confirmation Order, on the other, paragraphs 63 and 64

shall govern as to judgment reduction; provided further that nothing in this paragraph 67 shall be

deemed or construed to limit, modify or affect the Releases or Injunctions.

       68.     If any Plaintiff enters into a settlement with any Person with respect to one or

more causes of action based upon, arising from, or related to the Barred Claims or any

transaction underlying any Barred Claim, then such Plaintiff shall cause to be included, and in all

events, the settlement shall be deemed to include, a dismissal, release and waiver of any Barred

Claims with respect to such settlement.

       69.     Each Plaintiff is hereby enjoined and restrained from seeking relief or collecting

judgments against any Non-Settling Defendant in any manner that fails to conform to the terms

of this Order, including, without limitation, the Judgment Reduction Amount provision set forth

at paragraph 64 herein.

       70.     This Court shall retain jurisdiction with respect to all matters concerning this

Order, including, without limitation, hearing a petition for relief by a Barred Person or any other

party in interest in the event that a court or tribunal hearing the Derailment-Related Cause of

Action fails to apply the judgment reduction provisions of this Order. However, to the extent

that any of the Released Parties have made or make any oral or written submissions in support of

this Order, those Released Parties shall not be considered to have submitted to personal

jurisdiction in this Court based upon such submissions.




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       71.     Terms of Pre-Plan Injunction and Stays. Unless otherwise provided in the Plan,

this Confirmation Order or a separate order of the Bankruptcy Court, all injunctions or stays

arising under or entered during the Chapter 11 Case under section 105 or 362 of the Bankruptcy

Code, entered in the Transferred WD Cases, or otherwise arising under applicable law in any

court order and in existence on the Confirmation Date, shall remain in full force and effect until

the later of the Effective Date and the date indicated in such applicable order, provided, however,

that to the extent against any remaining defendant that is not a Released Party as of the Effective

Date, the Trustee will cooperate with the plaintiffs in the Transferred WD Cases in seeking a

transfer of such cases to the forum selected by such plaintiffs, and will cooperate in seeking from

the District Court, in the order transferring such cases, a finding that the Settlement Agreements

and transactions with the Released Parties approved and implemented pursuant to the Plan were

entered into in good faith pursuant to and in accordance with 740 ILCS 100/2(c).

       72.     Canadian Criminal Charges and Related Claims of Canada. Notwithstanding

anything to the contrary in the Plan, this Confirmation Order or in any Settlement Agreement:

               (a)    Nothing in the Plan shall release or provide an injunction to the benefit of
                      any Person for fraud or criminal and quasi-criminal charges filed or that
                      may be filed by Canada and, for greater certainty, for any fine or penalty
                      arising from any such charges;

               (b)    Nothing in the Plan shall bind or in any way limit the Director of Public
                      Prosecutions of Canada acting pursuant to the Act respecting the Office of
                      the Director of Public Prosecutions, S.C. 2006, c.9 § 121, as has been or
                      may be amended or superseded;

               (c)    Except for the terms and conditions of the Settlement Agreement entered
                      into by Canada, no Settlement Agreement shall be binding upon Canada;
                      and

               (d)    Except with respect to entry of this Confirmation Order as may be entered
                      with the assent of Canada, nothing in the Plan shall be construed as a
                      waiver by Canada of sovereign immunity or as an attornment by Canada
                      to any court of any jurisdiction outside Canada.



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         73.     Claims of the United States of America.

                 (a)    Notwithstanding any provision in the Plan or this Confirmation Order, as
                        to the United States of America, its agencies, departments or agents
                        (collectively, the “United States”), nothing in the Plan or this
                        Confirmation Order shall discharge, release, or otherwise preclude:
                        (1) any liability of the Debtor to the United States arising on or after the
                        Effective Date; (2) any liability of the Debtor to the United States that is
                        not a “claim” within the meaning of section 101(5) of the Bankruptcy
                        Code; (3) any valid defense of setoff against the Debtor or right of
                        recoupment from the Debtor held by the United States with respect to a
                        Claim; or (4) the United States from, subsequent to the Confirmation Date,
                        pursuing any police or regulatory action against the Debtor. As to the
                        United States, nothing in the Plan or this Confirmation Order shall limit or
                        expand the scope of the discharge granted to the Debtor pursuant to
                        section 1141(d) of the Bankruptcy Code.

                 (b)    Further, as for Derailment Claims, if any, held by the United States,
                        nothing in either this Confirmation Order or the Plan shall exculpate or
                        release any Person for criminal charges brought by the United States, nor
                        shall anything in this Confirmation Order or Plan enjoin the United States
                        from bringing any claim, suit, action or other proceeding against any such
                        Person for such charges under such criminal laws. Moreover, nothing in
                        either this Confirmation Order or the Plan shall exculpate or release any
                        Person from liability to the United States unrelated to the Derailment, nor
                        shall anything in this Confirmation Order or Plan enjoin the United States
                        from bringing any claim, suit, action or other proceeding against any
                        Person for such liability unrelated to the Derailment.

    C.         Matters Relating to Implementation of the Plan

         74.     Release of Liens. Except as otherwise expressly provided in Bankruptcy Code

section 1141, the Plan, or this Confirmation Order, all Claims of creditors against the Debtor

whose Claims have attached to, or are secured by, property in which the Debtor has an interest

are hereby discharged, and such claims are satisfied in full and forever released and discharged.

         75.     Vesting of Assets. Except as otherwise expressly provided in the Plan or this

Confirmation Order, all property of the Debtor’s Estate shall, as of the Effective Date, revest in

the Post-Effective Date Estate free and clear of all interests, liens, claims and encumbrances of

any kind and nature whatsoever.



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       76.     Exhaustion of Insurance Policies.

               (a)    On the Effective Date, and upon full payment and performance under the
                      XL Settlement Agreement, the XL Policies shall be deemed completely
                      exhausted and any and all of the XL Companies’ obligations under the XL
                      Policies shall be, and are deemed to be, extinguished.

               (b)    On the Effective Date, and upon full performance under the relevant
                      Settlement Agreements (and subject to any exceptions contained in such
                      Settlement Agreements), the policy of any Insurance Company that is a
                      Contributing Party shall be deemed completely exhausted, and any and all
                      of the Insurance Company’s obligations under such policy shall be, and
                      are deemed to be, extinguished.

       77.     The WD Trust. As of the Effective Date, the WD Trust shall be established

pursuant to Article 5 of the Plan for the primary purpose of implementing the Plan on behalf of,

and for the benefit of, the WD Trust Beneficiaries, and to serve as a mechanism for liquidating

the WD Trust Assets in an expeditious but orderly manner for the benefit of WD Trust

Beneficiaries and holders of Allowed Class 12 Claims, with no objective to continue or engage

in the conduct of a trade or business, except to the extent reasonably necessary to, and consistent

with, the liquidating purposes of the WD Trust. The WD Trust is organized and established as a

trust pursuant to which the WD Trustee, subject to the terms and conditions contained herein and

in the Plan, is to hold the WD Trust Assets and dispose of the same in accordance with the WD

Trust Agreement and the Plan in accordance with Treasury Regulation section 301.7701-4(d).

The WD Trust Agreement attached hereto is approved in its entirety. In accordance with the

Plan, the Trustee, in consultation with U.S. counsel to Holders of Derailment Wrongful Death

Claims, has chosen Joe R. Whatley, Jr. to serve as the WD Trustee. The WD Trustee shall be

bonded in such amount as the Trustee or the U.S. Trustee shall reasonably request or, in the

event of a dispute, as set by the Court. The Trustee, with the consent of MMA Canada and the

Monitor, shall designate the WD Trust to be the assignee of claims arising under the Carmack

Amendment and assigned to the designee of the Trustee, MMA Canada and the Monitor under


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the Settlement Agreements (the “Assigned Carmack Claims”) upon the following conditions:

(a) the WD Trustee shall retain Trustee’s counsel to prosecute the Assigned Carmack Claims on

terms and conditions reasonably satisfactory to the WD Trustee, given such counsel’s knowledge

of, and existing due diligence with respect to, such Assigned Carmack Claims; (b) settlement of

the Assigned Carmack Claims shall require the consent of the Trustee and/or Estate

Representative, the Monitor and MMA Canada, which consent shall not be unreasonably

withheld; and (c) after full payment of any then-unpaid (i) Allowed Secured Claims, if any,

where the Lien attaches to the proceeds of Assigned Carmack Claims; (ii) fees incurred in the

prosecution or administration of the Assigned Carmack Claims; (iii) Administrative Expense

Claims or claims for professional fees in the CCAA Case, and (iv) Allowed Priority Claims,

including, without limitation, 1171(b) Claims (other than Derailment Claims), the remaining

proceeds of the Assigned Carmack Claims shall be distributed to Holders of Derailment Claims

in Classes 8-12 in the manner, and subject to the allocation and distribution procedures, provided

in the Plan and the CCAA Plan.

       78.     Quasi-Judicial Immunity. The Estate Representative and the WD Trustee are

entitled to quasi-judicial immunity to the fullest extent allowed by law in connection with their

implementation of this Confirmation Order, the Plan, the WD Trust Agreement, and the

Wrongful Death Claims Resolution Procedures.

       79.     Section 1146 Exemption from Certain Taxes and Fees. Pursuant to Bankruptcy

Code section 1146(a), the issuance, transfer or exchange of a security, or the execution, delivery

or recording of an instrument of transfer under the Plan, or authorized thereby, may not be taxed

under any law imposing deed stamps, a stamp tax, a recording tax, a transfer tax, an intangible

tax or similar tax. To effectuate Bankruptcy Code section 1146(a), each recorder of deeds or




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similar official for any county, city or governmental unit in which instruments of transfer of the

property are to be recorded shall, pursuant to this Confirmation Order, be ordered and directed to

accept such instruments for recording and promptly to record such instruments or deeds without

payment of any documentary stamp tax, deed stamps, stamp tax, recording tax, transfer tax,

intangible tax or similar tax.

         80.     Preservation of Causes of Action. Except as may be otherwise provided in the

Plan, the Post-Effective Date Debtor shall retain all Causes of Action, which shall vest in the

Post-Effective Date Debtor on the Effective Date.

    D.         Matters Related to Executory Contracts and Unexpired Leases

         81.     Rejection of Executory Contracts. All executory contracts and unexpired leases

that exist between the Debtor and any Person, except for the WD Trust Agreement, the

Settlement Agreements (including the insurance policy rights and contractual rights, if any,

assigned to the Trustee, MMA Canada and/or their designee pursuant thereto) and insurance

policies related to, or insurance agreements entered into by the Debtor prior to the Petition

Date (including, without limitation, any D&O Insurance Policies), shall be deemed rejected by

the Debtor as of immediately prior to the Effective Date, except for any executory contract or

unexpired lease (i) that has been assumed and assigned or rejected pursuant to an order of the

Bankruptcy Court entered prior to the Effective Date, (ii) as to which a motion for approval of

the assumption or assignment of such executory contract or unexpired lease has been filed and

served prior to the Confirmation Date, or (iii) is otherwise provided for under Sections 8.2 or 8.3

of the Plan.

                 (a)    Such rejection shall be deemed to constitute a breach of such contract or
                        lease as of the date immediately before the Petition Date.

                 (b)    If an executory contract or unexpired lease is rejected pursuant to this
                        Confirmation Order, then any Claim arising from or as a result of such


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                        rejection must be filed with the Bankruptcy Court within thirty (30) days
                        after notice of the Effective Date. Nothing contained in this Confirmation
                        Order shall constitute a determination that any such rejection gives rise to,
                        or results in, a Claim or constitutes a waiver of any objections to such
                        Claim by the Debtor or any party in interest.

         82.     Insurance Policies and Agreements.       Except as set forth in the Settlement

Agreements, Section 5.2 of the Plan, or this Confirmation Order, insurance policies issued to, or

insurance agreements entered into by, the Debtor prior to the Petition Date (including, without

limitation, any D&O Insurance Policies covering directors’ or officers’ conduct) shall continue

in effect after the Effective Date. To the extent that such insurance policies or agreements

(including, without limitation, any policies covering directors’ or officers’ conduct) are

considered to be executory contracts, then, notwithstanding anything to the contrary in the Plan,

the Plan shall constitute a motion to assume or ratify such insurance policies and agreements,

and, subject to the occurrence of the Effective Date, entry of this Confirmation Order constitutes

(a) approval of the Debtor’s assumption of such insurance policies and agreements pursuant to

section 365(a) of the Bankruptcy Code as of the Effective Date and (b) a finding that each such

assumption is in the best interests of the Debtor and its Estate. Unless otherwise determined by

this Court pursuant to a Final Order or agreed to by the parties thereto prior to the Effective Date,

no payments shall be required to cure any defaults of the Debtor existing as of the Confirmation

Date with respect to each such insurance policy or agreement. To the extent that this Court

determines otherwise as to any such insurance policy or agreement, the Trustee reserves the right

to seek the rejection of such insurance policy or agreement or other available relief.

    E.         Sale of XL Policy Interests to XL Companies Protected
               Under 11 U.S.C. §363(m)

         83.     The sale of the XL Policy Interests contemplated by the XL Settlement

Agreement to the XL Companies free and clear of all interests, is undertaken by the XL



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Companies in good faith, as that term is used in section 363(m) of the Bankruptcy

Code. Accordingly, the reversal or modification on appeal of the authorization to consummate

the sale of the XL Policy Interests contemplated by the XL Settlement Agreement shall not affect

the validity of the sale of the XL Policy Interests to the XL Companies, unless such authorization

is duly stayed pending such appeal. The XL Companies are purchasers in good faith of the

Policy Interests and shall be entitled to all of the protections afforded by section 363(m) of the

Bankruptcy Code.

    F.         Resolution of Certain Objections to Confirmation

         84.     In resolution of the Wheeling Objection: (a) nothing in this Order, the Releases

and Injunctions or the Settlement Agreements shall limit or affect Wheeling’s ability to contend,

and the Trustee’s ability to contest, that Wheeling’s security interest, if any, attaches to the

Settlement Payments (whether as original collateral, proceeds, products or otherwise); and (b) in

the event the Bankruptcy Court has not determined, prior to the Initial Distribution Date, the

amount of the Allowed Secured Claim of Wheeling as of such date, and including, without

limitation, whether any portion of the Settlement Payments constitutes collateral of Wheeling as

of such date, the Trustee shall set aside, and not distribute pending further order of the

Bankruptcy Court, $5,032,134.12 to secure any payment, to the extent required, with respect to

such Allowed Secured Claim, when and if determined; provided, however, that the Trustee shall

not be required to set aside under this provision any amount with respect to any potential claim

of Wheeling under section 502(h) of the Bankruptcy Code (“Section 502(h) Claim”); provided

further that in the event the Court determines: (a) that Wheeling would have a Section 502(h)

Claim upon payment of any transfer avoidable by the Trustee and/or any amount recoverable by

the Trustee under section 550 of the Bankruptcy Code (the “Preference Amount”) if paid by

Wheeling; and (b) that such Wheeling 502(h) Claim would be secured by a security interest in


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Settlement Payments (and that Wheeling has an unavoidable security interest in such Settlement

Payments), the Trustee shall waive payment of the Preference Amount.

         85.     In resolution of the MN/NB Objection, any 1171(b) Claims of the MN/NB

Railroads shall be paid in full, in Cash, on the later of the Initial Distribution date or thirty (30)

days after the date such Claims become Allowed Claims. In the event the Bankruptcy Court has

not determined, prior to the Initial Distribution Date, the existence of and/or the amount of any

Allowed 1171(b) Claims of the MN/NB Railroads, if any, as of such date, the Trustee shall set

aside, and not distribute pending further order of the Bankruptcy Court making such

determination, $2,139,063.56 to secure any payment, to the extent required, with respect to such

Allowed 1171(b) Claims, when and if determined.

    G.         Retention of Jurisdiction and Miscellaneous Matters

         86.     Professional Compensation. All Persons seeking an award of compensation for

services rendered or reimbursement of expenses incurred through and including the Effective

Date under sections 326, 328, 330, and 331 of the Bankruptcy Code or filing applications for

allowance of Administrative Expense Claims arising under section 503(b)(2), 503(b)(3),

503(b)(4), or 503(b)(5) of the Bankruptcy Code (collectively, “Professional Compensation”)

shall (a) file their respective final applications for allowance of compensation for services

rendered and reimbursement of expenses incurred by the date that is ninety (90) days after the

Effective Date, and (b) be paid in full, in Cash, by the Trustee or Disbursing Agent, as

applicable, such amounts as are allowed by the Bankruptcy Court (i) within thirty (30) days after

the date on which the order relating to any such Administrative Expense Claim is entered or

(ii) upon such other terms as may be mutually agreed upon between the Holder of such

Administrative Expense Claim and the Trustee or Disbursing Agent, as applicable.




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       87.     Retention of Jurisdiction. Pursuant to sections 105(a) and 1142 of the Bankruptcy

Code and notwithstanding entry of this Confirmation Order and the occurrence of the Effective

Date, this Court shall and shall be deemed to retain exclusive jurisdiction over all matters arising

out of, and related to, the Chapter 11 Case and this Confirmation Order after the Effective Date,

including, without limitation, for all of the purposes set forth in Article 11 of the Plan; provided,

however, that the Court’s retention of jurisdiction as set forth herein and in Article 11 of the Plan

shall be subject to the limitation that such jurisdiction shall not exceed the lawful jurisdiction of

the Court pursuant to 28 U.S.C. § 1334 and 28 U.S.C. § 157.

       88.     Creditor’s Committee. The Creditors’ Committee shall continue in existence

following entry of this Order until the Effective Date. Upon the Effective Date, the Creditors’

Committee shall be terminated and shall cease to exist, except with respect to any appeals

pending on the Effective Date and all issue related to Professional Compensation. Nothing

herein shall limit the right of professionals retained by the Creditors’ Committee or members of

the Creditors’ Committee to seek compensation or reimbursement for services rendered or

expenses incurred prior to the Effective Date.

       89.     Order Governs. In the event of any conflict between the provisions of this Order

and the provisions of the Plan, the provisions of this Order shall prevail and take precedence over

the provisions of the Plan.

       90.     References to Plan Provisions. The failure specifically to include or to refer to

any particular article, section or provision of the Plan, Plan Supplement or any related document

in this Confirmation Order shall not diminish or impair the effectiveness of such article, section

or provision, it being the intent of the Bankruptcy Court that the Plan and any related documents

be confirmed and approved in their entirety.




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        91.     Nonseverability of Plan Provisions Upon Confirmation. Each term and provision

of the Plan, and the transactions related thereto as it heretofore may have been altered or

interpreted by the Bankruptcy Court is: (a) valid and enforceable pursuant to its terms;

(b) integral to the Plan and the transactions related thereto and may not be deleted or modified

except by the Trustee, who reserves the right to modify the Plan pursuant to Article 12 of the

Plan; and (c) nonseverable and mutually dependent.

        92.     Final Order and Appeals. This Confirmation Order is a final order, and the time

period by which any party in interest wishing to appeal entry of this Confirmation Order shall

run from the date of the entry of this Confirmation Order.

        93.     Authorization to Consummate. The Trustee and the Estate Representative are

authorized to consummate the Plan at any time after the entry of this Confirmation Order subject

to satisfaction of the conditions precedent to the Effective Date set forth in Article 9 of the Plan.

        94.     Preservation of Claims Against Non-Settling Defendants. Nothing in this Order

or in the Plan, or in the payment or receipt of Distributions under or pursuant to this Plan or the

CCAA Plan, shall operate as or be deemed to be a determination that any Derailment Claim or

other cause of action that may be asserted against any Non-Settling Defendant by any Person or

Entity has been released, paid or satisfied in full.

        95.     Amended Plan.       The Trustee shall file an amended Plan incorporating the

modifications to the Plan set forth herein (the “Amended Plan”). The findings set forth in

paragraphs 54 and 55 of this order shall apply and shall be deemed to apply to such Amended

Plan.

        96.     Proposed Findings of Fact and Conclusions of Law. At the request of the parties

and notwithstanding the consent of all necessary parties and the findings of constitutional




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authority to enter final judgment above, the Court hereby files this Confirmation Order as

proposed findings of fact and recommended conclusions of law (the “Proposed Findings and

Conclusions”) for review by the District Court pursuant to Bankruptcy Rule 9033, and requests

that the District Court conduct such review on an expedited basis and enter these Proposed

Findings and Conclusions as its own as soon as is reasonably practicable.

        October 9, 2015                        /s/ Peter G. Cary
Dated: ____________________                 _________________________________
                                            The Honorable Peter G. Cary
                                            Chief Judge, United States Bankruptcy Court




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                         UNITED STATES BANKRUPTCY COURT
                                                                                    A
                                 DISTRICT OF MAINE


In re:
                                                 Bk. No. 13-10670
MONTREAL MAINE & ATLANTIC                        Chapter 11
RAILWAY, LTD.

                 Debtor.


         TRUSTEE’S REVISED FIRST AMENDED PLAN OF LIQUIDATION
           DATED JULY 15, 2015 (AS AMENDED ON OCTOBER 8, 2015)


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        Robert J. Keach, Esq., as chapter 11 trustee (the “Trustee”) for Montreal Maine &
Atlantic Railway, Ltd. (“MMA” or the “Debtor”), the debtor in the above-captioned chapter 11
case, hereby proposes the Revised First Amended Plan of Liquidation Dated July 15, 2015 (the
“Plan”) to all of the known creditors and Holders of interests of the Debtor, as authorized by
section 1121(a) of title 11 of the United States Code (the “Bankruptcy Code”), and moves this
Court to enter an order confirming the Plan pursuant to section 1129 of the Bankruptcy Code,
including, if required, section 1129(b). This Plan proposes to resolve all Claims against and
Equity Interests in the Debtor. IN PARTICULAR, CREDITORS AND PARTIES IN
INTEREST SHOULD REVIEW SECTIONS 10.5 AND 10.6 OF THIS PLAN, WHICH
PROVIDE FOR THIRD-PARTY RELEASES AND INJUNCTIONS THAT MAY
AFFECT THE RIGHT TO PURSUE CLAIMS AGAINST NON-DEBTOR PARTIES
AFTER THE PLAN IS CONFIRMED. CREDITORS AND PARTIES IN INTEREST
SHOULD ALSO NOTE THAT THIS PLAN IS COORDINATED WITH, AND
DESIGNED TO FUNCTION IN TANDEM WITH, THE CCAA PLAN FILED ON
BEHALF OF THE DEBTOR’S CANADIAN SUBSIDIARY IN ITS CCAA CASE IN
CANADA (AND WHICH IS ATTACHED AS EXHIBIT 1 HERETO); THE CCAA PLAN
SHOULD ALSO BE CAREFULLY CONSIDERED, AS SOME OF ITS PROVISIONS
ARE INCORPORATED INTO THE PLAN BY REFERENCE. The Trustee reserves the
right to, among other things, alter, amend, modify, revoke or withdraw this Plan prior to the
Effective Date as set forth in Sections 12.8 and 12.9.

                                          ARTICLE 1

                         DEFINITIONS AND INTERPRETATION

   A.     Definitions. The following terms when used in the Plan shall, unless the context
otherwise requires, have the following respective meanings:

        1.1.    Additional WD Trust Assets means any Cash or Cash equivalent realized by the
Estate Representative, solely in his capacity as such, after the Confirmation Date from or as a
result of Settlement Agreements entered into prior to the Effective Date, and the proceeds of the
sale, monetization, or liquidation of Settlement Non-Cash Assets that the Estate Representative is
entitled to sell, monetize or liquidate, in whole or in part, for the benefit of the WD Trust in
accordance with the Settlement Agreements, together with all earnings thereon.

        1.2.   Administrative Expense Claim means any Claim constituting a cost or expense of
administration of the Chapter 11 Case pursuant to sections 330, 365, 503(b), 507(a)(2) or 507(b)
of the Bankruptcy Code, including, without limitation, (a) any Claim under section 503(b)(9) of
the Bankruptcy Code for the value of goods sold to the Debtor in the ordinary course of business
and received by the Debtor within twenty (20) days before the Petition Date, (b) any actual and
necessary cost and expense, incurred after the Petition Date, of preserving the Estate, (c) any
actual and necessary cost and expense, incurred after the Petition Date, of operating the Debtor’s
business, (d) any indebtedness or obligation incurred or assumed by the Trustee during the
Chapter 11 Case, and (e) any compensation for professional services rendered and
reimbursement of expenses incurred after the Petition Date; provided, however, that (i) any fees
or charges assessed against the Estate under section 1930 of chapter 123 of title 28 of the United
States Code are excluded from the definition of Administrative Expense Claim and shall be paid
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in accordance with Section 12.4 of the Plan; and (ii) claims under 11 U.S.C. § 1171, including
any Derailment Claims, shall be excluded from this definition of Administrative Expense Claim.

        1.3.   Administrative Expense Claims Bar Date means December 1, 2014, the date
established by the Bankruptcy Court pursuant to the Order Establishing the Deadline for Filing
Administrative Claims and Approving the Form and Manner of Notice Thereof [D.E. 1164] as
the deadline by which any person or entity asserting an Administrative Expense Claim against
the Debtor must file an application for allowance of an Administrative Expense Claim.

        1.4.    Administrative Expense Fund means the fund maintained by the Trustee, and any
successor to the Trustee, sufficient to pay the Administrative Expense Claims of the Trustee and
the Trustee’s professionals and the professionals retained by the Creditors’ Committee, as well as
of the Estate Representative and his professionals, which fund shall consist of the Estate’s
portion of the Settlement Payments (but not including the XL Indemnity Payment) allocable to
payment of administrative expenses pursuant to the CCAA Plan and the Settlement Agreements,
as well as such portion of Cash and proceeds of Residual Assets as the Trustee, in his reasonable
discretion, shall determine is necessary to insure full payment of such Administrative Expense
Claims, but, with respect to any portion of the Settlement Payments, subject to any cap on such
allocation set forth in the CCAA Plan, as amended.

      1.5.   Affiliate has the meaning ascribed to such term in Section 101(2) of the
Bankruptcy Code, and shall include, without limitation, MMA Canada.

        1.6.    Affiliated Parties Injunction means the injunction described in Section 10.6(b)(ii)
of this Plan.

        1.7.    Affiliate Release means the release set forth in Section 10.5(b)(iii) of this Plan.

      1.8.   Affiliated Parties Settlement Agreement means the Settlement Agreement
between and among the Trustee, MMA Canada and the Affiliated Released Parties.

       1.9.   Affiliated Released Parties means the Rail World Parties, the Officers and
Directors, Chubb and Hartford.

        1.10. Allowed means, with reference to any Claim against the Debtor, other than an
Administrative Expense Claim, (a) any fixed Claim against the Debtor that has been listed by the
Debtor in its Schedules (as such Schedules may be amended by the Debtor from time to time in
accordance with Bankruptcy Rule 1009 and any applicable Local Bankruptcy Rule) as liquidated
in amount and not disputed or contingent and for which no contrary Proof of Claim has been
filed or no timely objection to allowance or request for estimation has been interposed, (b) any
Proof of Claim filed on or before the Bar Date (i) as to which no objection has been or is
interposed in accordance with any applicable period of limitation fixed by the Bankruptcy Code,
the Bankruptcy Rules, the Local Bankruptcy Rules or the Bankruptcy Court and as to which any
such applicable period of limitation has expired or (ii) as to which any objection has been
determined by a Final Order and to the extent such objection is determined in favor of the
respective Holder of such Claim, (c) any Claim expressly allowed by a Final Order or under the
Plan, (d) any Claim that is compromised, settled or otherwise resolved pursuant to a Final Order
of the Bankruptcy Court or as provided in Section 7.20 of the Plan, and (e) any Claim filed in the


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CCAA Case that is deemed filed in the Chapter 11 Case by virtue of the Bar Date Order and
which would qualify as Allowed under subsection (b) of this paragraph 1.10 above; provided,
however, that (1) Claims allowed solely for the purpose of voting to accept or reject the Plan
pursuant to an order of the Bankruptcy Court shall not be considered “Allowed Claims” and (2)
“Allowed Claim” shall not include any Claim subject to disallowance in accordance with section
502(d) of the Bankruptcy Code. Unless otherwise specified in the Plan or by order of the
Bankruptcy Court, “Allowed Claim” shall not, for any purpose under the Plan, include interest
from and after the Petition Date or penalties assessed on any Claim.

       1.11. Allowed Administrative Expense Claim means an Administrative Expense Claim
a request for payment of which was timely filed with the Bankruptcy Court on or before the
Administrative Expense Claims Bar Date and which has been allowed pursuant to a Final Order
of the Bankruptcy Court, including, without limitation, the Confirmation Order, but Derailment
Claims and Claims under 11 U.S.C. §1171(b) shall not be or become Allowed Administrative
Expense Claims.

       1.12. APA means that certain Asset Purchase Agreement dated as of December 12,
2013 (as amended from time to time), by and among the Trustee, MMA Canada, and the
Purchaser.

       1.13. Asset Sale means the sale of substantially all (but not all) of the Assets of the
Debtor and MMA Canada to the Purchaser pursuant to the APA.

        1.14. Asset Sale Consideration means the total consideration paid and/or provided by
the Purchaser under the APA including, without limitation, Cash and assumption of obligations
of the Debtor and/or MMA Canada.

       1.15. Assets means any and all assets, property, property interests and property rights of
the Debtor, whether tangible, intangible, vested, contingent, exclusive, joint, real, personal or
mixed, that constitute property of the Estate.

        1.16. Avoidance Actions means any actions commenced, or that may be commenced
before or after the Effective Date, pursuant to sections 510, 542, 543, 544, 545, 547, 548, 549,
550, 551, 552, or 553 of the Bankruptcy Code, including, without limitation, such actions that
arise under state law for fraudulent conveyance, insider preference, and other similar avoidance
actions.

        1.17. Bankruptcy Code means title 11 of the United States Code, as amended from time
to time, as applicable to the Chapter 11 Case.

         1.18.   Bankruptcy Court means the United States Bankruptcy Court for the District of
Maine.

       1.19. Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure as
promulgated by the United States Supreme Court under section 2075 of title 28 of the United
States Code, as amended from time to time, and any applicable local rules of the Bankruptcy
Court.



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        1.20. Bar Date means, as to a particular claim, the deadline for filing a Proof of Claim
as to such Claim established by the Bar Date Order.

         1.21. Bar Date Order means the order of the Bankruptcy Court dated March 20, 2014
and entered at Docket No. 783 establishing deadlines for the filing of Proofs of Claim and
establishing other claims filing procedures and requirements, as well as providing for the deemed
filings in this Chapter 11 Case, of certain Derailment Claims for which Proofs of Claim were
filed in the CCAA Case.

        1.22. Books and Privileges means all books and records of the Debtor, including,
without limitation, all documents and communications of any kind, whether physical or
electronic, the right to assert or waive any privilege, including, without limitation, any attorney-
client privilege, work-product protection, or other privilege or immunity attaching to any
documents or communications (whether written, electronic, or oral), and rights to direct current
or former agents, attorneys, advisors, and other professionals of the Debtor to deliver such
documents or communications.

       1.23. Business Day means any day other than a Saturday, Sunday, or any other day on
which commercial banks are required or authorized to close by law or executive order.

         1.24. Canada means the Attorney General of Canada, the Government of Canada, Her
Majesty the Queen in Right of Canada and the departments, crown corporations and agencies
including the Canadian Transportation Agency, and including all past, present and future
Ministers, officers, employees, representatives, servants, agents, parents, subsidiaries and
affiliated crown corporations and agencies, and their respective estates, successors and assigns.

        1.25. Cash means lawful currency of the United States of America or Canada, including
but not limited to bank deposits, checks, and other similar items.

        1.26. Causes of Action means any and all Claims, Avoidance Actions, demands, rights,
actions, rights of action, causes of action, judgments, proceedings, damages, accounts, defenses,
affirmative defenses, rights of setoff, offsets, powers, privileges, licenses, franchises, third-party
claims, counterclaims, cross-claims, actions for declaratory or injunctive relief, suits and other
rights of recovery of the Debtor, the Trustee, and the Estate (but subject in all cases to the
exculpation provisions of Section 10.3 and the release provisions of Section 10.5, and the
injunctions set forth in Section 10.6 of the Plan), against or with respect to any Person, including
without limitation, Claims of the Debtor, Trustee, or Estate against any affiliate, current or
former officer, director or employee of the Debtor or any affiliate or property, wherever located,
of any nature whatsoever, whether known or unknown, suspected or unsuspected, liquidated or
unliquidated, fixed or contingent, matured or unmatured, disputed or undisputed, secured or
unsecured, asserted or unasserted or pending as of the Effective Date, whether direct, indirect,
derivative or on any other basis, whether existing or hereafter arising, whether arising in whole
or in part prior to, on or after the Petition Date, based in whole or in part upon any act or
omission or other event occurring prior to the Petition Date or during the course of the Chapter
11 Case or thereafter, in contract or in tort, at law or in equity, whether pursuant to any federal or
state statute or common law or under any theory of law or equity, including, without limitation,
the Trustee’s Derailment Litigation as well as any available: (a) rights of setoff, counterclaim,


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recoupment, replevin or reclamation, and Claims on contracts or for breaches of duties imposed
by law; (b) rights to object to or seek estimation of Claims or Equity Interests; (c) Claims
pursuant to section 362 of the Bankruptcy Code; (d) Claims, causes of action and defenses
against any Person, including without limitation, for intentional or negligent misrepresentation,
fraud, mistake, duress and usury, breach of fiduciary duty, malpractice, negligence, breach of
contract, wrongful distribution, aiding and abetting, or inducement, and (e) Avoidance Actions.

       1.27. CCAA Approval Order means the Final Order of the CCAA Court sanctioning,
conforming and/or confirming the CCAA Plan and, inter alia, approving and implementing the
Releases and Injunctions.

       1.28. CCAA Case means the proceeding under the Canadian Companies’ Creditors
Arrangement Act of MMA Canada pending before the Québec Superior Court (Commercial
Division) and designated by Court File No. 450-11-000167-134.

       1.29.   CCAA Court means the court presiding over the CCAA Case.

        1.30. CCAA Plan means the Amended Plan of Compromise and Arrangement filed by
MMA Canada in the CCAA Case and which CCAA Plan, inter alia, shall contain Releases and
Injunctions for the benefit of Released Parties, a copy of the CCAA Plan is attached to this Plan
as Exhibit 1.

       1.31.   Chapter 11 Case means the Debtor’s chapter 11 case.

        1.32. Chapter 15 Case means the case commenced or to be commenced under Chapter
15 of the Bankruptcy Code by the Monitor as the foreign representative of MMA Canada in the
Bankruptcy Court for the purposes of, without limitation, obtaining the Chapter 15 Recognition
and Enforcement Order.

         1.33. Chapter 15 Recognition and Enforcement Order means the order entered by the
Bankruptcy Court, pursuant to 11 U.S.C. §§ 1507 and 1521, recognizing and enforcing to the
fullest extent possible within the United States, the CCAA Approval Order.

        1.34. Chubb means the insurer under the Chubb Policy and any other entity providing
or contributing to coverage or funding of coverage under the Chubb Policy.

        1.35. Chubb Policy means the insurance policy issued by Federal Insurance Company
to Rail World, Inc. and Rail World Holdings LLC bearing Policy Number 8210 2375.

        1.36. Claim has the meaning set forth in section 101(5) of the Bankruptcy Code and, to
the extent same would broaden the definition, as set forth in any order of the CCAA Court.

       1.37.   Claimant means the Holder of a Claim.

        1.38. Claims Objection Date means the date that is one-hundred twenty (120) days from
the last to occur of: (a) the Bar Date; (b) with respect to a specified Claim for which a creditor is
allowed to file a Proof of Claim after the Bar Date, twenty (20) days after the date on which such
Proof of Claim is to be filed; or (c) the Confirmation Date. The failure to object to any Claim by


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the Claims Objection Date shall not constitute a waiver, acceptance, or release of any Claim or
Cause of Action against a creditor, including any Avoidance Actions.

       1.39. Class means any group of Claims or Equity Interests classified by the Plan
pursuant to section 1122 of the Bankruptcy Code.

        1.40. Class 13 Cash means any Cash generated from the monetization or liquidation of
Residual Assets, any unencumbered Cash which was part of, or was generated from the Asset
Sale Consideration or the Debtor’s operations, and any surplus WD Trust Assets, as determined
pursuant to Section 5.16 of the Plan, in all cases to the extent not used to fund the Administrative
Expense Fund or to fund payments to Holders of Claims in Classes 1 through 7, inclusive, to the
extent provided by the Plan.

       1.41. Collateral means any property or interest in property of the Estate subject to a
Lien, charge, encumbrance, or right of setoff to secure the payment or performance of a Claim,
which Lien, charge, encumbrance, or right of setoff is not subject to avoidance under the
Bankruptcy Code.

       1.42.   Confirmation Date means the date on which the Confirmation Order becomes a
Final Order.

       1.43. Confirmation Hearing means the hearing held by the Bankruptcy Court to
consider confirmation of the Plan, as the same may be amended, pursuant to section 1128(a) of
the Bankruptcy Code.

        1.44. Confirmation Order means the Order entered by the Bankruptcy Court confirming
the Plan, as the same may be amended, pursuant to section 1129 of the Bankruptcy Code, which
shall include, without limitation, approval of the Settlement Agreements and the Releases and
Injunctions.

       1.45. Contingent Claim means any Claim, the liability for which attaches or is
dependent upon the occurrence or happening of, or is triggered by, an event, which event has not
yet occurred, happened, or been triggered, as of the date on which such Claim is sought to be
estimated or an objection to such Claim is filed, whether or not such event is within the actual or
presumed contemplation of the Holder of such Claim and whether or not a relationship between
the Holder of such Claim and the Debtor now or hereafter exists or previously existed.

        1.46. Contributing Parties means the parties that have executed Settlement Agreements
prior to the Effective Date.

       1.47. Creditors’ Committee means the official committee of Derailment victims
appointed by the Bankruptcy Court on October 18, 2013.

        1.48. D&O Insurance Policies means all primary and excess insurance policies of the
Debtor, MMA Canada, the Rail World Parties, or a non-Debtor Affiliate that provides for,
among other things, coverage for liability related to the actions or omissions of the directors or
officers of the Debtor, MMA Canada or any of all of the Rail World Parties other than the XL



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Policy, Indian Harbor Policy, the Chubb Policy and Hartford Policy, but specifically including,
without limitation, the Great American Policy.

       1.49.   Debtor means Montreal Maine & Atlantic Railway, Ltd.

       1.50. Derailment means the July 6, 2013 derailment of an unmanned train owned by the
Debtor in Lac-Mégantic, Québec, including any and all events leading up to and related to such
derailment and/or any and all consequences of such derailment, including, without limitation, the
explosion, crude oil spill, fire and/or other consequences related to such derailment.

       1.51. Derailment Claims means all Claims by any Persons or entities against the
Debtor, MMA Canada or any other third-party, Person or entity arising out of or relating to the
Derailment, including but not limited to those Claims set forth in Sections 1.52, 1.53, 1.55, 1.57
and 1.58.

       1.52. Derailment Government Claims means any Derailment Claims held or asserted by
any governmental, provincial or municipal entity, against the Debtor, MMA Canada, or any
other person or entity including, without limitation, the province of Québec, Canada and/or the
Village of Lac Mégantic, Québec, or any agency, division, or instrumentality of such entities.

        1.53. Derailment Moral Damages and Personal Injury Claims means a liquidated or
unliquidated Claim against the Debtor, MMA Canada or any other person or entity whether in
the nature of or sounding in tort, contract, warranty, employer liability or any other theory of
law, equity or admiralty, whatsoever, for, attributable to or arising under the laws of any
jurisdiction, by reason of, directly or indirectly, physical, emotional or other personal injuries
caused by, or allegedly caused by, or arising from, in whole or in part, directly or indirectly, the
Derailment including, but not limited to, all claims, debts, obligations or liabilities for
compensatory damages (such as, without limitation, medical monitoring, personal or bodily
injury, proximate, consequential, general and special damages) and punitive damages.
Derailment Moral Damages and Personal Injury Claims shall include, without limitation, any
Claim for contribution, reimbursement, subrogation, or indemnity, whether contractual or
implied by law, (as those terms are defined by the applicable non-bankruptcy law of the relevant
jurisdiction), and any other derivative or indirect Derailment Moral Damages and Personal Injury
Claims of any kind whatsoever, whether in the nature of or sounding in tort, contract, warranty,
or any other theory of law, equity, or admiralty, whatsoever. Notwithstanding the foregoing,
Derailment Moral Damages and Personal Injury Claims shall not include (a) Derailment Property
Damage Claims, (b) Derailment Government Claims; (c) Derailment Wrongful Death Claims;
(d) Derailment Property Subrogated Insurance Claims; and (e) any workers' compensation claim
brought directly against the Debtor or a non-Debtor Affiliate by a past or present employee of the
Debtor under an applicable workers’ compensation statute and which would be covered by
workers’ compensation insurance or an applicable and fully funded self-insurance program.

       1.54. Derailment Moral Damages and Personal Injury Claims Matrix means the matrix
attached to this Plan as Schedule B.

        1.55. Derailment Property Damage Claims means a liquidated or unliquidated Claim
against, or any debt, obligation or liability of the Debtor, MMA Canada or any other person or



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entity arising under the laws of any jurisdiction, whether in the nature of or sounding in tort,
contract, warranty or any other theory of law, equity or admiralty, for, attributable to or arising
by reason of, directly or indirectly, (a) property damages (whenever suffered), including, but not
limited to, diminution in the value thereof, or environmental damage or economic loss to
property; or (b) business interruption or loss of profits or earnings, in all cases caused by or
allegedly caused by, directly or indirectly, the Derailment including, but not limited to, all
claims, debts, obligations or liabilities for compensatory and punitive damages, and also
including, without limitation, any claim for contribution, reimbursement, subrogation, or
indemnity, whether contractual or implied by law, attributable to Derailment Property Damage
Claims. Derailment Property Damage Claims shall not include (a) Derailment Moral Damages
and Personal Injury Claims, (b) Derailment Government Claims; (c) Derailment Wrongful Death
Claims; (d) Derailment Property Subrogated Insurance Claims; and (e) any workers'
compensation claim brought directly against the Debtor or a non-Debtor Affiliate by a past or
present employee of the Debtor under an applicable workers’ compensation statute, and which
would be covered by workers’ compensation insurance or an applicable and fully funded self-
insurance program.

      1.56. Derailment Property Damage Claims Distribution Mechanism shall mean
Schedule C attached to this Plan.

        1.57. Derailment Property Subrogated Insurance Claim means a liquidated or
unliquidated Claim against, or any debt, obligation or liability of the Debtor, MMA Canada, or
any other person or entity, arising under the laws of any jurisdiction, whether in the nature of or
sounding in tort, contract, warranty or any other theory of law, equity or admiralty, for,
attributable to or arising by reason of, directly or indirectly, (a) property damages (whenever
suffered), including, but not limited to, diminution in the value thereof, or environmental damage
or economic loss to property; or (b) business interruption or loss of profits or earnings caused or
allegedly caused, directly or indirectly, by the Derailment and arising or allegedly arising,
directly or indirectly, from acts or omissions of the Debtor, or its predecessors and which is held
by an Insurance Company that (i) with respect to its obligations, has paid in full all amounts due
to an insured who would, but for such payment, hold a Derailment Property Damage Claim; (ii)
is subrogated to such insured’s claim as a matter of law; and (iii) has timely filed a Proof of
Claim in the Chapter 11 Case or the CCAA Case with respect to such Claim (and in the case of a
Proof of Claim filed in the CCAA Case, is deemed, under the Bar Date Order, to have been
timely filed in the Chapter 11 Case).

         1.58. Derailment Wrongful Death Claims means a liquidated or unliquidated Claim
against the Debtor, MMA Canada, or any other person or entity arising under the laws of any
jurisdiction, including, without limitation, held by an executor, administrator, decedent’s estate
or estate representative, or beneficiary of a decedent’s estate, whether in the nature of or
sounding in tort, contract, warranty, employer liability or any other theory of law, equity or
admiralty, whatsoever, for, attributable to or arising under the laws of any jurisdiction, by reason
of the death of an individual person caused, or allegedly caused, in whole or in part, directly or
indirectly, by the Derailment including, but not limited to, all claims, debts, obligations or
liabilities for compensatory damages (such as, without limitation, loss of consortium, wrongful
death, survivorship, proximate, consequential, general and special damages) and punitive
damages. Derailment Wrongful Death Claims shall include, without limitation, any Claim for


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contribution, reimbursement, subrogation, or indemnity, whether contractual or implied by law,
(as those terms are defined by the applicable non-bankruptcy law of the relevant jurisdiction),
and any other derivative or indirect Derailment Wrongful Death Claims of any kind whatsoever,
whether in the nature of or sounding in tort, contract, warranty, or any other theory of law,
equity, or admiralty, whatsoever, except to the extent that such claims have been released or
assigned to the Estate pursuant to a Settlement Agreement. Notwithstanding the foregoing,
Derailment Wrongful Death Claims shall not include (a) Derailment Government Claims; (b)
Derailment Moral Damages and Personal Injury Claims; (c) Derailment Property Damage
Claims; (d) Derailment Property Subrogated Insurance Claims; or (e) any workers' compensation
claim brought directly against the Debtor or a non-Debtor Affiliate by a past or present employee
of the Debtor under an applicable workers’ compensation statute, and which would be covered
by workers’ compensation insurance or an applicable and fully funded self-insurance program.

       1.59. Disbursing Agent means the Person or entity appointed to make distributions
pursuant to the Plan under Article 7 of the Plan.

       1.60. Disclosure Statement means that certain amended disclosure statement filed by
the Trustee, as approved by the Bankruptcy Court pursuant to section 1125 of the Bankruptcy
Code relating to the Plan, including, without limitation, all exhibits and schedules thereto, as the
same may be amended, supplemented, or otherwise modified from time to time.

        1.61. Disputed Claim means a Claim which the Debtor listed on its schedules as
contingent, unliquidated or disputed or any Claim against the Debtor which has been the subject
of a written objection filed with the Bankruptcy Court by the Claims Objection Date.

       1.62. Distribution Date means a date or dates, including the Initial Distribution Date, as
determined by the Disbursing Agent, on which the Disbursing Agent makes a distribution to
Holders of Allowed Claims and/or the WD Trust.

        1.63. Distribution Record Date means the record date for purposes of making
distributions under the Plan on account of Allowed Claims, which date shall be the Confirmation
Date.

       1.64.   District Court means the United States District Court for the District of Maine.

       1.65. Effective Date means a date which is a Business Day and which is set in
accordance with Section 9.2 of the Plan, and is the date upon which the Plan becomes effective.

       1.66. Equity Interest means the interest of any Holder of equity securities of the Debtor
represented by issued and outstanding shares of common or preferred stock or other instrument
evidencing a present ownership interest in the Debtor, whether or not transferable, or any option,
warrant, contractual or other right to acquire any such interest.

        1.67. Estate means the estate created in the Chapter 11 Case of the Debtor pursuant to
section 541 of the Bankruptcy Code.

       1.68.   Estate Injunction means the injunction described in Section 10.6(b)(i) of the Plan.



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        1.69. Estate Representative means the Trustee or any successor in interest to the Trustee
in such capacity, including, but not limited to, the Estate Representative, whether such successor
is appointed under the Plan, the Confirmation Order, or otherwise.

        1.70. Exculpated Party means any of the Debtor, the Trustee, the Disbursing Agent, the
WD Trustee, the Estate, the WD Trust, and their respective professionals retained after the
Petition Date and approved by the Bankruptcy Court, each in their respective capacities.

        1.71. Final Order means an order or judgment of a court of competent jurisdiction that
has been entered on the docket maintained by the clerk of such court and has not been reversed,
vacated, amended, modified or stayed and as to which (a) the time to appeal, petition for
certiorari or move for a new trial, reargument or rehearing has expired and as to which no appeal,
petition for certiorari or other proceedings for a new trial, reargument or rehearing shall then be
pending or (b) if an appeal, writ of certiorari, new trial, reargument or rehearing thereof has been
sought, (i) such order or judgment shall have been affirmed by the highest court to which such
order was appealed, certiorari shall have been denied or a new trial, reargument or rehearing
shall have been denied or resulted in no modification of such order, and (ii) the time to take any
further appeal, petition for certiorari, or move for a new trial, reargument or rehearing shall have
expired; provided, however, that the possibility that a motion under Rule 60 of the Federal Rules
of Civil Procedure, or any analogous rule under the Bankruptcy Rules or the Local Bankruptcy
Rules, or any other applicable U.S. or Canadian rule or procedure, may be filed relating to such
order shall not prevent such order from being a Final Order.

         1.72.   45G Proceeds shall have the meaning set forth in the FRA Adequate Protection
Order.

      1.73. FRA shall mean the United States of America, through the Department of
Transportation, Federal Railroad Administration.

       1.74. FRA Adequate Protection Order shall mean the order entered in the Chapter 11
Case at Docket No. 742.

         1.75.   Funds for Distribution shall have the meaning set forth in the CCAA Plan.

       1.76. General Unsecured Claim means any Claim against the Debtor other than a
Derailment Claim, Administrative Expense Claim, Secured Claim, Priority Tax Claim, Priority
Claim, or Subordinated Claim.

      1.77. Governmental Unit has the meaning set forth in section 101(27) of the
Bankruptcy Code.

        1.78. Great American means Great American Insurance Company, but strictly as the
insurer under the Great American Policy.

      1.79. Great American Policy means the insurance policy issued by Great American to
Montréal Maine & Atlantic Corporation, the Debtor and/or MMA Canada and bearing policy
number DML 9924 836.



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       1.80. Hartford means The Hartford Casualty Insurance Company, together with its
parents, subsidiaries, affiliates, officers and directors, but strictly as the insurer under the
Hartford Policy.

       1.81. Hartford Policy means the insurance policy issued by Hartford to Rail World, Inc.
and bearing policy number 83 SBA PBO432 SA.

          1.82.   Holder means a creditor holding, including by assignment, a Claim against the
Estate.

     1.83. Indian Harbor Policy means the policy issued by Indian Harbor Insurance
Company to the Debtor and bearing Policy No. RRL - 003723801.

       1.84. Initial Distribution means the first distribution that the Disbursing Agent makes to
Holders of Allowed Claims or the WD Trust.

        1.85. Initial Distribution Date means the date occurring on or as soon as reasonably
practicable after the Effective Date, but in no event more than one-hundred-and-twenty (120)
days after the Effective Date, on which the Disbursing Agent makes the Initial Distribution to
Holders of Allowed Claims or the WD Trust.

        1.86. Initial WD Trust Assets means the share of the Settlement Payments allocable to
Derailment Wrongful Death Claims, i.e. 24.1% of the Funds for Distribution and 53.3% of the
Reallocated Dividends, which payments shall represent compensatory damages paid upon such
Claims only and shall also be deemed to have been made pursuant to the Plan and pursuant to a
“court order” necessary to satisfy the requirements of Internal Revenue Code section 468B.

        1.87. Injunctions means, collectively, the Estate Injunction, the Affiliated Parties
Injunction and the Third Party Injunction, as set forth in Section 10.6 of this Plan.

        1.88. Insurance Action means any Claim, Cause of Action, or right of the Debtor, or of
any Person or entity to the extent such Claim, Cause of Action or right is assigned to the Trustee
or the Estate Representative pursuant to a Settlement Agreement, under the laws of any
jurisdiction, against any Insurance Company, arising from or related to: (a) any such Insurance
Company’s failure to provide or pay under an insurance policy; (b) the refusal of any such
Insurance Company to compromise and settle any Derailment Claim under or pursuant to any
insurance policy; (c) the interpretation or enforcement of the terms of any insurance policy with
respect to any Derailment Claim; or (d) any conduct of any Insurance Company constituting
“bad faith” or other wrongful conduct under applicable law.

       1.89. Insurance Company means any insurance company, insurance broker, or
syndicate insurance broker, guaranty association, or any other entity that may have liability
under an insurance policy.

          1.90.   Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.

      1.91. Local Bankruptcy Rules means the Local Bankruptcy Rules of the United States
Bankruptcy Court for the District of Maine, as amended from time to time.


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     1.92. MMA Canada means Montreal Maine and Atlantic Canada Co., the debtor in the
CCAA Case.

        1.93.   Monitor means Richter Advisory Group, Inc. the monitor appointed in the CCAA
Case.

        1.94. Non-Settling Defendants means any and all Persons who are, could be or may be
defendants in any cause of action brought or which could be brought in any court or other forum
of competent jurisdiction (including, without limitation, administrative proceedings) asserting a
Derailment Claim, including, without limitation, a claim for indemnity, contribution,
reimbursement, or by way of subrogation, but who are not Released Parties. Without limiting
the foregoing, Non-Settling Defendants shall include Canadian Pacific Railway Company and
any parent, subsidiaries, or affiliates thereof.

      1.95. Officers and Directors means the Officers and Directors of the Debtor and MMA
Canada as of the date of the Derailment.

       1.96. Other Released Parties means the Released Parties other than the Affiliated
Released Parties.

         1.97. “Person” or “Persons” shall mean (and include) a natural person or persons, a
group of natural persons acting as individuals, a group of natural individuals acting in collegial
capacity (e.g., as a committee, board of directors, etc.), a corporation, partnership, limited
liability company, limited liability partnership, or limited partnership, a proprietorship, joint
venture trust, legal representative, or any other unincorporated association, business organization
or enterprise, any government entity or other regulatory authority and any successor in interest,
Governmental Unit, heir, executor, administrator, trustee, trustee in bankruptcy, or receiver of
any person or entity .

        1.98.   Petition Date means August 7, 2013.

       1.99. Plan means the Trustee’s Revised First Amended Plan of Liquidation Dated July
15, 2015, as the same may be amended from time to time.

        1.100. Plan Implementation Date with respect to the CCAA Plan, shall have the meaning
set forth in the CCAA Plan.

        1.101. Plan Supplement means the supplement or supplements, as amended or modified,
to the Plan containing certain documents relevant to the implementation of the Plan and which
shall include, but will not be limited to, the WD Trust Agreement. The Plan Supplement shall be
filed with the Bankruptcy Court by the Plan Supplement Filing Date.

       1.102. Plan Supplement Filing Date means the date that is no later than ten (10) calendar
days before the deadline set to file objections to the approval of the Disclosure Statement.

        1.103. Post-Confirmation Causes of Action shall mean: (a) any and all Causes of Action,
whether arising before or after the Petition Date and whether arising under state or federal law,
constituting Avoidance Actions; (b) the Trustee’s Derailment Litigation; (c) any Insurance


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Action (except to the extent the underlying insurance policy constitutes a Settlement Non-Cash
Asset); (d) any other litigation initiated by the Trustee before or after the Petition Date as to any
Causes of Action; and (e) any and all proceeds, whether in the form of cash or otherwise, from
any recoveries on or settlement of such Causes of Action.

       1.104. Post-Effective Date Estate means the Estate, as preserved by this Plan and the
Debtor, from and after the Effective Date.

        1.105. Priority Claim means any Claim (other than an Administrative Expense Claim or
a Priority Tax Claim) to the extent such Claim is entitled to a priority in payment under section
507(a) of the Bankruptcy Code, and also means any Claim arising under section 1171(b) of the
Bankruptcy Code.

        1.106. Priority Tax Claim means a Claim of a Governmental Unit of the kind entitled to
priority in payment as specified in sections 502(i) and 507(a)(8) of the Bankruptcy Code.

        1.107. Pro Rata means, with respect to a particular Claim, as of a particular distribution
date, the ratio (expressed as a percentage) of the amount of that particular Claim to the sum of
the aggregate amount of all Allowed Claims of the same Class.

        1.108. Proof of Claim means any proof of claim filed with the Bankruptcy Court or its
duly appointed claims agent with respect to the Debtor pursuant to Bankruptcy Rules 3001 or
3002, unless and to the extent that the Bankruptcy Court has ordered the use of a special or
customized form for the particular type of Claim at issue, and in such case, the special or
customized form of proof of claim, as well as any proof of claim filed with the CCAA Court and
which would be deemed filed in the Bankruptcy Court by virtue of an order of the CCAA Court
or the Bar Date Order.

       1.109. Purchaser means Railroad Acquisition Holdings LLC, now doing business as
Central Maine and Québec Railroad.

         1.110. Rail World Parties means (a) Rail World Holdings, LLC; (b) Rail World, Inc.;
(c) Rail World Locomotive Leasing LLC; (d) The San Luis Central R.R. Co.; (e) Pea Vine
Corporation; (f) Montreal Maine & Atlantic Corp.; (g) LMS Acquisition Corp; (h) Earlston
Associates, L.P.; and (i) each of the shareholders, directors, officers, members or partners of the
foregoing (in such capacity only). For the avoidance of doubt, Rail World Parties also include
Edward Burkhardt, solely in his capacity as director, officer and shareholder of the Rail World
Parties.

       1.111. Reallocated Dividends shall have the meaning set forth in the CCAA Plan.

        1.112. Released Parties means (a) the Debtor; (b) the Trustee and his agents, attorneys,
accountants, financial advisors, restructuring consultants, and investment bankers; (c) MMA
Canada’s attorneys; (d) the Monitor and its employees and attorneys; (e) the WD Trustee and its
respective agents, attorneys, accountants and financial advisors; (f) the Estate Representative and
the Disbursing Agent and their respective agents, attorneys, accountants and financial advisors;
(g) Contributing Parties; and (h) any Persons or entities designated as receiving a release in any
Settlement Agreements (and only to the extent of the release set forth in that Settlement


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Agreement) executed by any Contributing Party or Parties, the Trustee and MMA Canada.
Released Parties shall include the persons or entities listed on Exhibit 2 to this Plan.

       1.113. Releases means all of the releases set forth in Section 10.5 of this Plan.

       1.114. Residual Assets means all Assets, if any, belonging to the Debtor, the Estate or
MMA Canada and not sold in the Asset Sale, including, without limitation, real estate, Cash,
personal property, intangibles, rights to payment, Post-Confirmation Causes of Action, and any
other Causes of Action of the Debtor or the Estate not previously released or released pursuant to
the Plan or included in the Initial WD Trust Assets, all of which Causes of Action are preserved
under the Plan.

       1.115. Sale Order means that certain Order Granting Motion to Sell entered by the
Bankruptcy Court in the Chapter 11 Case on or about January 24, 2014, and authorizing the sale
of Assets to the Purchaser.

        1.116. Schedules means, collectively, the schedules of Assets and liabilities, schedules of
executory contracts and unexpired leases, schedules of current income and expenditures and
statements of financial affairs filed by the Debtor under section 521 of the Bankruptcy Code,
Bankruptcy Rule 1007 and the Official Bankruptcy Forms in the Chapter 11 Case, as may have
been amended or supplemented from time to time in accordance with Bankruptcy Rule 1009 or
orders of the Bankruptcy Court.

       1.117. Secured Claim means a Claim, if any, that is secured by a valid, perfected, and
enforceable Lien on property of the Debtor under applicable state law or by reason of a Final
Order as well as on property in which the Estate has an interest to the extent of the value of such
property or a Claim, if any, that is subject to a permissible setoff under section 553 of the
Bankruptcy Code, to the extent of such permissible setoff, in each case as determined in
accordance with section 506(a) of the Bankruptcy Code, or as otherwise agreed upon in writing
by the Trustee and the Holder of such Claim.

       1.118. Settlement Agreements means any settlement agreement entered into, among the
Trustee, MMA Canada and one or more of the Contributing Parties on or before the Effective
Date of the Plan.

       1.119. Settlement Non-Cash Assets means any rights, Assets, or property, other than
Cash, transferred to the Trustee, the Monitor, MMA Canada, the Estate or the Estate
Representatives, pursuant to any Settlement Agreement, this Plan or the CCAA Plan, including,
without limitation, rights under or pursuant to the Chubb Policy, the Great American Policy, and
any other D&O Insurance Policies or Policy specifically designated in such Settlement
Agreement.

        1.120. Settlement Payments means any payment funded or to be paid to the Trustee, the
Monitor, or the Estate, the WD Trust or other designee of the Trustee or MMA Canada pursuant
to a Settlement Agreement.




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        1.121. Subordinated Claims means all Claims that are subordinated or subject to
subordination to any or all General Unsecured Claims, including, without limitation, Claims that
are subject to subordination pursuant to sections 509 and 510 of the Bankruptcy Code.

        1.122. Tax Authority means a federal, state, local, or foreign government, or agency,
instrumentality, or employee thereof, court or other body (if any) charged with the administration
of any law relating to Taxes.

       1.123. Tax Code means the United States Internal Revenue Code of 1986, as amended
from time to time.

        1.124. Tax Returns means a return, declaration, form, election letter, report, statement,
estimate, information return, or other information filed or required to be filed with respect to any
Taxes, including any schedule or attachment thereto or amendment thereof, including any claim
for a Tax refund.

        1.125. Taxes means all (a) federal, state, local, or foreign taxes, including, without
limitation, all net income, alternative minimum, net worth or gross receipts, capital, value added,
franchise, profits, estimated, property, transfer, and sales or use taxes; and (b) interest, penalties,
fines, additions to tax or additional amounts imposed by any Tax Authority or paid in connection
with any item described in clause (a) hereof.

       1.126. Third Party Injunction means the injunction described in Section 10.6(b)(iii) of
the Plan.

       1.127. Transferred WD Cases means the civil actions transferred pursuant to 28 U.S.C.
§157(b)(5) in connection with the Chapter 11 Case to the District Court, originally filed in the
Cook County, Illinois state court, and appearing on the docket of the District Court as Civil
Action Nos. 00113-00130NT.

        1.128. Travelers’ Proceeds shall have the meaning set forth in the FRA Adequate
Protection Order.

        1.129. Treasury Regulations means the United States Department of Treasury
regulations promulgated under the Tax Code.

        1.130. Trustee’s Derailment Litigation means Adversary Proceeding No. 14-01001 filed
in the Bankruptcy Court and captioned Robert J. Keach, solely in his capacity as the chapter 11
trustee for Montreal Maine & Atlantic Railway, Ltd., Plaintiff v. World Fuel Corporation, World
Fuel Services, Inc., Western Petroleum Company, World Fuel Services, Canada, Inc., Petroleum
Transport Solutions, LLC, Canadian Pacific Railway Company, Irving Oil Limited, and SMBC
Rail Services, LLC, Defendants, including without limitation, all claims and counterclaims
therein, as same may be amended from time to time.

        1.131. Unclaimed Property means any distribution of Cash or any other property made to
the Holder of an Allowed Claim pursuant to the Plan that (a) is returned to the Disbursing Agent
or WD Trustee as undeliverable and no appropriate forwarding address is received within the
later of (i) ninety (90) days after the Effective Date and (ii) ninety (90) days after such attempted


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distribution by the Disbursing Agent or WD Trustee is made to such Holder or (b) in the case of
a distribution made in the form of a check, is not negotiated within ninety (90) days after
remittance of the check and no request for re-issuance is made within such 90-day period.

        1.132. Unimpaired means, with respect to any Claim, that such Claim is not impaired
within the meaning of section 1124 of the Bankruptcy Code.

       1.133. Unliquidated Claim means any Claim, the amount of liability for which has not
been fixed, whether pursuant to agreement, applicable law, or otherwise, as of the date on which
such Claim is asserted or sought to be estimated.

       1.134. U.S. Trustee means the United States Trustee for the District of Maine.

       1.135. UST Fees means the quarterly fees paid and payable to the U.S. Trustee.

        1.136. WD Trust means the trust organized under Delaware law and established under
Article 5 of the Plan for the sole purpose of liquidating and distributing the WD Trust Assets to
Holders of Allowed Derailment Wrongful Death Claims.

      1.137. WD Trust Agreement means the agreement between the Debtor, the Trustee, and
the WD Trustee governing the WD Trust, dated as of the Effective Date, to be filed with the Plan
Supplement, as same may be amended from time to time.

        1.138. WD Trust Assets means (a) the Initial WD Trust Assets, which the Estate
Representative shall deliver, transfer or cause to be delivered or transferred, as applicable, to the
WD Trust, (b) the Additional WD Trust Assets, which, following the Confirmation Date and as
soon after receipt as is reasonably practicable, the Estate Representative shall deliver or cause to
be delivered to the WD Trust, (c) any additional assets to be disbursed to the WD Trust from the
Settlement Agreements in accordance with the Plan and the CCAA Plan, all of which shall
constitute compensatory damages payable to the WD Trust Beneficiaries by order or judgment of
a court of competent jurisdiction.

       1.139. WD Trust Beneficiaries means Holders of Allowed Derailment Wrongful Death
Claims.

       1.140. WD Trust Distribution Procedures means the WD Trust Distribution Procedures
as used and defined in the WD Trust Agreement, or as subsequently modified or amended, and
including, without limitation, Schedule A to this Plan.

       1.141. WD Trust Expenses means all costs, taxes, and expenses of, or imposed on, the
WD Trust, including, but not limited to, WD Trustee compensation, employee compensation,
insurance premiums, legal, accounting, and other professional fees and expenses, overhead,
disbursements, and expenses relating to the implementation of the WD Trust Distribution
Procedures up to a cap of $250,000, but excluding payments to Holders of Allowed Derailment
Wrongful Death Claims or reimbursements of such payments.

       1.142. WD Trustee means the Person designated on or before the Confirmation Date in
accordance with the Plan to govern and administer the WD Trust on and after the Effective Date.


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       1.143. Wheeling shall mean Wheeling & Lake Erie Railway Company, a creditor of the
Debtor.

       1.144. Wheeling Adversary Proceeding shall mean Adversary Proceeding No. 13-01033
pending before the Bankruptcy Court and any claims and counterclaims therein.

      1.145. Wheeling Appeal shall mean Wheeling’s appeal of the order of the United States
Bankruptcy Appellate Panel of the First Circuit dated December 9, 2014.

       1.146. Wheeling Orders shall mean the orders of the Bankruptcy Court entered at Docket
Nos. 376 and 1047 to the extent they affect any Claim or Lien, if any, of Wheeling.

      1.147. Wheeling § 506(c) Motion shall mean the Trustee’s Motion Seeking to Surcharge
Wheeling’s Collateral and filed at Docket No. 854.

       1.148. Wheeling § 363 Motion shall mean Wheeling’s Motion, filed at Docket No. 603
allegedly seeking to enforce certain of the Wheeling Orders.

       1.149. Wheeling Proceedings mean the Wheeling Adversary Proceeding, the Wheeling
Appeal, the Wheeling Orders, the Wheeling § 506(c) Motion, the Wheeling § 363 Motion, and
any other proceeding or contested matter that may be initiated by or against Wheeling, including
any Avoidance Action.

       1.150. Wrongful Death Claim Resolution Procedures means the Wrongful Death Claim
Resolution Procedures (including the points-based matrix) attached to this Plan as Schedule A.

      1.151. XL Additional Payment means the payment of US $5 million to be paid to the
Monitor and the Trustee pursuant to the XL Settlement Agreement.

      1.152. XL Companies means Indian Harbor Insurance Company, XL Insurance, XL
Group plc and their affiliates.

      1.153. XL Indemnity Payment means the payment of CDN $25 million to be paid to the
Monitor pursuant to the XL Settlement Agreement.

       1.154. XL Insurance means the Canadian Branch of XL Insurance Company SE
(formerly XL Insurance Company Limited).

      1.155. XL Policy means the insurance policy issued by XL Insurance and bearing policy
number RLC003808301.

       1.156. XL Policies means the Indian Harbor Policy and the XL Policy.

       1.157. XL Settlement Agreement shall mean the Settlement Agreement attached as
Exhibit 3 to this Plan.




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   B.     Interpretation; Application of Definitions and Rules of Construction.

        Unless otherwise specified, all section or exhibit references in the Plan are to the
respective section in, or exhibit to, the Plan, as the same may be amended, waived, or modified
from time to time. The words “herein,” “hereof,” “hereto,” “hereunder,” and other words of
similar import refer to the Plan as a whole and not to any particular section, subsection, or clause
contained therein. Whenever the words “include,” “includes” or “including” are used in the
Plan, they are deemed to be followed by the words “without limitation.” A term used herein that
is not defined herein shall have the meaning ascribed to that term in the Bankruptcy Code. The
rules of construction contained in section 102 of the Bankruptcy Code shall apply to the Plan.
Words denoting the singular number shall include the plural number and vice versa, as
appropriate, and words denoting one gender shall include the other gender and the neuter and
words denoting the neuter shall include any applicable gender. Unless otherwise provided herein,
in the event that a particular term of the Plan (including any exhibits or schedules hereto)
conflicts with a particular term of the definitive documentation required to be implemented
pursuant to the terms of the Plan, the definitive documentation shall control and shall be binding
on the parties thereto. The headings in the Plan are for convenience of reference only and shall
not limit or otherwise affect the provisions of the Plan.

                                           ARTICLE 2

             PROVISIONS FOR PAYMENT OF NON-CLASSIFIED CLAIMS

          2.1.    Administrative Expense Claims.

               (a)     Allowance of Administrative Expense Claims. An Administrative
Expense Claim, with respect to which a request for payment has been properly and timely filed
shall become an Allowed Administrative Expense Claim if no objection to such request is filed
by the Trustee with the Bankruptcy Court on or before the one-hundred-and-twentieth (120th)
day after the Effective Date, or on such later date as may be fixed by the Bankruptcy Court,
whether fixed before or after the one-hundred-and twentieth (120th) day after the Effective Date.
If an objection is timely filed, the Administrative Expense Claim shall become an Allowed
Administrative Expense Claim only to the extent Allowed by Final Order or as such Claim is
settled, compromised, or otherwise resolved by the Trustee or the Estate Representative pursuant
to Section 7.20 of the Plan.

                (b)    Payment of Allowed Administrative Expense Claims. Except to the extent
that a Holder of an Allowed Administrative Expense Claim (other than a Claim covered by
Section 2.2 or 2.3 of the Plan) agrees to a less favorable treatment, each Allowed Administrative
Expense Claim (including any Allowed Claim asserted under section 503(b)(9) of the
Bankruptcy Code) shall be paid in full, in Cash, in an amount equal to the unpaid portion of such
Allowed Administrative Expense Claim within thirty (30) days following the later to occur of
(a) the Effective Date, or (b) the date on which such Administrative Expense Claim shall become
an Allowed Claim; provided, however, that Allowed Administrative Expense Claims (other than
a Claim covered by Section 2.2 or 2.3 of the Plan) against the Debtor representing liabilities
incurred in the ordinary course of business by the Debtor shall be paid, as applicable, in the
ordinary course of business, consistent with past practice and in accordance with the terms and


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subject to the conditions of any agreements governing, instruments evidencing, or other
documents relating to, such transactions.

          2.2.    Professional Compensation and Reimbursement Claims.

        All Persons seeking an award by the Bankruptcy Court of compensation for services
rendered or reimbursement of expenses incurred through and including the Effective Date under
sections 326, 328, 330, and 331 of the Bankruptcy Code or filing applications for allowance of
Administrative Expense Claims arising under section 503(b)(2), 503(b)(3), 503(b)(4), or
503(b)(5) of the Bankruptcy Code shall (a) file their respective final applications for allowance
of compensation for services rendered and reimbursement of expenses incurred by the date that
is sixty (60) days after the Effective Date, and (b) be paid in full, in Cash, by the Trustee or
Disbursing Agent, as applicable, such amounts as are allowed by the Bankruptcy Court (i) within
thirty (30) days after the date on which the order relating to any such Administrative Expense
Claim is entered or (ii) upon such other terms as may be mutually agreed upon between the
Holder of such Administrative Expense Claim and the Trustee or Disbursing Agent, as
applicable.

          2.3.    Priority Tax Claims.

        Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less
favorable treatment, each Holder of an Allowed Priority Tax Claim that has not already been
paid in full shall receive, in full satisfaction, settlement, and release of and in exchange for such
Allowed Priority Tax Claim, on the later of the Effective Date and the date such Priority Tax
Claim becomes an Allowed Priority Tax Claim, or as soon as practicable thereafter, Cash in an
amount equal to such Allowed Priority Tax Claim.

          2.4.    Section 1171(a), 1171(b), and Derailment Government Claims Not
                  Administrative Claims.

       By agreement with Holders in the affected Class, all Derailment Wrongful Death Claims
and Derailment Moral Damages and Personal Injury Claims, to the extent afforded
administrative expense status under section 1171(a) of the Bankruptcy Code, shall be treated as
Class 12 and Class 8 Claims respectively, as provided in the Plan, and shall not be Allowed
Administrative Expense Claims.

        Claims arising under section 1171(b) of the Bankruptcy Code, if any, shall not be treated
as Allowed Administrative Expense Claims, but shall be treated as Allowed Priority (Class 7)
Claims junior in priority to all other Allowed Priority (Class 7) Claims, to the extent Allowed by
a Final Order of the Bankruptcy Court as Claims under section 1171(b).

       By agreement with Holders in the affected Class, to the extent that any Derailment
Government Claim might be an Allowed Administrative Expense Claim under applicable law,
such Derailment Government Claim will not be treated or paid as an Administrative Expense
Claim but shall be treated solely as a Class 10 Claim.




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                                          ARTICLE 3

               CLASSIFICATION OF CLAIMS AND EQUITY INTERESTS

        The following table designates the classes of Claims against, and Equity Interests in, the
Debtor and specifies which of those Classes are impaired or Unimpaired by the Plan and entitled
to vote to accept or reject the Plan in accordance with section 1126 of the Bankruptcy Code or
deemed to accept or reject the Plan under that Section.

  Class                   Designation                  Impairment           Entitled to Vote

 Class 1          Wheeling Secured Claims              Unimpaired                  No

 Class 2             FRA Secured Claims                Unimpaired                  No

 Class 3           MDOT Secured Claims                 Unimpaired                  No

 Class 4    Bangor Savings Bank Secured Claim          Unimpaired                  No

 Class 5          State Income Tax Claims              Unimpaired                  No

 Class 6            Municipal Tax Claims               Unimpaired                  No

 Class 7                Priority Claims                Unimpaired                  No

 Class 8       Derailment Moral Damages and              Impaired                 Yes
                   Personal Injury Claims

 Class 9    Derailment Property Damage Claims            Impaired                 Yes

Class 10       Derailment Government Claims              Impaired                 Yes

Class 11      Derailment Property Subrogated             Impaired                 Yes
                     Insurance Claims

Class 12     Derailment Wrongful Death Claims            Impaired                 Yes

Class 13          General Unsecured Claims               Impaired                 Yes

Class 14             Subordinated Claims                 Impaired       No (Deemed to Reject)

Class 15               Equity Interests                  Impaired       No (Deemed to Reject)


      3.1.   Class 1 shall consist of all Allowed Secured Claims of any kind or nature held by
Wheeling against the Debtor.




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        3.2.   Class 2 shall consist of all Allowed Secured Claims of any kind or nature held by
the United States of America, Department of Transportation, acting by and through the FRA
against the Debtor.

      3.3.   Class 3 shall consist of all Allowed Secured Claims of any kind or nature held by
Maine Department of Transportation (“MDOT”) against the Debtor.

      3.4. Class 4 shall consist of all Allowed Secured Claims of any kind or nature held by
Bangor Savings Bank against the Debtor.

       3.5. Class 5 shall consist of all Allowed Income Tax Claims of any kind or nature held
by any state government, including Maine and Vermont, against the Debtor.

      3.6.    Class 6 shall consist of all Allowed Tax Claims of any kind or nature held by any
municipality.

       3.7.    Class 7 shall consist of all non-Tax Priority Claims of any kind or nature against
the Debtor, including Claims arising under section 1171(b) of the Bankruptcy Code.

       3.8.    Class 8 shall consist of all Allowed Derailment Moral Damages and Personal
Injury Claims.

       3.9.      Class 9 shall consist of all Allowed Derailment Property Damage Claims.

       3.10.     Class 10 shall consist of all Allowed Derailment Government Claims.

       3.11.     Class 11 shall consist of all Derailment Property Subrogated Insurance Claims.

       3.12.     Class 12 shall consist of all Derailment Wrongful Death Claims.

        3.13. Class 13 shall consist of all Allowed General Unsecured Claims of any kind or
nature against the Debtor, including Allowed General Unsecured Claims arising from a
deficiency of Collateral securing any Allowed Secured Claims.

       3.14.     Class 14 shall consist of all Subordinated Claims.

       3.15.     Class 15 shall consist of all Equity Interests in the Debtor.

                                             ARTICLE 4

                   TREATMENT OF CLAIMS AND EQUITY INTERESTS

          4.1.     Class 1: Wheeling Secured Claims.

               (a)    Impairment and Voting. Class 1 is unimpaired by the Plan. The Holder of
the Class 1 Claim is not entitled to vote to accept or reject the Plan.

             (b)     Distributions. Except to the extent that a Holder of an Allowed Wheeling
Secured Claim (i) has been paid by the Trustee, in whole or in part, prior to the Effective Date;


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(ii) has been or will be paid from the liquidation of its Collateral on and after the Petition Date,
(iii) has been or will be paid pursuant to the CCAA Plan; or (iv) agrees to a less favorable
treatment, the Holder of the Class 1 Claim shall (A) receive Cash from the sale or monetization
of the Collateral securing such Claim, if any, subject to the Trustee’s right to recover certain
costs and expenses pursuant to 506(c) of the Bankruptcy Code, and (B) retain all of its rights and
obligations pursuant to the Wheeling Proceedings, as well as the right to assert that any future
recoveries by the Trustee, including any Residual Assets or proceeds thereof, are Collateral
securing the Class 1 Claim (and the Trustee shall reserve the right to contest such claims). To
the extent of any deficiency in the value of Collateral securing the Class 1 Claim, the Holder
shall hold a Class 13 Claim in the amount of such deficiency.

          4.2.    Class 2: FRA Secured Claims.

                (a)    Impairment and Voting. Class 2 is unimpaired by the Plan. The Holder of
the Class 2 claim is not entitled to vote to accept or reject the Plan.

                (b)     Distributions. The Class 2 Claim is an Allowed Claim. Except to the
extent that the Holder of the Class 2 Claim (i) has been paid by the Trustee, in whole or in part,
prior to the Effective Date; (ii) has been or will be paid pursuant to the CCAA Plan; or
(iii) agrees to a less favorable treatment, the Holder of a Class 2 Claim shall (A) receive Cash
from the sale or monetization of the Collateral securing such Claim, pursuant to the Sale Order
and the APA, or otherwise; (B) retain its liens, if any, in Residual Assets, and (C) retain its rights
pursuant to the FRA Adequate Protection Order, including any rights to some or all of the 45G
Proceeds and the Travelers’ Proceeds. To the extent of any deficiency in the value of Collateral
securing the Class 2 Claim, the Holder of the Class 2 Claim shall hold an Allowed Class 13
Claim in the amount of such deficiency.

          4.3.    Class 3: MDOT Secured Claims.

               (a)    Impairment and Voting. Class 3 is unimpaired by the Plan. The Holder of
the Class 3 Claim is not entitled to vote to accept or reject the Plan.

                (b)    Distributions. As a consequence of the Asset Sale, there is no value
attributable to the Class 3 Claim. See 11 U.S.C. § 506(a). The Holder, of the Class 3 Claim
shall receive a Class 13 Claim in the amount of such deficiency.

          4.4.    Class 4: Bangor Savings Bank Secured Claims.

               (a)    Impairment and Voting. Class 4 is unimpaired by the Plan. The Holder of
the Class 4 Claim is not entitled to vote to accept or reject the Plan.

               (b)     Distributions. The Holder of the Class 4 Claim was granted relief from
the automatic stay and allowed to liquidate its Collateral, to the extent such Collateral was
property of the Estate. To the extent of any deficiency, see 11 U.S.C. § 506(a), the Holder of the
Class 4 Claim shall have a Class 13 Claim in the amount of such deficiency.




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          4.5.    Class 5: State Income Tax Claims.

              (a)    Impairment and Voting. Class 5 is unimpaired by the Plan. The Holders
of Allowed Class 5 Claims are not entitled to vote to accept or reject the Plan.

                (b)    Distributions. The Trustee believes that any Class 5 Claims are the sole
responsibility of non-Debtor Affiliates. To the extent the Estate is obligated with respect to any
Class 5 Claims, such Class 5 Claims will be paid in full, including any interest and penalties, on
the later of the Effective Date, or thirty (30) days after the date such claims become Allowed
Claims.

          4.6.    Class 6: Municipal Tax Claims.

              (a)    Impairment and Voting. Class 6 claims are not impaired by the Plan. The
Holders of Allowed Class 6 Claims are not entitled to vote to accept or reject the Plan.

                (b)     Distributions. The Trustee believes that all Class 6 Claims were paid in
full from the Asset Sale Consideration. To the extent unpaid, such Class 6 Claims will be paid in
full, including any interest and penalties, on the later of the Effective Date, or thirty (30) days
after the date such claims become Allowed Claims.

          4.7.    Class 7: Priority Claims.

              (a)    Impairment and Voting. Class 7 Claims are unimpaired by the Plan. Each
Holder of an Allowed Priority Claim in Class 7 is not entitled to vote to accept or reject the Plan.

                (b)    Distributions. The Trustee believes that all Class 7 Claims, other than any
Claims arising under section 1171(b), were paid in full from the Asset Sale Consideration. To
the extent unpaid, such Class 7 Claims, other than Claims, if any, arising under section 1171(b)
of the Bankruptcy Code, shall be paid in full on the later of the Effective Date or thirty (30) days
after the date such Claims become Allowed Claims. With respect to Claims, if any, arising
under section 1171(b) of the Bankruptcy Code and which, as a matter of law, are junior in
priority to other Class 7 Claims, such Claims shall be paid on the later of the Effective Date or
thirty (30) days after the date such Claims become Allowed Claims in such amount and upon
such terms as the Bankruptcy Court shall determine and as set forth in any Final Order allowing,
in whole or in part, such Claims. The Trustee does not believe that there are any Claims arising
under section 1171(b) of the Bankruptcy Code that will be Allowed.

          4.8.    Class 8: Derailment Moral Damages and Personal Injury Claims.

              (a)     Impairment and Voting. Class 8 Claims are impaired by the Plan.
Holders of Class 8 Claims are entitled to vote to accept or reject the Plan.

             (b)   Distributions. Class 8 Claims shall be satisfied solely in accordance with
the terms of the CCAA Plan, and shall take nothing in addition thereto under this Plan.
HOLDERS OF CLASS 8 CLAIMS SHALL BE SUBJECT TO RELEASES AND
INJUNCTIONS PRECLUDING PURSUIT OF ANY CLAIM AGAINST CERTAIN
PARTIES IN ACCORDANCE WITH THIS PLAN AND THE CCAA PLAN, AS WELL AS


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ENFORCEMENT ORDER AND THE CCAA APPROVAL ORDER.

         4.9.    Class 9: Derailment Property Damage Claims.

              (a)     Impairment and Voting. Class 9 Claims are impaired by the Plan.
Holders of Class 9 Claims are entitled to vote to accept or reject the Plan.

             (b)   Distributions. Class 9 Claims shall be satisfied solely in accordance with
the terms of the CCAA Plan, and shall take nothing in addition thereto under this Plan.
HOLDERS OF CLASS 9 CLAIMS SHALL BE SUBJECT TO RELEASES AND
INJUNCTIONS PRECLUDING PURSUIT OF ANY CLAIM AGAINST CERTAIN
PARTIES IN ACCORDANCE WITH THIS PLAN AND THE CCAA PLAN, AS WELL AS
THE CONFIRMATION ORDER, THE CHAPTER 15 RECOGNITION AND
ENFORCEMENT ORDER AND THE CCAA APPROVAL ORDER.

         4.10.   Class 10: Derailment Government Claims.

              (a)     Impairment and Voting. Class 10 Claims are impaired by the Plan.
Holders of Class 10 Claims are entitled to vote to accept or reject the Plan.

             (b)   Distributions. Class 10 Claims shall be satisfied solely in accordance with
the terms of the CCAA Plan, and shall take nothing in addition thereto under this Plan.
HOLDERS OF CLASS 10 CLAIMS SHALL BE SUBJECT TO RELEASES AND
INJUNCTIONS PRECLUDING PURSUIT OF ANY CLAIM AGAINST CERTAIN
PARTIES IN ACCORDANCE WITH THIS PLAN AND THE CCAA PLAN, AS WELL AS
THE CONFIRMATION ORDER, THE CHAPTER 15 RECOGNITION AND
ENFORCEMENT ORDER AND THE CCAA APPROVAL ORDER.

         4.11.   Class 11: Derailment Property Subrogated Insurance Claims.

              (a)     Impairment and Voting. Class 11 Claims are impaired by the Plan.
Holders of Class 11 Claims are entitled to vote to accept or reject the Plan.

             (b)   Distributions. Class 11 Claims shall be satisfied solely in accordance with
the terms of the CCAA Plan, and shall take nothing in addition thereto under this Plan.
HOLDERS OF CLASS 11 CLAIMS SHALL BE SUBJECT TO RELEASES AND
INJUNCTIONS PRECLUDING PURSUIT OF ANY CLAIM AGAINST CERTAIN
PARTIES IN ACCORDANCE WITH THIS PLAN AND THE CCAA PLAN, AS WELL AS
THE CONFIRMATION ORDER, THE CHAPTER 15 RECOGNITION AND
ENFORCEMENT ORDER AND THE CCAA APPROVAL ORDER.

         4.12.   Class 12: Derailment Wrongful Death Claims.

                (a)  Impairment and Voting. Class 12 Claims are impaired by the Plan. Each
Holder of an Allowed Derailment Wrongful Death Claim in Class 12 is entitled to vote to accept
or reject the Plan.



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                (b)     Distributions. Except to the extent provided in the Affiliated Parties
Settlement Agreement as to the Affiliated Released Parties, each Holder of a Class 12 Claim
shall be enjoined from pursuing any Claim against the Released Parties as set forth in Article 10
of the Plan, and Allowed Derailment Wrongful Death Claims shall be channeled to the WD
Trust, and each Holder of a Derailment Wrongful Death Claim shall receive, in complete
settlement, satisfaction and discharge of his or her Allowed Derailment Wrongful Death Claim
against the Released Parties, a share of the beneficial interests in the WD Trust, subject,
however, to the preservation of Claims against parties other than Released Parties, as set forth
below. Distributions to Holders of Class 12 Claims by the WD Trustee shall be strictly in
accordance with the Wrongful Death Claim Resolution Procedures, except to the extent
otherwise provided in section 5.1 of the Plan. Except as otherwise provided herein, each Class
12 Claimant remains entitled to any recovery from third parties or liability insurance proceeds
that may be liable on or otherwise available to satisfy such Derailment Wrongful Death Claims
in whole or in part, but only to the extent any such third parties or insurers are not Released
Parties, provided, however, that notwithstanding anything herein or in the WD Trust Agreement
to the contrary, to the extent that (i) a Holder of a Derailment Wrongful Death Claim realizes a
recovery from any third party, other than in accordance with the Plan and pursuant to the WD
Trust Agreement, on account of the Claimant’s Derailment Wrongful Death Claim, and (ii) such
third party has filed a timely Proof of Claim against the Estate for contribution or indemnity
based in whole or in part on its actual or potential liability obligations to such Claimant, (A) such
third party’s payment to such Claimant shall be presumed to be solely on account of that third
party’s own liability to such Claimant, and shall not be deemed to be a payment of the
Derailment Wrongful Death Claim in full within the meaning of section 509(c) of the
Bankruptcy Code until so agreed by the WD Trustee or otherwise so determined by the
Bankruptcy Court, and (B) any distribution from the WD Trust to which such Holder of a
Derailment Wrongful Death Claim would otherwise be entitled shall be reserved until such time
as the third party’s claim is resolved. An entity that is liable with the Debtor on, or that has
secured, an Allowed Derailment Wrongful Death Claim, and that pays such Allowed Derailment
Wrongful Death Claim in full, shall, to the extent provided by Section 509 of the Bankruptcy
Code, be subrogated to the rights of the Holder of such Allowed Derailment Wrongful Death
Claim under and for purposes of the Plan, and such subrogated Claim shall be treated as a Class
12 Claim in accordance with the Plan, and to the extent that the entity’s payment of the Allowed
Derailment Wrongful Death Claim is not a payment in full, such entity shall be treated in
accordance with Section 509 of the Bankruptcy Code, including, but not limited to,
subordination of such entity’s Claim(s) in accordance therewith.

     HOLDERS OF CLASS 12 CLAIMS MAY BE REQUIRED TO SUBMIT
ADDITIONAL DOCUMENTATION REGARDING THEIR CLAIM AS PROVIDED BY
THE WRONGFUL DEATH CLAIM RESOLUTION PROCEDURES. HOLDERS OF
CLASS 12 CLAIMS SHALL BE SUBJECT TO RELEASES AND INJUNCTIONS
PRECLUDING PURSUIT OF ANY CLAIM AGAINST CERTAIN PARTIES IN
ACCORDANCE WITH THIS PLAN AND THE CCAA PLAN, AS WELL AS THE
CONFIRMATION ORDER, THE CHAPTER 15 RECOGNITION AND ENFORCEMENT
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          4.13.   Class 13: General Unsecured Claims.

              (a)    Impairment and Voting. Class 13 Claims are impaired by the Plan. Each
Holder of an Allowed General Unsecured Claim in Class 13 is entitled to vote to accept or reject
the Plan.

              (b)     Distributions. Each Holder of Allowed Class 13 Claims shall receive such
Holder’s Pro Rata share of the Class 13 Cash.

          4.14.   Class 14: Subordinated Claims.

              (a)    Impairment and Voting. Class 14 Claims are impaired. Each Holder of a
Class 14 Claim is deemed to reject the Plan and is not entitled to vote to accept or reject the Plan.

                (b)    Distributions. Each Holder of a Class 14 Claim shall not be entitled to,
and shall not receive or retain, any property or interest on account of such Claim under the Plan.

     HOLDERS OF CLASS 14 CLAIMS SHALL BE SUBJECT TO RELEASES AND
INJUNCTIONS PRECLUDING PURSUIT OF ANY CLAIM AGAINST CERTAIN
PARTIES IN ACCORDANCE WITH THIS PLAN AND THE CCAA PLAN, AS WELL
AS THE CONFIRMATION ORDER, THE CHAPTER 15 RECOGNITION AND
ENFORCEMENT ORDER AND THE CCAA APPROVAL ORDER.

          4.15.   Class 15: Equity Interests.

                (a)    Impairment and Voting. Class 15 is impaired by the Plan. Each Holder of
an Equity Interest in the Debtor is deemed to reject the Plan and is not entitled to vote to accept
or reject the Plan.

                (b)     Distributions. On the Effective Date, all existing Equity Interests in the
Debtor shall be cancelled and extinguished and the Holders of Equity Interests in the Debtor
shall not be entitled to, and shall not receive or retain, any property or interest on account of such
Equity Interests under the Plan.

                                            ARTICLE 5

                     SETTLEMENT AGREEMENTS; THE WD TRUST

          5.1.    Settlement Agreements.

        To the extent any Settlement Agreements have not been previously approved by the
Bankruptcy Court, the entry of the Confirmation Order shall constitute approval of such
Settlement Agreements by the Bankruptcy Court and the Bankruptcy Court's finding that, to the
extent required under the applicable provisions of the Bankruptcy Code and Bankruptcy Rules,
the Settlement Agreements are in the best interests of the Debtor, the Estate and all Holders of
Claims in the Chapter 11 Case, are fair, equitable and reasonable, and have been entered into in
good faith by all parties thereto. Upon the occurrence of the conditions to effectiveness set forth
in each of the Settlement Agreements, the Settlement Agreements shall be binding and


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enforceable against the parties to the Settlement Agreements in accordance with their terms.
However, nothing in the Plan or the Confirmation Order shall preclude a Released Party from
exercising its rights to terminate a Settlement Agreement as provided for under such Settlement
Agreement. To the extent not previously approved by the Bankruptcy Court, copies of the
Settlement Agreements will be included in the Plan Supplement, although filed under seal
(except for the XL Settlement Agreement attached hereto), and the provisions thereof are
incorporated into this Plan, as if the same were fully set forth herein; provided, however that the
terms of the Settlement Agreements are subject to Sections 10.8 and 10.9 of the Plan, and no
Settlement Agreement may provide for a release in favor of MMA Canada as to any Claims of
Canada, to the extent provided in the CCAA Plan. In accordance with the terms of any
applicable Settlement Agreement(s), any and all otherwise applicable statutes of limitations or
repose or other time-related limitations relating to the Released Parties and the Released Parties’
Claims (as defined therein) shall be deemed to have been tolled for statute of limitations
purposes during the period from the Execution Date (as defined therein) to the Plan
Implementation Date (as defined therein) or the date that such Settlement Agreement becomes
null and void pursuant to the Settlement Agreement.

          5.2.    Exhaustion of Insurance Policies.

              (a)  On the Effective Date, and upon full payment and performance under the
XL Settlement Agreement, the XL Policies shall be deemed completely exhausted and any and
all of the XL Companies’ obligations under the XL Policies shall be, and are deemed to be,
extinguished.

                (b)   On the Effective Date, and upon full performance under the relevant
Settlement Agreements (and subject to any exceptions contained in such Settlement
Agreements), the policy of any Insurance Company that is a Contributing Party shall be deemed
completely exhausted and any and all of the Insurance Company’s obligations under such policy
shall be, and are deemed to be, extinguished.

          5.3.    Execution of WD Trust Agreement.

        On or before the Effective Date, the Trustee or Estate Representative, on behalf of the
Debtor, and the WD Trustee, on behalf of the WD Trust Beneficiaries and Holders of Allowed
Class 12 Claims, shall execute the WD Trust Agreement, and shall perform all other necessary
steps to establish the WD Trust.

          5.4.    Purpose of WD Trust.

        The WD Trust shall be established for the sole purpose of implementing this Plan on
behalf of, and for the benefit of, WD Trust Beneficiaries and Holders of Allowed Class 12
Claims, and to serve as a mechanism for liquidating, converting to Cash and distributing the WD
Trust Assets for the benefit of WD Trust Beneficiaries and Holders of Allowed Class 12 Claims,
with no objective to continue or engage in the conduct of a trade or business, except to the extent
reasonably necessary to, and consistent with, the liquidating purposes of the WD Trust. The WD
Trust is organized and established as a trust pursuant to which the WD Trustee, subject to the
terms and conditions contained in the WD Trust Agreement and in this Plan, is to hold the WD



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Trust Assets and dispose of the same in accordance with the WD Trust Agreement and this Plan
in accordance with Treasury Regulation section 301.7701-4(d).

          5.5.    Assets of the WD Trust.

        As soon as practicable after the Effective Date, the Monitor shall pay to the Trustee (or
the Estate Representative), or at the instruction of the Trustee (or the Estate Representative) shall
pay directly to the WD Trust, the Initial WD Trust Assets and any Additional WD Trust Assets
or other funds designated for distribution to Holders of Class 12 Claims and held by the Monitor.
The WD Trust shall consist of (a) the Initial WD Trust Assets, which the Estate Representative
shall deliver, transfer assign or cause to be delivered, transferred or assigned, as applicable, to
the WD Trust, (b) the Additional WD Trust Assets, which, following the Confirmation Date and
as soon after receipt as is reasonably practicable, the Estate Representative shall deliver or cause
to be delivered to the WD Trust, and (c) any additional assets disbursed to the WD Trust in
accordance with this Plan, including from the liquidation or monetization of Settlement Non-
Cash Assets. All Assets held by the WD Trust shall constitute the proceeds of Claims for
compensatory damages only, paid to the WD Trust Beneficiaries pursuant to the judgment and/or
order of a court of competent jurisdiction.

          5.6.    Governance of the WD Trust.

        The WD Trust will be administered by the WD Trustee. The initial WD Trustee shall be
selected by the Trustee, after consultation with U.S. counsel to the Holders of Derailment
Wrongful Death Claims. Subsequent appointments of WD Trustee(s) shall be made in
accordance with the provisions of the WD Trust Agreement and this Plan. Decisions with
respect to all matters relating to the WD Trust shall be made by the WD Trustee, subject to the
terms of the WD Trust Agreement. The WD Trust Agreement shall govern the removal of any
WD Trustee and appointment of any successor WD Trustee. The WD Trust Agreement specifies
that the WD Trustee shall be a resident of the United States. The WD Trustee shall be bonded in
such amount as the Trustee or the U.S. Trustee shall reasonably request or, in the event of a
dispute, as set by the Bankruptcy Court.

          5.7.    Role of the WD Trustee.

        In furtherance of, and consistent with the purpose of, the WD Trust and this Plan, the WD
Trustee shall, subject to the terms of this Plan and the WD Trust Agreement, (a) have the power
and authority to hold, manage, sell and distribute the WD Trust Assets as set forth herein and in
the WD Trust Agreement, (b) have the power and authority to hold, manage, sell and distribute
Cash obtained through the exercise of its power and authority (c) have the exclusive power and
authority to object to the allowance of, seek the disallowance of or compromise any Class 12
Claim, and (d) have the power and authority to perform such other functions as are provided in
the WD Trust Agreement. The WD Trustee shall be responsible for all decisions and duties with
respect to the WD Trust and the WD Trust Assets, subject to the terms of this Plan and the WD
Trust Agreement. Subject to the provisions of the WD Trust Agreement, in all circumstances,
the WD Trustee shall act in furtherance of the purpose of the WD Trust, and shall use
commercially reasonable efforts to dispose of the WD Trust Assets and to make timely
distributions and not unduly prolong the duration of the WD Trust. In this respect, the WD


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Trustee shall make distributions strictly in accordance with the Wrongful Death Claim
Resolution Procedures unless permitted by a Final Order of the Bankruptcy Court or the District
Court (in accordance with section 5.14 of this Plan), to deviate therefrom.

          5.8.    Investments.

        Investments of all assets, including monies, held in the WD Trust shall be administered,
subject to the limitations and provisions set forth in this Section 5.8, in view of the manner in
which individuals of ordinary prudence, discretion and judgment would act in the management
of their own affairs, and with the understanding that it is intended that distributions from the WD
Trust to WD Trust Beneficiaries, which will have the effect of liquidating and terminating the
WD Trust, will commence immediately upon or soon after the Effective Date of the Plan and
will be completed soon thereafter. The WD Trustee shall invest and reinvest the principal and
income of the WD Trust and keep the funds of the WD Trust invested in interest-bearing
accounts at an approved depository institution to be selected from the U.S. Trustee’s List of
Authorized Depositories for Bankruptcy Cases filed in Region One, dated May 18, 2015. Each
account shall be treated as a single fund without distinction between principal and income. For
purposes of this paragraph, “interest-bearing account” may include a money fund whose
objectives are current income consistent with liquidity and low risk, the maintenance of a
portfolio of high quality, short-term money market instruments, and maintenance of a constant
$1.00 net asset value per share, to the extent the WD Trustee determines that such fund is
consistent with provisions for investment set forth in Internal Revenue Service Revenue
Procedure 94-45 or any successor guidance issued by the Internal Revenue Service. All
investments shall be made so as to at all times provide sufficient liquidity to meet the anticipated
cash needs of the WD Trust as set forth herein. In investing, reinvesting, exchanging, selling and
managing the WD Trust accounts, the WD Trustee shall discharge its duties with respect to said
accounts solely in the interest of the accomplishment of the purposes and objectives of the WD
Trust. Notwithstanding the foregoing, the WD Trustee shall make continuing efforts to make
timely distributions and not unduly prolong the duration of the WD Trust, consistent with the
limitations set forth in Internal Revenue Service Revenue Procedure 94-45 or any applicable
successor authority.

          5.9.    Fees, Costs and Expenses of the WD Trust.

               (a)     The WD Trust shall pay from the WD Trust Assets (i) all WD Trust
Expenses; (ii) any tax liability imposed on the WD Trust; (iii) all obligations or other liabilities
incurred or assumed by the WD Trust (including but not limited to any reserves established by
the WD Trust); (iv) all expenses reasonably necessary to meet contingent liabilities and to
maintain the value of the WD Trust Assets during liquidation; and (v) all expenses reasonably
necessary to satisfy any other obligations of the WD Trust set forth in this Plan, the Confirmation
Order or the WD Trust Agreement.

                (b)    The WD Trustee shall be entitled to reasonable compensation in an
amount consistent with that of similar functionaries in similar types of proceedings, and shall be
reimbursed from the WD Trust Assets for his or her reasonable expenses, including travel
expenses, reasonably required and incurred in the performance of his or her duties, in each case
subject to the terms and provisions of this Plan and the WD Trust Agreement.


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               (c)     The WD Trustee may retain such law firms or attorneys, experts, advisors,
consultants, investigators, appraisers, auctioneers, corporate management services, or other
persons or professional firms as the WD Trustee determines, in his or her sole discretion, are
necessary, desirable or appropriate to aid in the performance of his or her duties, without the
need for further order or notice. The WD Trustee may pay or appropriate funds from the WD
Trust Assets necessary to pay the professionals for services rendered and expenses incurred after
the Effective Date without any need for filing fee applications under the Bankruptcy Code or
approval of any court, subject to the provisions of section 5.10 below.

          5.10.   Distribution of the WD Trust Assets.

                (a)    The WD Trustee shall distribute the proceeds of the WD Trust Assets
strictly in accordance with this Plan, the Confirmation Order, the WD Trust Agreement and the
Wrongful Death Claim Resolution Procedures, unless the Bankruptcy Court or the District Court,
by Final Order, allows a deviation therefrom. In connection with such distributions, and except
as provided below in this section 5.10, the Trustee, the Post-Effective Date Estate and the Estate
Representative shall have no responsibility or liability for (a) the creation, existence, operation or
administration of the WD Trust; (b) any acts or omissions of the WD Trustee in administering
the WD Trust; (c) any reimbursement and reporting obligations under applicable law or
regulations; or (d) any payment or non-payment of Claims. The WD Trust shall indemnify and
hold harmless the Trustee, the Post-Effective Date Estate and the Estate Representative (but with
recourse in all circumstances limited solely to the assets of the WD Trust, and without recourse
to the WD Trustee personally or to any WD Trust Beneficiaries) from any and all claims, losses,
causes of action, demands, liabilities, expenses, fees, including, but not limited to, attorneys’
fees, and costs of any kind arising from or relating to (a) the creation, existence, operation or
administration of the WD Trust; (b) any acts or omissions of the WD Trustee in administering
the WD Trust; (c) any reimbursement or reporting obligations under applicable law or
regulations; or (d) any payment or non-payment by the WD Trust to any WD Trust Beneficiary.
Prior to making any distribution from the WD Trust, the WD Trust shall retain sufficient funds to
meet the fees, costs and expenses of the WD Trust.

                (b)     After having given the WD Trust Beneficiary fifteen (15) days’ prior
written notice of his intention to proceed with distribution, the WD Trustee in making any
distribution to a Holder of a Derailment Wrongful Death Claim may pay to any lawyer or
counsel for such Holder any fees due to such lawyer or counsel, including, without limitation,
any contingent fees due and owing to such lawyer or counsel; distributions to any WD Trust
Beneficiary who is represented by an attorney as established by documentary evidence
satisfactory to the WD Trustee shall be made separately to the attorney (for fees) and to the WD
Trust Beneficiary (for the net distribution) unless the WD Trust Beneficiary instructs the WD
Trustee in writing to issue such payment jointly to the WD Trust Beneficiary and the attorney (or
law firm) or to deliver such entire payment to such attorney (or law firm), for later distribution of
the net amount to such WD Trust Beneficiary client by such attorney or firm. If a WD Trust
Beneficiary is not represented by an attorney, all distributions shall be made directly to the WD
Trust Beneficiary. Notwithstanding anything to the contrary in the foregoing it is further
provided, however, that:




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               (i)     no payment or distribution of any kind shall be made to any lawyer or
                       counsel allegedly representing the Holder of a Derailment Wrongful Death
                       Claim unless such lawyer or counsel presents to the WD Trustee an
                       executed engagement letter or other document that entitles such lawyer or
                       counsel to such fees or distribution, including any contingent fee (a
                       “Derailment Wrongful Death Client Engagement Letter”), provided, for
                       the avoidance of doubt, that the Representation Order entered by the
                       Quebec Superior Court on or about April 4, 2014 in the CCAA Case (the
                       “Representation Order”) together with any order assessing counsel fees
                       pursuant thereto, shall also constitute a Derailment Wrongful Death Client
                       Engagement Letter; and

               (ii)    no such distribution or payment shall be made by the WD Trustee if:
                       (i) the Derailment Wrongful Death Client Engagement letter has been held
                       to be invalid or inoperative by a final order or ruling entered in any
                       proceeding (including an administrative proceeding) initiated by a party
                       with standing (as defined below) disputing the rights of such lawyer or
                       counsel to fees before any court, administrative tribunal or other forum
                       with jurisdiction over such agreements, in the United States or Canada
                       (collectively a “Proceeding”), in which there was a challenge to the
                       validity or operation of the Derailment Wrongful Death Client
                       Engagement Letter; or (ii) any Proceeding is pending in which there is a
                       challenge to the validity or operation of the Derailment Wrongful Death
                       Client Engagement Letter, unless and until such Proceeding has been
                       concluded by a final order or ruling in favor of the lawyer or counsel
                       involved, and then the distribution to the lawyer or counsel shall be
                       limited by the terms of any such final order or ruling issued in such
                       Proceeding, to the extent such order or ruling contains any such
                       limitations.

For the purposes of subparagraph (b)(ii) above, “party with standing” shall be limited to (x) the
individual Holder of a Derailment Wrongful Death Claim in his or her capacity as a client or
alleged client (or the parent or guardian of such client or alleged client, if a minor), or (y) any
bar-affiliated or governmental entity that regulates the practice of law and is granted such
standing as a matter of a governing statute or rule. Neither Class Counsel nor U.S. Counsel
(each as defined below), shall be a “party with standing” for purposes of that section, whether or
not such counsel holds a power of attorney or like document for such client, and, similarly, the
Creditors Committee and its counsel shall not be a “party or parties with standing” under that
provision. Holders of Derailment Wrongful Death Claims involved in a Proceeding shall receive
the portion of their distributions on account of their Derailment Wrongful Death Claim not in
dispute in such Proceeding at the same time and in the same manner as the Holders of other
Derailment Wrongful Death Claims not involved in a Proceeding.

For the sole purpose of determining any contingent fee due, all Distributions to a WD Trust
Beneficiary shall constitute and be deemed Distributions through and on account of the
Derailment Wrongful Death Claims, if any, of the decedent’s estate representative pursuant to
which such WD Trust Beneficiary is to receive payment under the Wrongful Death Claims


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Resolution Procedures, and subject to any contrary terms of any applicable engagement
agreement or any other documentation that is acceptable to the WD Trustee, counsel to such
decedent’s estate representative shall be entitled to payment based upon the aggregate payment
to WD Trust Beneficiaries who take or are deemed by this paragraph to take through such
estates; provided, however, that application of this paragraph shall be subject to sub-paragraphs
(b)(i) and (b)(ii) above and shall not result in the payment by any WD Trust Beneficiary of a fee,
contingent or otherwise, to more than one attorney or law firm; and the amount of any contingent
fee payable on account of any estate (and the WD Trust Beneficiary’s taking through such estate)
to U.S.-based counsel to the Holders of Derailment Wrongful Death Claims (“U.S. Counsel”)
will be calculated by first excluding any distributions (including fees) payable to Holders of
Derailment Wrongful Death Claims represented solely by counsel appointed pursuant to the
Representation Order (the “Class Representatives”) and counsel appointed therein (“Class
Counsel”) pending in the Québec Superior Court, and no other fees contingent or otherwise shall
be payable on such distributions. For the purposes of this section, a Holder of a Derailment
Wrongful Death Claim shall be deemed to be solely represented by the Class Representatives
and Class Counsel only if such Holder has (i) not delivered a notice of opt-out from
representation in accordance with the Representation Order; (ii) has not signed an engagement
agreement, engagement letter, power of attorney or similar document specifying terms of
representation with U.S. Counsel; and (iii) has not filed a proof of claim in the Chapter 11 Case,
prior to the Claims Bar Date, which designates U.S. Counsel (including local counsel in Bangor,
Maine) as such Holder’s counsel. For purposes of this section, such a proof of claim can
constitute a Derailment Wrongful Death Client Engagement Letter, subject to any necessary
terms of engagement being established by evidence satisfactory to the WD Trustee. Any dispute
arising under this section 5.10, including any objection of any person or party to a determination
by the WD Trustee as to legal representation or payment of fees (collectively, “Representation
Disputes”) shall be determined exclusively by de novo review before the Bankruptcy Court,
subject, however to subparagraph (b)(ii) above in this section.

          5.11.   Resolving Liens.

         Before disbursing any WD Trust Assets to a WD Trust Beneficiary, the WD Trustee shall
ensure that any Liens that the WD Trustee has received notice of and which may attach to any
such distribution have been resolved or have been otherwise satisfied. To that end, the WD
Trustee shall provide notice of the existence of any such Lien(s) to the WD Trust Beneficiary
and, if applicable, his or her attorney, and it shall be the WD Trust Beneficiary’s (or his or her
attorney’s) responsibility to resolve such Lien(s) against the WD Trust Beneficiary’s anticipated
distribution of WD Trust Assets within 120 days of notice from the WD Trustee. If the Lien has
not been settled or otherwise resolved within this 120-day time period, with the WD Trust
Beneficiary’s consent, the WD Trustee may retain a firm with experience in resolving liens to
satisfy the WD Trust’s Beneficiary’s obligations as represented by the Lien(s). Any payments
made to resolve such Lien(s), together with the fees paid to the Lien resolution firm, shall be
deducted from the WD Trust Beneficiary’s distribution of WD Trust Assets prior to
disbursement of the balance. Subject to the foregoing provisions this Section 5.11, any and all
distributions to or for the benefit of WD Trust Beneficiaries shall be free and clear of any and all
liens, security interests and encumbrances.




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          5.12.   Time of WD Trust Distributions.

        Subject to the Wrongful Death Claim Resolution Procedures, the WD Trustee shall have
the sole and absolute discretion to determine the timing of distributions of the proceeds of the
WD Trust in the most efficient and cost-effective manner possible; provided, however, that the
WD Trustee’s discretion shall be exercised in a manner consistent with the express requirements
of this Plan, the Wrongful Death Claim Resolution Procedures, and the requirements of taxation
as a grantor trust under applicable Internal Revenue Service guidelines, rulings or other
controlling authorities. Absent cause, the WD Trustee will use best efforts to make distributions
as quickly and efficiently as feasible, subject only to any delays necessitated by Section 5.14 of
this Plan and any orders issued by the District Court under Section 5.14 of this Plan.

          5.13.   Tax Treatment of WD Trust.

               (a)     WD Trust Assets Treated as Owned by Certain Creditors. For all
United States federal income tax purposes, all parties (including the Estate Representative, the
WD Trustee, WD Trust Beneficiaries and Holders of Allowed Class 12 Claims) shall treat the
transfer of the WD Trust Assets to the WD Trust as (i) a transfer of the WD Trust Assets
(subject to any obligations related to those assets) directly to the WD Trust Beneficiaries and
Holders of Allowed Class 12 Claims, followed by (ii) the transfer by such WD Trust
Beneficiaries and Holders of Allowed Class 12 Claims of such WD Trust Assets to the WD Trust
in exchange for beneficial interests in the WD Trust. Accordingly, the WD Trust Beneficiaries
and Holders of Allowed Class 12 Claims shall be treated for federal income tax purposes (and, to
the extent permitted, for state and local income tax purposes) as the grantors and owners of their
respective shares of the WD Trust Assets, if any, or any Disputed Claims reserve as described in
Section 7.20 hereof). All WD Trust Assets shall be treated solely as compensatory damages.

               (b)     Exemption from Transfer Taxes. Pursuant to section 1146(a) of the
Bankruptcy Code, the making or assignment of any lease or sublease, or the making or delivery
of any instrument of transfer from the Trustee, the Estate, the Post-Effective Date Estate or the
Estate Representative to the WD Trust or any other Person or any government, governmental
agency or any subdivision, department or other instrumentality thereof, pursuant to this Plan,
shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or
similar tax, mortgage tax, stamp act, real estate transfer tax, mortgage recording tax or other
similar tax or governmental assessment and the Confirmation Order shall direct the appropriate
state or local governmental officials or agents to forego the collection of any such tax or
governmental assessment and to accept for filing and recordation any of the foregoing
instruments or other documents without the payment of any such tax or governmental
assessment. Without limiting the foregoing, any issuance, transfer or exchange of a security or
any making or delivery of an instrument of transfer pursuant to this Plan shall be exempt from
the imposition and payment of any and all transfer taxes (including but not limited to any and all
stamp taxes or similar taxes and any interest, penalties and addition to the tax that may be
required to be paid in connection with the consummation of this Plan) pursuant to sections
1146(a), 505(a), 106 and 1141 of the Bankruptcy Code.

               (c)    Tax Reporting. The WD Trustee shall file returns for the WD Trust as a
grantor trust pursuant to Treasury Regulation section 1.671-4(a) and in accordance with this


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Section 5.13. The WD Trustee shall also annually send to each record holder of a beneficial
interest a separate statement setting forth the holder’s share of items of income, gain, loss,
deduction or credit and shall instruct all such holders to report such items on their federal income
tax returns or to forward the appropriate information to the beneficial holders with instructions to
report such items on their federal income tax returns. The WD Trustee shall also file (or cause to
be filed) any other statements, returns or disclosures relating to the WD Trust that are required
by any Governmental Unit. WD Trust taxable income or loss shall be allocated pro rata based on
the total of Allowed Claims of the WD Trust Beneficiaries at the end of the taxable year. As
soon as possible after the Effective Date, the WD Trustee shall make a good faith valuation of
the WD Trust Assets. Such valuation shall be made available from time to time, to the extent
relevant, and used consistently by all parties (including the Estate Representative, the WD
Trustee, the WD Trust Beneficiaries and holders of Allowed Class 12 Claims) for all state and
federal income tax purposes. The WD Trustee also shall file (or cause to be filed) any other
statements, returns or disclosures relating to the WD Trust that are required by any
Governmental Unit. The WD Trustee may request an expedited determination of taxes of the
WD Trust under section 505 of the Bankruptcy Code for all returns filed for, or on behalf of, the
WD Trust for all taxable periods through the termination of the WD Trust.

               (d)     Withholding of Taxes and Reporting Related to WD Trust
Operations. The WD Trust Assets, as compensatory damages for Derailment Wrongful Death
Claims, are not subject to withholding and the WD Trustee shall not be required to withhold any
taxes or other amounts from distributions to WD Trust Beneficiaries. The Confirmation Order
shall absolve the WD Trustee of any such withholding duties or responsibilities. To the extent
that the operation of the WD Trust or the liquidation of the WD Trust Assets creates a tax
liability imposed on the WD Trust, the WD Trust shall timely pay such tax liability and any such
payment shall be considered a cost and expense of the operation of the WD Trust payable
without Bankruptcy Court order.

          5.14.   Resolution of the Claims of Minors In Accordance With the WD Trust.

       In connection with any Allowed Class 12 Claims in which the Holder is a minor, the WD
Trustee shall notify the parent, guardian, guardian ad litem, adult spouse, next friend, or other
representative of the minor of the proposed distribution to such minor. Such parent, guardian,
guardian ad litem, adult spouse, next friend, or other representative of the minor shall move for
approval of the allocation within ninety (90) days of his or her notification by the WD Trustee of
the proposed distribution.

        In the event that the parent, guardian, guardian ad litem, adult spouse, next friend, or
other representative of the minor does not so move for approval of the allocation within ninety
(90) days of his or her notification by the WD Trustee of the proposed distribution, the WD
Trustee shall submit the proposed distribution to the holder to the District Court for approval in
accordance with 14 M.R.S.A. § 1605 and request that the District Court hold a hearing on the
petition, and the petitioner and the Allowed Class 12 Claim Holder may attend any such hearing.
The WD Trustee shall request that the District Court determine whether the proposed distribution
is in the Allowed Class 12 Claim Holder’s best interests and, if the proposed distribution is
approved, that determination shall be embodied in an order which shall have the effect of a
judgment. Upon approval of the proposed distribution to such Holder of an Allowed Class 12


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Claim, the WD Trustee shall request that the District Court authorize payment to the counsel of
the minor, if any, of fees and disbursements to be paid from the distribution and further shall
order that the remainder of the distribution be distributed in a manner that will best protect the
interest of the minor.

          5.15.   Access to Claims Information.

        Upon request made to the Estate Representative on or after the Effective Date by the WD
Trustee, the Estate Representative shall deliver to the WD Trustee, on an un-redacted basis, the
relevant lists of Class 12 Claims and all Proofs of Claim and supporting documentation for
purposes of effectuating the WD Trust and distributions to Holders of Allowed Class 12 Claims.
The Confirmation Order shall include all findings and orders necessary to permit or facilitate
such delivery and access, including with respect to any necessary confidentiality of such lists and
the Proofs of Claim, subject to any further orders of the Bankruptcy Court. The WD Trustee
shall have access to the Books and Privileges to the extent reasonably required to discharge the
duties of the WD Trustee; provided, however, that the WD Trustee shall have no control over
and shall not have the capacity to waive any attorney-client privilege or work product immunity
or privilege held by the Debtor or the Trustee.

          5.16.   Distribution of Surplus.

         The WD Trustee shall make all payments required to be paid to Holders of Allowed
Class 12 Claims under this Plan, in accordance with the terms and conditions of the WD Trust
Agreement, the Wrongful Death Claim Resolution Procedures, and this Plan. If, and only if, the
WD Trustee has made all distributions to WD Trust Beneficiaries permitted under the Wrongful
Death Claim Resolution Procedures then the WD Trustee shall transfer any surplus WD Trust
Assets to the Disbursing Agent who shall then distribute to the holders of Allowed Class 13
Claims their Pro Rata share of the remaining Cash, if any, of the WD Trust until such Class 13
Claims are paid in full. (The Trustee does not anticipate surplus WD Trust Assets at this time.)
For the avoidance of doubt, nothing in the Plan or the CCAA Plan shall limit or cap the
recoveries available to victims of the Derailment outside the Plan and this Agreement as against
parties other than Released Parties including, without limitation, under the laws of the State of
Illinois or the State of Texas.

                                           ARTICLE 6


          6.1.    Management of the Post-Effective Date Estate.

                (a)    Estate Representative. On the Effective Date, (i) the authority, power and
incumbency of the persons then acting as directors and officers of the Debtor, and that of the
Trustee, shall be terminated, (ii) such directors, officers and the Trustee shall be deemed to have
been discharged pursuant to Bankruptcy Code section 350(a), and (iii) the Estate shall
nonetheless be preserved pursuant to sections 1123(b)(3), 1123(b)(6) and 1172 of the
Bankruptcy Code and Robert J. Keach shall be appointed as the sole representative of the Post-
Effective Date Estate, and the sole officer and director of the Debtor in such capacity, to serve in
accordance with the certificate of incorporation and the bylaws of the Debtor, as such may be



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amended, and to carry out the provisions of the Plan, as well as to close the Case, as required,
including without limitation by requesting the issuance of a final decree.

             (b)     Compensation. The Estate Representative shall be entitled to the same
compensation and reimbursement of expenses as would be payable to a chapter 11 trustee under
sections 326 and 330 of the Bankruptcy Code and shall file fee applications under the
Bankruptcy Code for approval by the Bankruptcy Court of such fees and expenses.

               (c)     Indemnification. The Estate Representative shall have quasi-judicial
immunity to the fullest extent allowed by law (and the same as would be afforded a chapter 11
trustee) and shall have no liability to the Debtor or its creditors, except for willful misconduct.
The Estate shall indemnify and hold harmless the Estate Representative for any losses incurred in
his or her capacity as such, except to the extent such losses were the result of the Estate
Representative’s willful misconduct.

               (d)    Successor. In the event the Estate Representative dies, is terminated or
resigns for any reason, the Bankruptcy Court shall designate a successor on motion of any party
in interest.

          6.2.    Duties and Powers of the Estate Representative.

        The Estate Representative shall have the power of a chapter 11 trustee (and of the sole
officer of the Debtor), and, without limitation, shall have the power and authority to implement
and administer the Plan, and to prosecute any action or cause of action necessary to implement
the Plan, including, without limitation, to enforce the Releases and Injunctions and also
including, without limitation, the following power and authority:

               (a)    Claims. The Estate Representative may object to, compromise or settle
any or all Claims against the Debtor or the Estate, other than Class 12 Claims (distributions on
account of which are strictly governed by and determined in accordance with the Wrongful
Death Claim Resolution Procedures).

              (b)    Selling, Monetizing or Liquidating Residual Assets.             The Estate
Representative may, but is not required to, sell, monetize or liquidate the Settlement Non-Cash
Assets and the Residual Assets, including, without limitation, through the prosecution of Post-
Confirmation Causes of Action.

               (c)    Abandoning Assets. The Estate Representative may abandon or donate
any Assets, if he concludes in his sole discretion that they are of no benefit or inconsequential
value without the need for further order or notice.

               (d)    Retention of Professionals.       After the Effective Date, the Estate
Representative may retain such law firms or attorneys, experts, advisors, consultants,
investigators, appraisers, auctioneers, corporate management services, or other persons or
professional firms as the Estate Representative determines, in his or her sole discretion, are
necessary, desirable or appropriate to aid in the performance of his or her duties, without the
need for further order or notice. The Estate Representative may pay or appropriate funds
necessary to pay the professionals for services rendered and expenses incurred after the Effective


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Date; such professionals shall file fee applications under the Bankruptcy Code for approval by
the Bankruptcy Court of such fees and expenses. The Estate Representative may retain any firm
previously retained by the Trustee.

               (e)     Books and Records. The Estate Representative shall maintain the
Debtor’s Books and Privileges, maintain accounts, make distributions and take other actions
consistent with the Plan and the implementation of the Plan. The Estate Representative shall
have the responsibility of storing and maintaining the Debtor’s books and records only until such
time as he or she deems, in his or her sole discretion, such books and records may be abandoned
or destroyed, and the Estate Representative shall have no liability to any party on account of such
abandonment or destruction. In addition to the materials to be provided to the WD Trustee
pursuant to Section 5.15 of the Plan, at the time such materials are provided to the WD Trustee
pursuant to Section 5.15 of the Plan, the Estate Representative shall provide the WD Trustee
with copies of such of the Debtor’s books and records as the WD Trustee may reasonably request
in connection with the administration of the Wrongful Death Claim Resolution Procedures, and
the Estate Representative shall have no liability to any party on account of such provision. For
purposes of this Section, books and records include computer generated or computer maintained
books and records and computer data, as well as electronically generated or maintained books
and records or data, together with books and records of the Debtor maintained by or in
possession of third parties and all of the claims and rights of the Debtor in and to their books and
records, wherever located.

               (f)     Agreements. The Estate Representative may enter into any agreement or
execute any document which he deems to be required by or consistent with the Plan or necessary
or appropriate to its implementation and perform all of obligations of the Post-Effective Date
Estate.

                (g)     Investment Power. Management of all Residual Assets and investments of
the Post-Effective Date Estate’s Cash shall be administered, subject to the limitations and
provisions set forth herein, in view of the manner in which individuals of ordinary prudence,
discretion and judgment would act in the management of their own affairs. The Estate
Representative shall invest and reinvest the Post-Effective Date Estates’ Cash and keep the Post-
Effective Date Estates’ Cash invested in interest-bearing accounts at an approved depository
institution to be selected from the U. S. Trustee’s List of Authorized Depositories for Bankruptcy
Cases filed in Region One, dated July 26, 2013. Each account shall be treated as a single fund
without distinction between principal and income. For purposes of this paragraph, “interest-
bearing account” includes a money fund whose objectives are current income consistent with
liquidity and low risk, the maintenance of a portfolio of high quality, short-term money market
instruments and maintenance of a constant $1.00 net asset value per share. All investments shall
be made so as to at all times provide sufficient liquidity to meet the anticipated cash needs of the
Post-Effective Date Estate as set forth herein.

                 (h)     Tax Obligations. The Estate Representative shall (i) endeavor to complete
and file the Debtor’s or the Post-Effective Date Estates’, as applicable, federal and state tax
returns, (ii) request, if necessary, an expedited determination of any unpaid tax liability of the
Debtor under Bankruptcy Code section 505 for all taxable periods of the Debtor ending after the
Petition Date as determined under applicable tax laws and (iii) represent the interest and account


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of the Debtor, its Estate or the Post-Effective Date Estate, as applicable, before any taxing
authority in all matters.

               (i)    Reporting Duties. The Estate Representative shall be responsible for
filing informational returns on behalf of the Debtor or the Post-Effective Date Estate, as
applicable, and any other statements, returns or disclosures relating to the Debtor or the Post-
Effective Date Estate, as applicable, that are required by any governmental unit or applicable
law.

              (j)     Reasonable Fees and Expenses. The Estate Representative may incur and
pay and satisfy any reasonable and necessary fees and expenses in connection with the
performance of his or her duties under the Plan without the need for further order or notice.

          6.3.    Other Actions.

        The Estate Representative may take all other actions not inconsistent with the provisions
of the Plan which the Estate Representative deems reasonably necessary or desirable with respect
to administering the Plan, including without limitation, to fully effectuate and enforce the
Releases and Injunctions. For the avoidance of doubt, to the extent any Settlement Agreement(s)
require or authorize the Trustee to take certain action to enforce the provisions thereof, such
obligations or authority shall become the obligations or authority of the Estate Representative.

          6.4.    Closing of the Chapter 11 Case.

        When all Disputed Claims have become Allowed Claims or have been disallowed by
Final Order, and this Plan has been substantially consummated, the Estate Representative may, if
he or she so elects in his or her sole discretion, seek authority from the Bankruptcy Court to close
the Chapter 11 Case in accordance with the Bankruptcy Code and the Bankruptcy Rules. For the
avoidance of doubt, the closing of the Chapter 11 Case shall not affect the obligations or
authority of the Estate Representative under the Settlement Agreements, as successor to the
Trustee.

          6.5.    Cancellation of Existing Agreements.

        Except for purposes of evidencing a right to distributions under this Plan or otherwise
provided hereunder, on the Effective Date all of the agreements and other documents, except for
and other than the WD Trust Agreement, the Settlement Agreements and insurance policies
issued to, or insurance agreements entered into by the Debtor prior to the Petition Date
(including, without limitation, any D&O Insurance Policies), evidencing the Claims or rights of
any Holder of a Claim against the Debtor, including any notes evidencing such Claims, shall be
deemed cancelled.




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           6.6.   Continued Corporate Existence. The Debtor shall continue to exist after the
Effective Date, with all powers of a corporation under the laws of the State of Delaware except
for shareholder management (the “Post-Effective Date Debtor”). The Post-Effective Date
Debtor’s certificate of incorporation and bylaws shall be deemed amended to include a provision
prohibiting the issuance of non-voting equity securities, thereby satisfying the requirements of
Bankruptcy Code section 1123(a)(6). The Estate Representative, as the sole officer and director
of the Post-Effective Date Debtor, shall perform each of the actions provided for under this Plan
without any requirement of further action by or consent or vote of the shareholders. At the
discretion of the Estate Representative, the Post-Effective Date Debtor shall be authorized,
following the completion of all disbursements to Holders of Allowed Claims, other than Allowed
Class 12 Claims, other transfers and other actions required under this Plan, including without
limitation, the sale, monetization or liquidation of the Residual Assets, to file certificates of
cancellation or dissolution. The filing of such certificates of cancellation or dissolution shall be
deemed authorized and approved in all respects without further action under applicable law,
regulation, order or rule, including, without express or implied limitation, any action by the
shareholders. After the Effective Date, the shareholders shall have no power or authority with
respect to the management, operation or other functions of the Post-Effective Date Debtor.

          6.7.     Effectuating Documents and Further Transactions.

        Upon the Effective Date, the Estate Representative is authorized and directed to execute,
deliver, file or record such contracts, releases and other agreements or documents and take such
actions as he or she may deem to be necessary or appropriate to effectuate and further evidence
the terms and conditions of this Plan.

                                           ARTICLE 7

                 PROVISIONS GOVERNING VOTING AND DISTRIBUTIONS

          7.1.     Disallowance of Multi-Claimant or Class Proofs of Claim.

        In accordance with the Bar Date Order, Claims evidenced by (a) Proofs of Claim joining
or on behalf of two (2) or more claimants submitted without the prior approval of the Bankruptcy
Court, or (b) by Proofs of Claim purporting to be on behalf of a class of claimants shall be and
are hereby disallowed to the extent not previously disallowed.

          7.2.     Voting of Claims.

        Each Holder of an Allowed Claim in an impaired Class of Claims that is entitled to vote
on the Plan pursuant to Article 2 and Article 4 of the Plan shall be entitled to vote separately to
accept or reject the Plan, as provided in such order as is entered by the Bankruptcy Court
establishing procedures with respect to the solicitation and tabulation of votes to accept or reject
the Plan, or any other order or orders of the Bankruptcy Court.

          7.3.     Acceptance by Impaired Classes of Claims.

       Pursuant to section 1126(c) of the Bankruptcy Code, an impaired Class of Claims shall
have accepted the Plan if, after excluding any Claims held by any Holder designated pursuant to


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section 1126(e) of the Bankruptcy Code, (a) the Holders of at least two-thirds in amount of the
Allowed Claims actually voting in such Class have voted to accept the Plan, and (b) more than
one-half in number of such Allowed Claims actually voting in such Class have voted to accept
the Plan. If a Class contains Claims and none of such Claims votes, the Class is deemed to
accept the Plan.

          7.4.   Nonconsensual Confirmation.

        If any impaired Class of Claims entitled to vote does not accept the Plan by the requisite
statutory majority provided in section 1126 of the Bankruptcy Code, or as otherwise required by
the Plan, or is not deemed to accept the Plan, the Debtor reserves the right to amend the Plan in
accordance with Section 12.8 of the Plan or to undertake to have the Bankruptcy Court confirm
the Plan under section 1129(b) of the Bankruptcy Code, or both. With respect to impaired
Classes of Claims that are deemed to reject the Plan, the Debtor intends to request that the
Bankruptcy Court confirm the Plan pursuant to section 1129(b) of the Bankruptcy Code.

          7.5.   Date of Distributions.

        Distributions to Holders of Claims shall be made on the Initial Distribution Date, and on
any subsequent Distribution Dates, as provided in Article 2 and Article 4 of the Plan. In the
event that any payment or act under the Plan is required to be made or performed on a date that is
not a Business Day, then the making of such payment or the performance of such act may be
completed on the next succeeding Business Day, but shall be deemed to have been completed as
of the required date.

          7.6.   Disbursing Agent.

        All distributions under the Plan shall be made by the Disbursing Agent, except
distributions to Class 12 Claims and WD Trust Beneficiaries (which distributions shall be made
in accordance with the WD Trust Agreement and Article 5 of this Plan). The Disbursing Agent
shall be deemed to hold all property to be distributed under the Plan in trust for the entities
entitled to receive the same. The Disbursing Agent shall not hold an economic or beneficial
interest in the property to be distributed under the Plan.

          7.7.   Appointment of Disbursing Agent.

       The Estate Representative is hereby appointed as Disbursing Agent for all purposes under
the Plan.

          7.8.   Rights and Powers of Disbursing Agent.

        The Disbursing Agent shall be empowered to (a) effect all actions and execute all
agreements, instruments and other documents necessary to perform the Disbursing Agent’s
duties under the Plan, (b) make all distributions contemplated by the Plan, (c) employ
professionals to represent the Disbursing Agent with respect to its responsibilities, and
(d) exercise such other powers as may be vested in the Disbursing Agent by order of the
Bankruptcy Court, pursuant to the Plan or as deemed by the Disbursing Agent to be necessary
and proper to implement the provisions of the Plan.


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        The Disbursing Agent shall only be required to act and make distributions in accordance
with the terms of the Plan and shall have no (a) liability for actions taken in accordance with the
Plan or in reliance upon information provided to it in accordance with the Plan or (b) obligation
or liability for distributions under the Plan to any party who does not hold an Allowed Claim at
the time of distribution or who does not otherwise comply with the terms of the Plan; provided,
however, that the foregoing shall not affect the liability that otherwise would result from any
such act or omission to the extent such act or omission is determined by a Final Order to have
constituted willful misconduct, gross negligence, intentional fraud, or criminal conduct of any
such Person.

          7.9.    Expenses of Disbursing Agent.

        Except as otherwise ordered by the Bankruptcy Court, any reasonable fees and expenses
incurred by the Disbursing Agent (including, without limitation, Taxes and reasonable attorneys’
fees and expenses) on or after the Effective Date shall be paid in Cash by the Estate in the
ordinary course of business, following approval of the Bankruptcy Court. Disbursements by the
Disbursing Agent shall be treated as disbursements by the Estate Representative for the purpose
of Section 6.1 of this Plan.

          7.10.   Delivery of Distributions.

        Subject to Bankruptcy Rule 9010, and except as provided in Section 5.14, all
distributions to any Holder of an Allowed Claim shall be made at the address of such Holder
(a) as set forth on the Schedules filed with the Bankruptcy Court, (b) on the books and records of
the Debtor, as applicable, unless the Debtor has been notified in writing of a change of address,
including, without limitation, by the filing of a Proof of Claim by such Holder that contains an
address for such Holder different than the address of such Holder as set forth on the Schedules,
or (c) as otherwise allowed under Section 4.5 of the CCAA Plan with respect to distributions to
Representative Counsel (as defined in the CCAA Plan) with respect to Claims in Classes 8 and 9.

          7.11.   Undeliverable and Unclaimed Distributions.

        In the event that any distribution to any Holder of an Allowed Claim is returned as
undeliverable, the Disbursing Agent shall use commercially reasonable efforts to determine the
current address of each Holder, but no distribution to such Holder shall be made unless and until
the Disbursing Agent has determined the then current address of such Holder; provided,
however, that all distributions under the Plan that are unclaimed for a period of six (6) months
after distribution thereof shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code and any entitlement of any Holder of any Claims to such distributions shall be
extinguished and forever barred. The Trustee and Disbursing Agent shall have no further
obligation to make any distribution to the Holder of such Claim on account of such Claim, and
any entitlement of any Holder of such Claim to any such distributions shall be extinguished and
forever barred; provided, however, that the Holder of such Claim may receive future
distributions on account of such Claim by contacting the Disbursing Agent at some point prior to
the final Distribution Date. For the avoidance of doubt, the Disbursing Agent shall not be
required to retain an outside investigator to determine the current address of any Holders of an
Allowed Claim whose distribution is returned as undeliverable.


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          7.12.   Distribution Record Date.

        As of the close of business on the Distribution Record Date, the claims register shall be
closed. The Disbursing Agent shall have no obligation to recognize any transfer of any such
Claims occurring after the close of business on the Distribution Record Date, and shall instead be
entitled to recognize and deal for all purposes under the Plan with only those Holders of record
as of the close of business on the Distribution Record Date.

          7.13.   Manner of Payment.

      At the option of the Disbursing Agent, any Cash payment to be made pursuant to the Plan
may be made by a check or wire transfer.

          7.14.   Currency.

       Where a Claim has been denominated in foreign currency on a Proof of Claim, the
Allowed amount of such Claim shall be calculated in currency of the United States of America
based upon the conversion rate in place as of the Petition Date and in accordance with section
502(b) of the Bankruptcy Code.

          7.15.   Minimum Cash Distributions.

        The Disbursing Agent shall not be required to make any Initial Distribution or semi-
annual distribution of Cash less than $100 to any Holder of an Allowed General Unsecured
Claim; provided, however, that if any distribution is not made pursuant to this Section 7.15, such
distribution shall be added to any subsequent distribution to be made on behalf of the Holder’s
Allowed General Unsecured Claim. The Disbursing Agent shall not be required to make any
final distribution of Cash less than $50 to any Holder of an Allowed General Unsecured Claim.
If either (a) all Allowed Claims (other than those whose distributions are deemed undeliverable
hereunder) have been paid in full or (b) the amount of any final distribution to any Holder of
Allowed General Unsecured Claims would be $50 or less, then no further distribution shall be
made by the Disbursing Agent and any surplus Cash remaining in the Estate shall be donated and
distributed to a charitable organization exempt from U.S. federal income tax under Section
501(c)(3) of the Internal Revenue Code selected by the Disbursing Agent.

          7.16.   Setoffs and Recoupment.

        The Disbursing Agent may, but shall not be required to, setoff against or recoup from any
Claim and from any payments to be made pursuant to the Plan in respect of such Claim any
claims of any nature whatsoever that the Trustee may have against the Claimant, but neither the
failure to do so nor the allowance of any Claim hereunder shall constitute a waiver or release by
the Trustee or the Disbursing Agent of any such claim it may have against such claimant.

          7.17.   Interest and Penalty on Claims.

        Unless otherwise provided in the Plan or the Confirmation Order, no Holder of a Claim
shall be entitled to interest accruing on or after the Petition Date or penalties on any Claim. Any



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such interest or penalty component of any such Claims, if Allowed, shall be paid only in
accordance with section 726(b) of the Bankruptcy Code.

          7.18.   No Distribution in Excess of Allowed Amounts.

        Notwithstanding anything to the contrary in the Plan, no Holder of an Allowed Claim
shall receive in respect of such Claim any distribution of a value as of the Effective Date in
excess of the Allowed Amount of such Claim, provided, however, that, notwithstanding any
limit created by this section 7.18, distributions to Class 12 Claims shall be made in accordance
with the Wrongful Death Claim Resolution Procedures, and provided, further, that nothing in this
Plan, the CCAA Plan, or any other document shall constitute a determination of the amount of
any claim or cause of action against any Person or entity that is not a Released Party or limit,
discharge or modify any rights of any Holder of a Claim or cause of action against any Person or
entity that is not a Released Party.

          7.19.   Allocation of Plan Distributions Between Principal and Interest.

        To the extent that any Allowed Claim entitled to a distribution under the Plan consists of
indebtedness and other amounts (such as accrued but unpaid interest thereon), such distribution
shall be allocated first to the principal amount of the Claim (as determined for United States
federal income tax purposes) and then, to the extent the distribution exceeds the principal amount
of the Claim, to such other amounts.

          7.20.   Procedures for Treating Disputed Claims Other Than Class 12 Claims.

               (a)    Estimation of Claims. The Estate Representative may at any time request
that the Bankruptcy Court estimate any Claim, other than a Class 12 Claim, pursuant to section
502(c) of the Bankruptcy Code. In the event that the Bankruptcy Court estimates any Disputed
Claim, the amount so estimated shall constitute either the Allowed amount of such Claim or a
maximum limitation on such Claim, as determined by the Bankruptcy Court. If the estimated
amount constitutes a maximum limitation on the amount of such Claim, the Estate
Representative may pursue supplementary proceedings to object to the allowance of such Claim.
All of the aforementioned objection, estimation and resolution procedures are intended to be
cumulative and not exclusive of one another. Claims may be estimated and subsequently
disallowed, reduced, compromised, settled, withdrawn or resolved by any mechanism approved
by the Bankruptcy Court.

                 (b)    Resolution of Disputed Claims. To the extent that a Disputed Claim is not
Allowed or becomes an Allowed Claim in an amount less than the amount of the Disputed Claim
set forth in the Proof of Claim, or as previously estimated by the Bankruptcy Court, the excess of
the amount of Cash that would have been distributed to the Holder of the Disputed Claim if the
Claim had been Allowed in full over the amount of Cash actually distributed on account of such
Disputed Claim shall be available Cash. Holders of Disputed Claims shall not be entitled to
interest if such Disputed Claim becomes an Allowed Claim.




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                                           ARTICLE 8

                 EXECUTORY CONTRACTS AND UNEXPIRED LEASES

          8.1.    Rejection of Executory Contracts and Unexpired Leases.

                 (a)     Pursuant to sections 365(a) and 1123(b)(2) of the Bankruptcy Code, all
executory contracts and unexpired leases that exist between the Debtor and any Person, except
for the WD Trust Agreement, the Settlement Agreements (including the insurance policy
rights and contractual rights, if any, assigned to the Trustee, MMA Canada and/or their
designee pursuant thereto) and insurance policies related to, or insurance agreements entered
into by the Debtor prior to the Petition Date (including, without limitation, any D&O
Insurance Policies) shall be deemed rejected by the Debtor as of immediately prior to the
Effective Date, except for any executory contract or unexpired lease (i) that has been assumed
and assigned or rejected pursuant to an order of the Bankruptcy Court entered prior to the
Effective Date, (ii) as to which a motion for approval of the assumption or assignment of such
executory contract or unexpired lease has been filed and served prior to the Confirmation Date,
or (iii) is otherwise provided for under Sections 8.2 or 8.3 of the Plan.

                (b)     Insurance Policies and Agreements. Except as set forth in the
Settlement Agreements, Section 5.2 of the Plan, or the Confirmation Order, insurance policies
issued to, or insurance agreements entered into by, the Debtor prior to the Petition Date
(including, without limitation, any D&O Insurance Policies covering directors’ or officers’
conduct) shall continue in effect after the Effective Date. To the extent that such insurance
policies or agreements (including, without limitation, any policies covering directors’ or officers’
conduct) are considered to be executory contracts, then, notwithstanding anything to the contrary
herein, this Plan shall constitute a motion to assume or ratify such insurance policies and
agreements, and, subject to the occurrence of the Effective Date, the entry of the Confirmation
Order shall constitute approval of such assumption pursuant to section 365(a) of the Bankruptcy
Code and a finding that each such assumption is in the best interests of the Debtor and its Estate.
Unless otherwise determined by the Bankruptcy Court pursuant to a Final Order or agreed to by
the parties thereto prior to the Effective Date, no payments shall be required to cure any defaults
of the Debtor existing as of the Confirmation Date with respect to each such insurance policy or
agreement. To the extent that the Bankruptcy Court determines otherwise as to any such
insurance policy or agreement, the Trustee reserves the right to seek the rejection of such
insurance policy or agreement or other available relief.

          8.2.    Approval of Rejection of Executory Contracts and Unexpired Leases.

        Entry of the Confirmation Order shall, subject to and upon the occurrence of the
Effective Date, constitute the approval, pursuant to sections 365(a), 1123(b)(2), and 1123(b)(6)
of the Bankruptcy Code, of the assumption, assignment, and/or rejection of the executory
contracts and unexpired leases treated pursuant to Section 8.1 of the Plan.




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          8.3.     Bar Date for Filing Proofs of Claim Relating to Executory Contracts and
                   Unexpired Leases Rejected Pursuant to the Plan.

        Proofs of Claim for damages arising out of the rejection of an executory contract or
unexpired lease pursuant to Section 8.1 of the Plan must be filed with the Bankruptcy Court and
served upon the Trustee or the Estate Representative, as the case may be, no later than thirty (30)
days after notice of the Effective Date. All such Proofs of Claim not filed within the time set
forth in this Section 8.3 shall be forever barred from assertion against the Debtor and its Estate or
its Assets.

           8.4.    Rejection Claims of Officers and Directors of the Debtor.Notwithstanding
section 8.1(a) of this Plan, in consideration for the releases and injunctions provided in this Plan
and the Settlement Agreements, (a) all contracts or agreements between the Debtor and the
former and current officers or directors of the Debtor, with the exception of the Settlement
Agreements and any agreements entered into in connection with the Settlement Agreements,
including the Affiliated Parties Settlement Agreement, are deemed rejected as of the Effective
Date, without the need for any further action by the Estate Representative and (b) the Claims of
such former and current officers or directors of the Debtor, if any, resulting from such rejection
are hereby deemed waived.

          8.5.     Benefit Plans.

       All employment and severance policies, workers’ compensation programs, and all
compensation, bonus and benefit plans, policies, programs, and arrangements of the Debtor
applicable to its present and former employees, officers and directors, including, without express
or implied limitation, all savings plans, cash and equity or equity-based incentive plans,
retirement plans, health care plans, disability plans, and life, accidental death, and
dismemberment insurance plans shall be deemed terminated immediately prior to the Effective
Date without any further action by the Bankruptcy Court or the Debtor.

          8.6.     Reservation of Rights.

       Nothing contained in the Plan or the Plan Supplement shall constitute an admission by
the Debtor that any contract or lease subject to this Article 8 is in fact an executory contract or
unexpired lease or that the Debtor has any liability thereunder.

                                            ARTICLE 9

                 CONDITIONS TO CONFIRMATION AND EFFECTIVENESS

          9.1.     Conditions to Confirmation.

       This Plan shall not be confirmed unless the Confirmation Order (a) is in a form and
substance satisfactory to the Trustee and is otherwise consistent and in accord with the
Settlement Agreements, and (b) approves and implements, among other things, (i) the Settlement
Agreements, to the extent any of the Settlement Agreements have not otherwise or previously
been approved by the Bankruptcy Court, and (ii) the Releases and Injunctions set forth in this
Plan. In addition, Confirmation of this Plan is conditioned upon the entry of the CCAA


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Approval Order and the Chapter 15 Recognition and Enforcement Order.               The foregoing
conditions to confirmation of this Plan are material and non-waivable.

          9.2.    Date of Effective Date.

       The Effective Date shall occur on the later of: (a) the first Business Day following fifteen
(15) days after the Confirmation Date, provided that a court of competent jurisdiction has not
entered a stay of the Confirmation Order as of such date (in which instance, the Effective Date
will not occur until such stay is dissolved); and (b) the first Business Day on which all other
conditions to the Effective Date have been satisfied.

          9.3.    Conditions to Effective Date.

       The Effective Date shall not occur until (a) all of the conditions set forth in Section 9.1
have occurred; (b) the CCAA Approval Order shall have been amended in order to incorporate
the judgment reduction provisions set forth in paragraphs 63 through 70 of the Confirmation
Order; (c) the CCAA Approval Order, as amended, shall have become a Final Order; (d) the
Chapter 15 Recognition and Enforcement Order shall be amended so that it applies to the CCAA
Approval Order as amended; (e) the Chapter 15 Recognition and Enforcement Order, as so
amended, shall have become a Final Order; (f) the District Court has entered the Confirmation
Order, pursuant to the filing of the same with such Court under Bankruptcy Rule 9033, or
otherwise; (g) the Confirmation Order has become a Final Order; (h) the conditions to
implementation of the CCAA Plan have been met; and (i) the Plan Implementation Date shall
have occurred.

          9.4.    Satisfaction of Conditions.

        Any actions required to be taken on the Effective Date shall take place and shall be
deemed to have occurred simultaneously, and no such action shall be deemed to have occurred
prior to the taking of any other such action.

          9.5. Occurrence of Effective DateThe Trustee shall cause the Effective Date to
occur as soon as is practicable.

          9.6.  Substantial Consummation Upon Effective DateOn the Effective Date, this
Plan will be deemed to be substantially consummated under the applicable sections of the
Bankruptcy Code.

                                            ARTICLE 10

                               EFFECT OF CONFIRMATION

          10.1.   Vesting of Assets.

        As of the Effective Date, the property of the Estate, other than Claims released pursuant
to Section 10.5 of this Plan, shall vest in the Post-Effective Date Estate or such other entity as
provided in this Plan.



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               (a)    From and after the Effective Date, the Estate Representative or WD
Trustee, as the case may be, may dispose of, or cause to be disposed of, the assets of the Post-
Effective Date Estate and the WD Trust, respectively, free of any restrictions of the Bankruptcy
Code, but in accordance with the provisions, as the case may be, of this Plan and the WD Trust
Documents.

              (b)    As of the Effective Date, all assets of the Post-Effective Date Estate and
the WD Trust shall be free and clear of all Claims, except as otherwise provided in this Plan or
the Confirmation Order.

          10.2.   Binding Effect.

        Except as otherwise provided in section 1141(d)(3) of the Bankruptcy Code, on and after
the Effective Date, the provisions of this Plan shall bind any Holder of a Claim against, or Equity
Interest in, the Debtor and its respective successors and assigns, all Holders of Derailment
Claims, whether or not the Claim or Equity Interest of such Holder is impaired under this Plan,
whether or not such Claim or Equity Interest has been filed or asserted against the Debtor and
whether or not such Holder has accepted this Plan, and all other Persons, including, without
limitation, any holders of a cause of action arising out of or related to the Derailment.

          10.3.   Exculpations and Limitation of Liability.

        As of the Effective Date, none of (a) the Trustee, (b) the Monitor, (c) MMA Canada, or
(d) the members, representatives, accountants, financial advisors, consultants and attorneys of
the entities described in (a) through (c) of this paragraph shall have or incur any liability to any
person for any act taken or omission in connection with or related to the Chapter 11 Case,
including but not limited to (i) formulating, preparing, disseminating, implementing, confirming,
consummating or administrating this Plan (including soliciting acceptances or rejections thereof),
(ii) the Disclosure Statement or any contract, release or other agreement or document entered
into or any action taken or omitted to be taken in connection with this Plan or the Disclosure
Statement, or (iii) any distributions made pursuant to this Plan, except for any acts determined by
Final Order to have constituted willful misconduct, bad faith or gross negligence.

          10.4.   Preservation and Non-Waiver of Estate Defenses and Objections and Related
                  Rights Reserved for the Debtor, its Successors in Interest, Creditors and
                  Parties in Interest.

                (a)     No Limitation on Defenses, Set-Off or Right to Subordination as to
Claims Against the Estate. Nothing in this Plan (other than the provisions of Sections 10.5 and
10.6 hereof), the Confirmation Order (other than the provisions therein corresponding to Sections
10.5 and 10.6 hereof), or the Settlement Agreements shall alter, enhance, waive, release or
otherwise impair or preclude any of the Estate’s defenses, rights to set-off and/or rights to
compel subordination as to any Claim or Administrative Expense Claim of any type asserted
against the Estate, as otherwise allowed by law, including the right to assert as a defense, set-off
or subordination, any claim that would ordinarily or otherwise have to be asserted in or brought
by a cross-claim, cross-complaint or separate action.




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                (b)     No Limitation on Right to Object to Claims or Administrative
Expense Claims. Nothing in this Plan (other than the provisions of Sections 10.5 and 10.6
hereof), the Confirmation Order (other than the provisions therein corresponding to Sections 10.5
and 10.6 hereof), or the Settlement Agreements shall alter, enhance, waive, release or otherwise
impair or preclude the right and ability of (i) the Estate Representative and all his or her
successors in interest to object to any Claim or Administrative Expense Claim or (ii) the WD
Trustee and all his or her successors in interest to object to any Class 12 Claim (collectively, the
“Permitted Objections”). The Permitted Objections may include, as part of any objection to any
Claim or Administrative Expense Claim, a prayer for denial or disallowance of Claim or
Administrative Expense Claim, reduction in amount by off-set, disgorgement of amounts
previously paid and/or equitable subordination, as otherwise allowed by law, on any ground that
could have been brought by way of lawsuit, adversary proceeding or contested matter but for
(i) the releases contained in the Settlement Agreements; (ii) the exculpation contained in section
10.3 of this Plan; (iii) the Releases and Injunctions contained in this Plan; and (iv) the
Confirmation Order. In addition, the makers of the Permitted Objections may utilize whatever
remedies and procedural vehicles are otherwise available under the law, including, if necessary,
an adversary proceeding. Objections to Claims shall be heard and determined by the Bankruptcy
Court.

         Nothing in this Plan (other than the provisions of sections 10.5 and 10.6 hereof), the
Confirmation Order (other than the provisions therein corresponding to Sections 10.5 and 10.6
hereof), or the Settlement Agreements shall alter, enhance, waive, release or otherwise impair or
preclude the right and ability of the Trustee or the Estate Representative, and all his successors in
interest, to object to any Claim either for the purpose of determining the holder of such Claim’s
eligibility to vote on this Plan or the amount of such Claim.

          10.5.   Releases.

               (a)      Settlement Agreement Releases Supplemented; No Impact on Rights
to Object. Except as expressly provided in this section 10.5 or sections 10.8 or 10.9, nothing in
this Section 10.5 or otherwise in this Plan or the Confirmation Order, shall affect, release or
otherwise limit the rights and duties of the parties to the Settlement Agreements to enforce or
comply with the provisions of the Settlement Agreements. The rights and duties of the parties
under the Settlement Agreements are set forth in and shall be governed by the Settlement
Agreements. The following releases shall be in addition to and are intended to supplement any
releases included in the Settlement Agreements as between the parties to such Settlement
Agreements. In the event of any inconsistency between this Plan or the Confirmation Order and
the Settlement Agreement(s), the terms of the Settlement Agreement(s) will apply with respect to
the particular parties thereto; provided, however, that all Settlement Agreements are subject to
Sections 10.5, 10.8 and 10.9 of the Plan. Except as expressly set forth in the Settlement
Agreements, nothing in this Plan or the Releases set forth herein shall affect any rights of the
Trustee or the Estate Representative to object to the allowance, amount, priority or secured status
of the Claims of any party receiving a release under this Plan as provided in sections 502, 503,
506, 507, 509 or 510 of the Bankruptcy Code, including with respect to any right of setoff or
recoupment, to the extent such Claims are not released, discharged or satisfied under any
Settlement Agreement, under this particular Plan, or pursuant to the Confirmation Order.
Nothing herein shall affect any limitation contained in any Settlement Agreement with respect to


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the release granted to any Released Party. Notwithstanding the definition of “Claim” in section
1.36 of the Plan, for the purposes of Article 10 of the Plan, including, without limitation, the
Releases and Injunctions, “Claim” or “Claims” means, as the context requires, past, present and
future claims, causes of action, obligations, rights, liens, suits, judgments, orders, application of
any kind including for judicial review, remedies, interests, actions, liabilities, demands, duties,
injuries, compensation, damages, expenses, fees, and/or costs of whatever kind or nature
(including attorney’s fees and expenses), whether foreseen or unforeseen, known or unknown,
asserted or unasserted, contingent or matured, liquidated or unliquidated, whether in tort,
contract, extra-contractual responsibility or otherwise, whether statutory, at common law, civil
law, public law or in equity, regardless of the legal theory, including but not limited to claims for
breach of contract, tort, breach of the implied covenant of good faith and fair dealing, loss of
support, loss of consortium, statutory or regulatory violations, for indemnity or contribution, for
any damages either moral, material, bodily injury, punitive, exemplary or extra-contractual
damages of any type, in any jurisdiction (i) in any way arising out of, based upon, or relating in
any way, in whole or in part, directly or indirectly, whether through a direct claim, cross-claim,
third-party claim, warranty claim, recursory claim, subrogation claim, forced intervention,
contribution claim, indemnity claim, reimbursement claim, class action or otherwise, (A) to the
Derailment, including any claims held or asserted by any Person for wrongful death, personal
injury, emotional distress, loss of support, loss of consortium, property damage, economic loss,
moral damage, material damage and bodily injury or environmental damage, remediation or
exposure or (B) to the XL Policies, including the issuance thereof, coverage, reimbursement, or
payment thereunder, and any act or omission of an insurer of any type for which a Holder of a
Claim might seek relief in connection therewith, or (ii) that would otherwise constitute a claim as
against MMA, MMA Canada or their Estates (A) provable in bankruptcy under the Bankruptcy
and Insolvency Act, R.S.C. 1985, c.B-3, had MMA Canada become bankrupt on August 6, 2013
and/or (B) within the definition of “claim” set forth in section 101(5) of the Bankruptcy Code.
Without limiting the foregoing, “Claim” or Claims” for purposes of this Article 10 of the Plan
includes all Claims in Classes 8, 9, 10, 11 and 12.

               (b)     Releases.

              (i)     Releases by the Debtor and Estate Representative(s). Subject in all
respects to the provisions of Sections 9.1 and 9.3 of this Plan and full performance under the
applicable Settlement Agreement(s) applicable to the particular Released Parties, on the
Effective Date, the Debtor, the Trustee, the Estate Representative(s) and the Estate shall
unconditionally release, and hereby are deemed to forever unconditionally release, the
Released Parties, including, without limitation, the Released Parties’ respective attorneys and
advisors (solely in their respective capacities as such), from any and all Derailment Claims,
Causes of Action, and all other Claims (including any Claims assigned by the Other Released
Parties to the Trustee, MMA Canada or their designee pursuant to a Settlement Agreement,
and including any Claims or Causes of Action for contribution, indemnity, reimbursement or
seeking the enforcement, attachment, collection, contribution or recovery of or from any
judgment, award, decree, or order against any one or more of the Other Released Parties or
property of any one or more of the Other Released Parties, or otherwise), debts, obligations,
demands, liabilities, suits, judgments, damages, rights, remedies and Post-Confirmation
Causes of Action, whatsoever (other than the right to enforce the obligations under this Plan,
the Settlement Agreements and the contracts, instruments, releases and other agreements and


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documents delivered thereunder), whether direct or indirect, liquidated or unliquidated, fixed
or contingent, matured or unmatured, known or unknown, whenever arising, in law, equity
or otherwise, that are based upon, arise from and/or are related to events and/or
circumstances that occurred or existed on or prior to the Effective Date relating in any way to
the Debtor, the Derailment, the Chapter 11 Case, this Plan, the Disclosure Statement, the
Estate, the XL Policies, and the Settlement Agreements; provided, however, and without
limiting any provision of the Affiliated Parties Settlement Agreement, including any provision
that limits, conditions or affects any release or injunction in favor of the Affiliated Released
Parties, this release shall not extend, and shall not be construed as extending to, any Claim
brought or that could be brought in the future by the Trustee, the Estate Representative or
MMA Canada against any of the Affiliated Released Parties to the extent there is, or may be,
coverage for such claims under the Great American Policy, and the assignment of rights
under such policies to the Estate, the Trustee or the Estate Representative shall not affect,
reduce, discharge or diminish such coverage, or provide a defense to any such insurer, or
trigger any exclusion under any such policy, including, without limitation, any insured vs.
insured exclusion.

             (ii)    Releases in Favor of the Estate and Estate Representative(s). Subject
in all respects to the provisions of Sections 9.1, 9.3, 10.8 and 10.9 of this Plan, and full
performance under the applicable Settlement Agreement(s), and subject to any express
limitations and/or obligations contained in each Released Party’s respective Settlement
Agreement, on the Effective Date, each of the Trustee, the Estate Representative(s), and the
Estate shall be forever and unconditionally released from any and all Claims, debts,
obligations, demands, liabilities, suits, judgments, damages, rights and causes of action,
whatsoever by the Released Parties and by all Persons or entities receiving consideration
under this Plan (other than the right to enforce the obligations under this Plan, the
Settlement Agreements and the contracts, instruments, releases and other agreements and
documents delivered thereunder), whether direct or indirect, liquidated or unliquidated,
fixed or contingent, matured or unmatured, known or unknown, whenever arising, in law,
equity or otherwise, that are based upon, arise from and/or are related to events and/or
circumstances that occurred or existed on or prior to the Effective Date, relating in any way
to the Debtor, including, without limitation, arising from the Derailment, the Chapter 11
Case, this Plan, the Disclosure Statement, any prepetition act or omission of the Debtor, the
Estate, the XL Policies and the Settlement Agreements; provided, however, that this release
shall not apply to any Claims arising in the ordinary course of business that are unrelated to
the Derailment and that are held by Affiliates of any Contributing Party (unless such Claims
are expressly released pursuant to any Settlement Agreement). For the avoidance of doubt,
the releases in this Section 10.5(b)(ii) do not extend to any breaches of the Settlement
Agreement(s).

             (iii) Releases by Affiliated Released Parties. Subject in all respects to the
provisions of Sections 9.1 and 9.3 of this Plan and the Affiliated Parties Settlement
Agreement, on the Effective Date, each of the Affiliated Released Parties shall
unconditionally release, and hereby are deemed to forever unconditionally release, each of
the Debtor, the Estate, the Trustee, the Estate Representative(s), the Creditors’ Committee,
the Creditors’ Committee members and the Other Released Parties, including, without
limitation, and the foregoing persons’ and entities’ respective attorneys and advisors (solely


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in their respective capacities as such) from any and all Claims (including any Claims or
Causes of Action for contribution, indemnity, reimbursement or seeking the enforcement,
attachment, collection, contribution or recovery of or from any judgment, award, decree, or
order against any one or more of the Other Released Parties or property of any one or more
of the Other Released Parties, or otherwise), debts, obligations, demands, liabilities, suits,
judgments, damages, rights, and causes of action, whatsoever, whether direct or indirect,
liquidated or unliquidated, fixed or contingent, matured or unmatured, known or unknown,
then existing or thereafter arising, in law, equity or otherwise that are based in whole or in
part upon any act or omission, transaction, transfer, event, or other occurrence taking place
on or prior to the Effective Date in any way relating to the Debtor, the Derailment, the
Chapter 11 Case, this Plan, the Disclosure Statement, the Estate, the negotiation or funding
of the Settlement Agreements; provided, however, that this release shall not apply to (A) any
Claims or rights, under the Great American Policy, assigned by the Affiliated Released
Parties to the Debtor or to the Trustee pursuant to the Affiliated Parties Settlement
Agreement, (B) any right to enforce the obligations under the Plan, the Settlement
Agreements, and the contracts, instruments, releases and other agreements and documents
delivered thereunder, provided, however, that such assigned Claims or rights will not be
asserted against Other Released Parties, or (C) any Claims or rights of any of the Rail World
Parties and/or the D&O Parties (as defined in the CCAA Plan) to seek recovery from their
insurers, including Hartford and the XL Companies, for any attorneys’ fees, expenses or
costs incurred prior to the Effective Date.

              (iv)   Releases in Favor of Affiliated Released Parties. Subject in all respects
to the provisions of Sections 9.1, 9.3, 10.8 and 10.9 of this Plan and full performance under
the Affiliated Parties Settlement Agreement, on the Effective Date, all persons and entities
shall unconditionally release, and are hereby deemed to forever unconditionally release the
Affiliated Released Parties, including, without limitation, the foregoing persons’ and
entities’ respective attorneys and advisors (solely in their respective capacities as such),
from any and all Derailment Claims, Causes of Action, and all other Claims, debts,
obligations, demands, liabilities, suits, judgments, damages, rights, remedies and causes of
action, whatsoever, whether direct or indirect, liquidated or unliquidated, fixed or
contingent, matured or unmatured, known or unknown, whenever arising, in law, equity or
otherwise, that are based upon, arise from and/or are related to events and/or circumstances
that occurred or existed on or prior to the Effective Date relating in any way to the
Derailment, the Debtor, the Chapter 11 Case, this Plan, the Disclosure Statement, the
Estate, and the negotiation or funding of the Settlement Agreements; provided, however, and
without limiting any provision of the Affiliated Parties Settlement Agreement, including any
provision that limits, conditions or affects any release or injunction in favor of the Affiliated
Released Parties, this release shall not extend, and shall not be construed as extending to,
any Claim brought or that could be brought in the future by the Trustee, the Estate
Representative, MMA Canada or the Holders of Derailment Wrongful Death Claims (as
applicable pursuant to the Affiliated Parties Settlement Agreement) against any of the
Affiliated Released Parties (or certain of them, as applicable) to the extent there is, or may
be, coverage for such claims under the Great American Policy, and the assignment of rights
under such policy to the Estate, the Trustee or the Estate Representative shall not affect,
reduce, discharge or diminish such coverage, or provide a defense to any such insurer, or
trigger any exclusion under any such policy, including, without limitation, any insured vs.


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insured exclusion.

               (v)    Releases by Other Released Parties. Subject in all respects to the
provisions of Sections 9.1, 9.3, 10.5(b)(ii), 10.8 and 10.9 of this Plan and full performance
under the Settlement Agreement(s) applicable to the particular Released Parties, on the
Effective Date, each Other Released Party and all other Released Parties shall
unconditionally release, and hereby are deemed to forever unconditionally release, each of
the Debtor, the Estate, the Trustee, the Estate Representative(s), the Creditors’ Committee,
the Creditors’ Committee members, the Affiliated Released Parties, each additional Other
Released Party, and the foregoing Persons’ and entities’ respective attorneys and advisors
(solely in their respective capacities as such) from any and all Derailment Claims and all
other Claims (including any Claims or Causes of Action for contribution, indemnity,
warranty, forced intervention, or seeking the enforcement, attachment, collection,
contribution, indemnity, reimbursement or recovery of or from any judgment, award, decree,
or order against any one or more of the Other Released Parties or property of any one or
more of the Other Released Parties, or otherwise), debts, obligations, demands, liabilities,
suits, judgments, damages, rights, remedies and causes of action, whatsoever, whether direct
or indirect, liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
unknown, whenever arising, in law, equity or otherwise, that are based upon, arise from
and/or are related to events and/or circumstances that occurred or existed on or prior to the
Effective Date, relating in any way to the Derailment, the Debtor, the Chapter 11 Case, this
Plan, the Disclosure Statement, the Estate, and the Settlement Agreements, including,
without limitation, the Trustee’s or the Trustee’s counsel’s negotiation of the Settlement
Agreements or the funding of the Settlement Agreements; provided, however, that this
release shall not apply to any Claims of Canada against MMA Canada, nor shall it apply to
any Claims assigned by the Other Released Parties to the Trustee, MMA Canada or their
designee pursuant to a Settlement Agreement (other than any Claims against any Other
Released Parties), nor shall it apply to the right to enforce the rights and obligations under
the Plan, the Settlement Agreements, and the contracts, instruments, releases and other
agreements and documents delivered thereunder in their favor nor shall it apply or be
construed as applying to any Claims or claims or other rights to the extent preserved by any
of the Other Released Parties in their respective Settlement Agreement(s) (other than any
Claims against any Other Released Parties); provided further, however, that
notwithstanding anything to the contrary in this Plan, this release shall not apply to any
claims or Claims that the Irving Parties (as defined in their Settlement Agreement) have or
may have against one or more of their insurers; provided further, however, that this release
shall not apply to any Claims arising in the ordinary course of business that are unrelated to
the Derailment and that are held by Affiliates of any of the Contributing Parties. For the
avoidance of doubt, the releases in this Section 10.5(b)(v) do not extend to any breaches of
the Settlement Agreement(s).

               (vi) Releases in Favor of Other Released Parties. Subject in all respects to
the provisions of Sections 9.1, 9.3, 10.8 and 10.9 of this Plan and full performance under the
Settlement Agreement(s) applicable to the particular Other Released Parties, on the Effective
Date, all Persons and entities shall unconditionally release, and hereby are deemed to
forever unconditionally release each of the Other Released Parties, including without
limitation, the Other Released Parties’ respective attorneys and advisors (solely in their


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 respective capacities as such), from any and all Derailment Claims, Causes of Action, and
 all other Claims (including any claims or Causes of Action for contribution, indemnity,
 warranty, forced intervention, or seeking the enforcement, attachment, collection,
 contribution, reimbursement or recovery of or from any judgment, award, decree, or order
 against any one or more of the Other Released Parties or property of any one or more of the
 Other Released Parties, or otherwise), debts, obligations, demands, liabilities, suits,
 judgments, damages, rights (including any right of setoff, subrogation, contribution,
 indemnity, reimbursement or recoupment of any kind), remedies and causes of action,
 whatsoever, whether direct or indirect, liquidated or unliquidated, fixed or contingent,
 matured or unmatured, known or unknown, whenever arising, in law, equity or otherwise
 that are based upon, arise from and /or are related to events and/or circumstances that
 occurred or existed on or prior to the Effective Date, relating in any way to the Derailment,
 the Debtor, the Chapter 11 Case, this Plan, the Disclosure Statement, the Estate, and the
 Settlement Agreements, including, without limitation, the Released Parties and the Released
 Parties’ counsel’s negotiation of the Settlement Agreements or the funding of the Settlement
 Agreements; provided, however, that this release shall not in any way limit the right of the
 Estate Representative to enforce the rights and obligations under the Plan, the Settlement
 Agreements, and the contracts, instruments, releases and other agreements and documents
 delivered thereunder in the Estate’s favor, nor shall it apply or be construed as applying to
 any Claims or other rights to the extent preserved by any of the Other Released Parties in
 their respective Settlement Agreement(s) (other than any Claims against any Other Released
 Parties, including, without limitation, Canada), provided further, however, that
 notwithstanding anything to the contrary in this Plan, this release shall not apply to any
 claims or Claims that the Irving Parties (as defined in their Settlement Agreement) have or
 may have against any one or more of their insurers. For the avoidance of doubt, and
 notwithstanding anything in this Plan to the contrary, the releases in this Section 10.5(b)(vi)
 do not extend to any breaches of the Settlement Agreement(s).

         10.6.   Injunctions.

               (a)   No Impact on the Rights of the Parties to the Settlement Agreements.
Nothing in this Section 10.6 or otherwise in this Plan or the Confirmation Order shall
affect, release or otherwise limit the rights and duties of the parties to the Settlement
Agreements to enforce or comply with the provisions of their respective Settlement
Agreements. The rights and duties of the parties under the Settlement Agreements are set
forth in and shall be governed by the Settlement Agreements; provided, however, that no
Settlement Agreement may restrain or limit the effect or scope of the releases set forth in
Section 10.5 as to any Released Party without the express written consent of such Released
Party.

              (b)    Injunctions.

              (i)   Injunction in Favor of the Debtor and Estate Representative(s).
Except as to the rights, claims or Claims created or expressly preserved by this Plan, the
CCAA Plan, the Settlement Agreements, and the Confirmation Order, upon the Effective
Date, the Debtor, the Trustee, and the Estate Representative(s) shall have and be entitled
to an injunction forever barring and enjoining all Persons and/or entities from asserting


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against the Debtor any past, present and future rights, interests, obligations, claims, causes
of action, damages (including punitive damages), demands (including demands for
contribution, indemnity or otherwise), liabilities, expenses, fees (including, but not limited
to, attorneys’ fees, expert fees, consulting fees and other professional fees) and costs of any
kind or any type whatsoever, whether known or unknown, whether foreseen or unforeseen,
whether direct or indirect, contingent or actual, whether liquidated or unliquidated,
whether statutory or common law, whether asserted or unasserted and whether based on
contract, negligence, bad faith, willful, wanton or malicious conduct, or any other theory in
law or equity concerning, arising from or relating to any actual or alleged past, present or
future act, omission, defect, incident, event or circumstance from the beginning of the
world to the Effective Date, in any way relating to or in connection with (A) the Debtor, (B)
the Derailment or (C) the Estate, the Chapter 11 Case, this Plan, the Disclosure Statement,
the Settlement Agreements and/or the XL Policies, except with regard to any claims and
rights expressly reserved pursuant to Sections 10.3 and 10.5 above.

               (ii) Injunction in Favor of Affiliated Released Parties. Except as to the
rights, claims or Claims created or expressly preserved by this Plan, the CCAA Plan, the
Affiliated Parties Settlement Agreement, and the Confirmation Order, upon the Effective
Date, all Persons and entities, including, without limitation, all Holders of Derailment
Claims and Non-Settling Defendants, shall be, and are hereby deemed to be, permanently
barred, enjoined, and restrained from commencing, prosecuting, continuing or asserting
against the Affiliated Released Parties any and all Derailment Claims, Causes of Action
and all other Claims, including, without limitation, any and all past, present and future
rights, interests, obligations, damages (including punitive damages), demands (including
demands for contribution, indemnity, reimbursement or otherwise), liabilities, expenses,
fees (including, but not limited to, attorneys’ fees, expert fees, consulting fees and other
professional fees) and costs of any kind or any type whatsoever, whether known or
unknown, whether foreseen or unforeseen, whether contingent or actual, whether direct or
indirect, liquidated or unliquidated, whether statutory or common law, whether asserted or
unasserted and whether based on tort, contract, negligence, bad faith, willful, wanton or
malicious conduct, or any other theory in law or equity concerning, arising from or relating
to any actual or alleged past, present or future act, omission, defect, incident, event or
circumstance from the beginning of the world to the Effective Date, in any way relating to
or in connection with (A) the Debtor; (B) the Derailment, or (C) the Estate, (D) the Chapter
11 Case, (E) the Plan, (F) the Disclosure Statement, (G) the Settlement Agreements and/or
(H) the XL Policies, provided, however, and without limiting any provision of the Affiliated
Parties Settlement Agreement, including any provision that limits, conditions or affects any
release or injunction in favor of the Affiliated Released Parties, this injunction shall not
extend, and shall not be construed as extending to, any Claim brought or that could be
brought in the future by the Trustee, the Estate Representative, MMA Canada or the
Holders of Derailment Wrongful Death Claims (as applicable pursuant to the Affiliated
Parties Settlement Agreement) against the Affiliated Released Parties (or certain of them,
as applicable) to the extent there is, or may be, coverage for such claims under the Great
American Policy, and the assignment of rights under such policy to the Estate, the Trustee
or the Estate Representative shall not affect, reduce, discharge or diminish such coverage
or provide a defense to any such insurer, or trigger any exclusion under any such policy,
including, without limitation, any insured vs. insured exclusion.


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               (iii) Injunction in Favor of the Other Released Parties. Except as to the
rights and claims created or expressly preserved by this Plan, the CCAA Plan, the
Settlement Agreements (provided that there are no preserved claims (or Claims) against
Other Released Parties except as provided for in Exhibit 2), and the Confirmation Order,
upon the Effective Date, all Persons and entities, including, without limitation, all Holders
of Derailment Claims, Released Parties and other Persons, shall be, and are hereby deemed
to be, permanently barred, enjoined, and restrained from commencing, pursuing,
prosecuting, continuing or asserting against the Other Released Parties, any and all
Derailment Claims, Causes of Action and all other Claims, including, without limitation,
Claims or Causes of Action for any and all past, present and future rights (including any
right of setoff, subrogation, contribution, indemnity, reimbursement or recoupment of any
kind), interests (including creating, perfecting or enforcing any encumbrance of any kind
against any one or more of the Other Released Parties), obligations, damages (including
actual and/or punitive damages), demands (including any Claims or Causes of Action for
contribution, indemnity, reimbursement, warranty, forced intervention, or seeking the
enforcement, attachment, collection, contribution or recovery of or from any judgment,
award, decree, or order against any one or more of the Other Released Parties or property
of any one or more of the Other Released Parties, or otherwise), liabilities, expenses, fees
(including, but not limited to, attorneys’ fees, expert fees, consulting fees and other
professional fees), and costs of any kind or any type whatsoever, whether known or
unknown, whether foreseen or unforeseen, whether contingent or actual, whether direct or
indirect, liquidated or unliquidated, whether statutory or common law, whether asserted or
unasserted and whether based on tort, contract, negligence, warranty, bad faith, willful,
wanton or malicious conduct, or any other theory in law or equity concerning, arising from
or relating to any actual or alleged past, present or future act, omission, defect, incident,
event or circumstance, including, without limitation, all Claims released pursuant to
Section 10.5, whenever arising, that are based upon, arise from and/or are related to events
and/or circumstances that occurred or existed on or prior to the Effective Date in any way
relating to or in connection with (A) the Debtor; (B) the Derailment, (C) the Estate, (D) the
Chapter 11 Case, (E) the Plan, (F) the Disclosure Statement, (G) the Settlement
Agreements and/or (H) the XL Policies (as to which, in the event of an inconsistency with
the Plan, the XL Settlement Agreement will govern).

          10.7.   Terms of Pre-Plan Injunction and Stays.

        Unless otherwise provided in this Plan, the Confirmation Order or a separate order of the
Bankruptcy Court, all injunctions or stays arising under or entered during the Chapter 11 Case
under section 105 or 362 of the Bankruptcy Code, entered in the Transferred WD Cases, or
otherwise arising under applicable law in any court order and in existence on the Confirmation
Date, shall remain in full force and effect until the later of the Effective Date and the date
indicated in such applicable order, provided, however, that to the extent against any remaining
defendant that is not a Released Party as of the Effective Date, the Trustee will cooperate with
the plaintiffs in the Transferred WD Cases in seeking a transfer of such cases to the forum
selected by such plaintiffs, and will cooperate in seeking from the District Court, in the order
transferring such cases, a finding that the Settlement Agreements and transactions with Released
Parties approved and implemented pursuant to this Plan were entered into in good faith pursuant
to and in accordance with 740 ILCS 100/2(c).


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          10.8.   Canadian Criminal Charges and Related Claims of Canada.

       Notwithstanding anything to the contrary in this Plan, the Confirmation Order, or in any
Settlement Agreement:

                (a)     Nothing in this Plan shall release or provide an injunction to the benefit of
any Person for fraud or criminal and quasi-criminal charges filed or that may be filed by Canada
and, for greater certainty, for any fine or penalty arising from any such charges;

               (b)    Nothing in this Plan shall bind or in any way limit the Director of Public
Prosecutions of Canada acting pursuant to the Act respecting the Office of the Director of Public
Prosecutions, S.C. 2006, c.9 § 121, as has been or may be amended or superseded;

              (c)     Except for the terms and conditions of the Settlement Agreement entered
into by Canada, no Settlement Agreement shall be binding upon Canada; and

              (d)    Except with respect to entry of the Confirmation Order as may be entered
with the assent of Canada, nothing in this Plan shall be construed as a waiver by Canada of
sovereign immunity or as an attornment by Canada to any court of any jurisdiction outside
Canada.

          10.9.   Claims of the United States of America

         Notwithstanding any provision in this Plan or the Confirmation Order, as to the United
States of America, its agencies, departments or agents (collectively, the “United States”), nothing
in this Plan or Confirmation Order shall discharge, release, or otherwise preclude: (1) any
liability of the Debtor to the United States arising on or after the Effective Date; (2) any liability
of the Debtor to the United States that is not a "claim" within the meaning of section 101(5) of
the Bankruptcy Code; (3) any valid defense of setoff against the Debtor or right of recoupment
from the Debtor held by the United States with respect to a Claim; or (4) the United States from,
subsequent to the Confirmation Date, pursuing any police or regulatory action against the
Debtor. As to the United States, nothing in this Plan or the Confirmation Order shall limit or
expand the scope of the discharge granted to the Debtor pursuant to section 1141(d) of the
Bankruptcy Code.

        Further, as for Derailment Claims, if any, held by the United States, nothing in either the
Confirmation Order or the Plan shall exculpate or release any Person for criminal charges
brought by the United States, nor shall anything in the Confirmation Order or Plan enjoin the
United States from bringing any claim, suit, action or other proceeding against any such Person
for such charges under such criminal laws. Moreover, nothing in either the Confirmation Order
or this Plan shall exculpate or release any Person from liability to the United States unrelated to
the Derailment, nor shall anything in the Confirmation Order or Plan enjoin the United States
from bringing any claim, suit, action or other proceeding against any Person for such liability
unrelated to the Derailment.

          10.10. Barred Persons and Barred Claims.

       Without limiting the Releases and Injunctions set forth above, all (i) Non-Settling


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Defendants; (ii) Released Parties; (iii) Persons who have voted for or against the Plan or who are
presumed to have voted for or against the Plan under section 1126(f)-(g) of the Bankruptcy
Code; and (iv) any other Persons that hold, have held or may hold a Claim (including a
Derailment Claim) or Cause of Action, including, without limitation, Canadian Pacific Railway
Company and any parent, affiliate or subsidiary thereof (collectively, the “Barred Persons”), are
hereby permanently barred, enjoined and restrained from commencing, continuing, prosecuting,
or asserting in this Court, in any federal or state court, or in any other court, arbitration
proceeding, administrative agency, or other forum in the United States or elsewhere (each such
venue, a “Trial Court”), any Claim (including a Derailment Claim) or Cause of Action against
any of the Released Parties, including, without limitation, any personal injury, property damage,
wrongful death, indemnity, contribution, reimbursement or subrogation claim, whether based
upon a contract or otherwise, against any Released Party (including, without limitation, any
claim against the Released Parties, whether or not denominated as for indemnity, contribution,
reimbursement, or subrogation) arising out of or related in any way to the Derailment or to the
claims released pursuant to the Releases, whether arising under state, federal or foreign law as
claims, cross-claims, counterclaims, or third-party claims (collectively, the “Barred Claims”).
This section 10.10 is without prejudice to the position of any party as to the existence, in the
absence of this section 10.10, of any Barred Claim.

        In the event that any Person asserts any Claim (including any Derailment Claim), Cause
of Action, or any other claim, obligation, suit, judgment, damage, debt, right, remedy, cause of
action, avoidance power or right, liability of any nature whatsoever, or legal or equitable remedy
against any Person arising from or related to the Derailment, regardless of whether such claim,
cause of action, right, or legal or equitable remedy may be asserted pursuant to the Bankruptcy
Code or any other applicable law or contract, including, without limitation, any claim for
personal injury, property damage, wrongful death, indemnity (including contractual indemnity),
contribution, reimbursement or subrogation relating in any way to the Derailment (collectively,
the “Derailment-Related Causes of Action”) and which results in a determination by a Trial
Court (including, without limitation, by a jury impaneled by such Trial Court) that a Barred
Person who is a Non-Settling Defendant is liable in damages (the “Initial Damages
Determination”) to a Person, including, without limitation, a Holder of a Derailment Claim,
asserting a Derailment-Related Cause of Action against such Non-Settling Defendant (a
“Plaintiff'”), then, prior to final entry of any judgment, order or arbitration award with respect to
such Initial Damages Determination in such Derailment-Related Cause of Action, the Plaintiff
shall provide notice and a copy of the Confirmation Order to the Trial Court. In such case, for
purposes of the Contribution/Indemnity Credit described below, such Trial Court (including,
without limitation, a jury impaneled by such Trial Court) shall determine whether the
Derailment-Related Cause of Action gives rise to Barred Claims on which any Released Party
would have been liable to the Barred Persons in the absence of this section 10.10 or the
Confirmation Order. Notwithstanding any finding referred to in section 10.7, the Trial Court,
prior to final entry or final award of any verdict, judgment, order or arbitration award (the
“Judgment”), shall determine any such Judgment against such Barred Person by reducing the
Initial Damages Determination by an amount equal to the "Judgment Reduction Amount," which
shall equal the greatest of:

               (i)     The “Settlement Credit,” which shall be an available alternative regardless
                       of whether the Trial Court determines that there is any liability on the part


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                   of any Released Parties and shall mean the Distribution received or to be
                   received by such Plaintiff pursuant to the Plan or the CCAA Plan,
                   including by way of payment by the WD Trust (the “Distribution”);
                   provided, however, that the Settlement Credit shall be limited to the
                   amount of the Distribution received or to be received by the Plaintiff with
                   respect to the type of Derailment Claim asserted by Plaintiff against the
                   Barred Person, so that, for example, the Barred Person shall not receive a
                   Settlement Credit for Distributions received by Plaintiff for a personal
                   injury claim if the claim against the Barred Person is for property damage;

          (ii)     The “Insurance Credit,” which shall mean the amount of coverage, if any,
                   the Trial Court determines would have been recoverable to such Barred
                   Person under any insurance policies owned by the Debtor or MMA
                   Canada on account of such Plaintiff's Claim or Cause of Action but for the
                   operation of this section 10.10 and the Confirmation Order; or

          (iii)    The “Contribution/Indemnity Credit,” which shall mean, in the event the
                   Trial Court determines that the Barred Person could establish a valid
                   indemnity or contribution claim against a Released Party but for the
                   operation of this section 10.10 and the Confirmation Order, an amount
                   equal to the value, as determined by the Trial Court, of all contribution or
                   indemnification claims (whether equitable or contractual), if any, that the
                   Trial Court determines such Barred Person would be entitled to as against
                   one or more Released Parties but for operation of the Order, which shall
                   be equal to the aggregate proportionate shares of liability, if any, of the
                   Released Parties, plus the contractual indemnification for which the
                   Barred Person would, in the absence of this section 10.10 and the
                   Confirmation Order, be entitled to recover, as determined by the Trial
                   Court at the time of entry of any judgment against any Barred Person,
                   provided however, that any Contribution/Indemnity Credit with respect to
                   the Debtor and/or MMA Canada, shall be allocated among the Plaintiff,
                   the Barred Person and/or Released Parties other than the Debtor and/or
                   MMA Canada determined to be liable, in whole or in part, by the Trial
                   Court, such allocation (a) to the extent the Trial Court is located in the
                   United States, shall be in accordance with the holding in, and
                   methodology adopted by, Austin v. Raymark Indus., 841 F.2d 1184 (1st
                   Cir. 1988) (“Austin”); or (b) to the extent the Trial Court is in Canada,
                   shall be in accordance with applicable provincial law (provided, however,
                   that such reference to Austin and/or such provincial law shall govern only
                   with respect to the allocation of the proportionate liability of the Debtor
                   and/or MMA Canada, and shall have no effect on the scope of the
                   Contribution/Indemnity Credit (including, without limitation, that it
                   extends to claims for contractual indemnity, if any). Without limiting the
                   foregoing, if a Barred Person holds both contribution and indemnity
                   claims against the same Released Party, the value of such claims shall not
                   be combined to determine the amount of the Contribution/Indemnity
                   Credit unless such Barred Person could simultaneously recover, in the


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                      absence of this section 10.10 and the Confirmation Order, under both such
                      contribution and indemnity claims as a matter of law. Notwithstanding the
                      foregoing, nothing in this provision is intended to dictate the procedure in
                      the Trial Court for determination of the Judgment Reduction Amount
                      pursuant to and consistent with this provision, provided, however, in cases
                      tried in the United States, the trial judge (or equivalent arbitrator, tribunal
                      or panel) shall in the first instance determine the allocation of the
                      proportionate liability of the Debtor and/or MMA Canada in accordance
                      with Austin.

       For the avoidance of doubt, and notwithstanding anything to the contrary, nothing in this
section 10.10 shall in any way modify or affect the Releases and/or Injunctions in favor the
Released Parties as set forth in Article 10, and nothing set forth herein shall be interpreted as
providing that any Released Parties have any liability to any Person for any Claims (including
Derailment Claims) or Causes of Action. Furthermore, after the Confirmation Order becomes a
Final Order, the Trustee shall to use his best efforts to ensure that any Claims (including
Derailment Claims) or Causes of Action against any Released Parties are promptly dismissed
with prejudice.

         Nothing herein shall prejudice or operate to preclude the right of any Non-Settling
Defendant to (a) provide notice of the Confirmation Order to any Trial Court hearing a
Derailment-Related Cause of Action at any point, (b) raise any issues, claims or defenses
regarding the Judgment Reduction Amount, including, without limitation, the contractual
liability and/or relative or comparative fault of any Person, including any Released Party, in any
court or tribunal hearing any Derailment-Related Cause of Action in accordance with applicable
law or procedure; or (c) take discovery of Released Parties in accordance with applicable law or
procedure; provided, however, that nothing herein shall in any way modify or affect the Releases
or Injunctions in favor of the Released Parties as set forth in Article 10. For the avoidance of
doubt, nothing herein shall (x) be deemed to entitle a Plaintiff to more than a single satisfaction
with respect to any Derailment-Related Cause of Action or (y) prejudice or operate to preclude
the rights of any Barred Person to assert any claims or causes of action that have not been
released, enjoined, or discharged under the Plan or the Confirmation Order.

        The judgment reduction and related provisions in paragraphs 63 and 64 of the
Confirmation Order are the bases upon which CP has agreed to withdraw, with prejudice, its
objections to the Plan and to dismiss, with prejudice, its appeal of the Chapter 15 Recognition
and Enforcement Order entered by this Court on August 26, 2015, as well as to withdraw, with
prejudice, its pleading seeking leave to appeal the CCAA Approval Order. Accordingly, to the
extent there is any inconsistency between the judgment reduction and related provisions of
paragraphs 63 and 64 of the Confirmation Order, on the one hand, and the Plan or other
provisions of the Confirmation Order, on the other, paragraphs 63 and 64 of the Confirmation
Order shall govern as to judgment reduction; provided further that nothing in this section 10.10
or paragraphs 63 and 64 of the Confirmation Order shall be deemed or construed to limit, modify
or affect the Releases or Injunctions.

       If any Plaintiff enters into a settlement with any Person with respect to one or more
causes of action based upon, arising from, or related to the Barred Claims or any transaction


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underlying any Barred Claim, then such Plaintiff shall cause to be included, and in all events, the
settlement shall be deemed to include, a dismissal, release and waiver of any Barred Claims with
respect to such settlement.

        Each Plaintiff is enjoined and restrained from seeking relief or collecting judgments
against any Non-Settling Defendant in any manner that fails to conform to the terms of this
section 10.10 and the Confirmation Order, including, without limitation, the Judgment Reduction
Amount provision set forth in this section 10.10 and paragraph 64 of the Confirmation Order.

        This Court shall retain jurisdiction with respect to all matters concerning the
Confirmation Order, including, without limitation, hearing a petition for relief by a Barred
Person or any other party in interest in the event that a court or tribunal hearing the Derailment-
Related Cause of Action fails to apply the judgment reduction provisions of this section 10.10
and the Confirmation Order. However, to the extent that any of the Released Parties have made
or make any oral or written submissions in support of the Confirmation Order, those Released
Parties shall not be considered to have submitted to personal jurisdiction in this Court based
upon such submissions.

                                          ARTICLE 11

                              RETENTION OF JURISDICTION

          11.1.   Jurisdiction of Bankruptcy Court.

        Except as otherwise explicitly set forth in this Plan or the WD Trust Agreement as to
those matters which are to be considered and determined by the District Court pursuant to an
order withdrawing the reference as to those matters, or which are to be considered by a state
court or the CCAA Court under any specific provision of this Plan, the Bankruptcy Court shall
retain original and exclusive jurisdiction of matters arising under, and subject to any limitations
contained in any Settlement Agreements, arising out of or related to the Chapter 11 Case and this
Plan pursuant to, and for the purposes of, sections 105(a) and 1142 of the Bankruptcy Code and
for all matters, to the maximum extent permitted by law, including for, among other things, the
following purposes:

               (a)    To determine any motion, adversary proceeding, application, contested
matter and other litigated matter pending on or commenced after the Confirmation Date,
including, without limitation, any proceeding relating to any Post-Confirmation Cause of Action,
and any proceeding to implement and enforce the Releases and Injunctions;

                (b)     To consider Disputed Claims, including objections, allowance,
classification, priority, compromise, estimation or payment of any Claim, including Class 12
Claims at the request of the WD Trustee;

                (c)     To hear and determine all applications under sections 330, 331 and 503(b)
of the Bankruptcy Code for allowance and payment of Administrative Expense Claims,
including awards of compensation for services rendered and reimbursement of expenses incurred
prior to the Effective Date;



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              (d)    To enter, implement, or enforce such orders as may be appropriate in the
event the Confirmation Order is for any reason stayed, reversed, revoked, modified or vacated;

              (e)   To issue injunctions, enter and implement other orders and take such other
actions as may be necessary or appropriate to restrain interference by any person with the
consummation, implementation, or enforcement of this Plan, the Releases, the Injunctions, the
Settlement Agreements, the Confirmation Order or any other order of the Bankruptcy Court;

              (f)      To hear and determine any application to modify this Plan in accordance
with section 1127 of the Bankruptcy Code, to remedy any defect or omission or reconcile any
inconsistency in this Plan, the Disclosure Statement, or any order of the Bankruptcy Court,
including the Confirmation Order, in such a manner as may be necessary to carry out the
purposes and effects thereof;

                (g)   To hear and determine disputes arising in connection with the
interpretation, implementation, or enforcement of this Plan, the Confirmation Order, the
Settlement Agreements, any transactions or payments contemplated by any of the foregoing, or
any agreement or other document governing or relating to any of the foregoing;

              (h)    To take any action and issue such orders as may be necessary to construe,
enforce, implement, execute and consummate this Plan or to maintain the integrity of this Plan
following consummation;

               (i)    To recover all assets of the Debtor and property of the Estate, wherever
located;

               (j)    To determine such other matters and for such other purposes as may be
provided in the Confirmation Order;

               (k)     To hear and determine matters concerning state, local and federal taxes in
accordance with sections 346, 505 and 1146 of the Bankruptcy Code (including, without
limitation, matters with respect to any taxes payable by a trust established in furtherance of this
Plan, including the WD Trust);

               (l)     To hear and determine any other matters related to this Plan, the
Disclosure Statement, the Confirmation Order, the Post-Confirmation Causes of Action, the WD
Trust Agreement and related documents and not inconsistent with the Bankruptcy Code and title
28 of the United States Code; and

               (m)    To enter a final decree closing the Chapter 11 Case;

provided, however¸ that nothing in this Section 11.1 shall, or shall be deemed to, impair any
consent to non-exclusive jurisdiction or any venue provision set forth in any Settlement
Agreement, or to affect any other limitations set forth therein.




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                                          ARTICLE 12

                              MISCELLANEOUS PROVISIONS

          12.1.   Withdrawal of the Reference.

        The rights of the Trustee, the Estate Representative, or the WD Trustee to move, pursuant
to 28 U.S.C § 157(d) and Bankruptcy Rule 5011 for a withdrawal of the reference to the
Bankruptcy Court of those matters under this Plan or the WD Trust Agreement which are to be
considered and determined by the District Court, or which the Trustee or Estate Representative
determines, in his sole discretion, require consideration by the District Court, shall be and hereby
are expressly preserved, and such motion may be made at any time subsequent to the filing of
this Plan.

          12.2.   Dissolution of the Creditors’ Committee.

         Unless earlier disbanded by an order of the Bankruptcy Court, the Creditors’ Committee
shall dissolve on the Effective Date; provided, however, that (a) the Creditors’ Committee shall
continue to exist after the Effective Date for the purposes of opposing any pending appeals of the
Confirmation Order and taking any actions related thereto, and the Creditors’ Committee’s
professionals may seek compensation for and reimbursement of expenses related to such
opposition and actions, if any, from the Post-Effective Date Estate, and (b) after dissolution of
the Creditors’ Committee, the Creditors’ Committee’s professionals shall retain their rights to
pursue, review and object to any applications for compensation and reimbursement of expenses
filed in accordance with Section 2.1 and 2.2 of this Plan.

          12.3.   Quasi-Judicial Immunity.

        The Confirmation Order shall provide that the Estate Representative and the WD Trustee
are entitled to quasi-judicial immunity to the fullest extent allowed by law in connection with
their implementation of the Confirmation Order, this Plan, the WD Trust Agreement, and the
Wrongful Death Claim Resolution Procedures.

          12.4.   Payment of Statutory Fees.

        On the Effective Date, and thereafter as may be required, the Estate Representative shall
pay all fees payable pursuant to 28 U.S.C. § 1930, including all quarterly fees pursuant to 28
U.S.C. § 1930 that become due after the Effective Date.

          12.5.   Effectuating Documents and Further Transactions.

        The Trustee, up to the Effective Date, and the Estate Representative, subsequent to the
Effective Date, are authorized to execute, deliver, file or record such contracts, releases and other
agreements or documents and take such actions as the Trustee or the Estate Representative, as
the case may be, deem to be reasonably necessary or appropriate to effectuate and further
evidence the terms and conditions of this Plan.




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          12.6.   Exemption from Transfer Taxes.

        Pursuant to section 1146(c) of the Bankruptcy Code, the assignment or surrender of any
lease or sublease, or the delivery of any deed or other instrument of transfer under, in furtherance
of or in connection with this Plan, including any bills of sale, or assignments executed in
connection with any disposition of assets contemplated by this Plan (including transfers of assets
to and by the WD Trust) shall not be subject to any stamp, real estate transfer, mortgage
recording, sales, use or other similar tax.

          12.7.   Elimination of Vacant Classes; Deemed Acceptance.

        Any Class that is not occupied as of the commencement of the Confirmation Hearing by
an Allowed Claim or a Claim temporarily allowed under Bankruptcy Rule 3018 shall be deemed
eliminated from this Plan for purposes of voting to accept or reject this Plan by such Class
pursuant to section 1129(a)(8) of the Bankruptcy Code. Any Class that is occupied as of such
date by an Allowed Claim or such a temporary allowed claim and as to which no vote is cast
shall be deemed to vote to accept the plan for purposes of Sections 1129(a)(8) and 1129(a)(10) of
the Bankruptcy Code.

          12.8.   Modification of Plan.

        The Plan may be amended, modified or supplemented by the Trustee in the manner
provided for by section 1127 of the Bankruptcy Code or as otherwise permitted by law without
additional disclosure pursuant to section 1125 of the Bankruptcy Code, except as the Bankruptcy
Court may otherwise direct. Prior to the Effective Date, the Trustee may make appropriate
technical adjustments and modifications to this Plan without further order or approval of the
Bankruptcy Court, provided that such technical adjustments and modifications do not adversely
affect in a material way the treatment of holders of Claims or Equity Interests. In addition, after
the Effective Date, so long as such action does not materially adversely affect the treatment of
Holders of Claims or Equity Interests under this Plan, the Estate Representative may institute
proceedings in the Bankruptcy Court to remedy any defect or omission or reconcile any
inconsistencies in this Plan or the Confirmation Order. Notwithstanding the foregoing, without
the prior express consent of the relevant Contributing Parties, this Plan may not be amended
pursuant to this paragraph if such amendment would adversely affect the Releases and
Injunctions in favor of the Released Parties or the rights of any of the Released Parties under
their respective Settlement Agreements as set forth herein. Any such amendment, modification
or supplement must be contained in a written document that is filed with the Bankruptcy Court,
and must be discussed in advance with, and not objected to by, the Released Parties.

          12.9.   Revocation or Withdrawal of Plan.

       The Trustee reserves the right to revoke or withdraw this Plan at any time prior to the
Confirmation Date. If the Trustee takes such action, this Plan shall be deemed null and void. In
such event, nothing contained herein shall be deemed to constitute a waiver or release of any
Claim by or against the Debtor or any other Person or to prejudice in any manner the rights of
the Debtor or any other Person in any further proceedings involving the Debtor. However,




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notwithstanding the foregoing, the Trustee shall use his best efforts to obtain confirmation of this
Plan as it is presently proposed.

          12.10. Severability.

        Subject to Section 9.1, relative to conditions to Confirmation, if, prior to the entry of the
Confirmation Order, any term or provision of this Plan is held by the Bankruptcy Court to be
invalid, void or unenforceable, the Bankruptcy Court, at the request of the plan proponents, shall
have the power to alter and interpret such term or provision to make it valid or enforceable to the
maximum extent practicable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration or interpretation, the remainder of the
terms and provisions of this Plan will remain in full force and effect and will in no way be
affected, impaired or invalidated by such holding, alteration or interpretation, except to the extent
that such holding, alteration or interpretation, invalidates a condition to effectiveness of this Plan,
any of the Releases in Section 10.5, any of the Injunctions in Section 10.6, or any other provision
herein in a manner that would materially adversely affect the rights of any of the Released
Parties under their respective Settlement Agreements, or requires any Released Party to pay more
than the sum set forth in their respective Settlement Agreement(s). The Confirmation Order
shall constitute a judicial determination and shall provide that each term and provision of this
Plan, as it may have been altered or interpreted in accordance with the foregoing, is valid and
enforceable pursuant to its terms, and upon the Effective Date all such provisions are accordingly
non-severable. Notwithstanding the foregoing, to the extent that any alteration, or modification
of this Plan or Confirmation Order would give rise to a right by a Released Party to terminate its
respective Settlement Agreement(s), the Released Parties may exercise the right to terminate
their respective Settlement Agreement(s) if and as provided for, and to the extent provided for, in
their Settlement Agreement(s), and the effect of termination, if any, shall be as set forth in such
Settlement Agreement.

          12.11. Schedules and Exhibits.

         The schedules and exhibits to this Plan are incorporated into and are a part of this Plan as
if set forth in full herein.

          12.12. Successors and Assigns.

       All the rights, benefits and obligations of any person named or referred to in this Plan
shall be binding on, and shall inure to the benefit of, the heirs, executors, administrators,
successors and/or assigns of such person.

          12.13. Governing Law.

        Except to the extent that the Bankruptcy Code or other federal law is applicable, or to the
extent an exhibit to the Plan or Plan Supplement provides otherwise (in which case the governing
law specified therein shall be applicable to such exhibit), the rights, duties, and obligations
arising under the Plan shall be governed by, and construed and enforced in accordance with, the
laws of the State of Maine without giving effect to its principles of conflict of laws.




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          12.14. Notices.

        All notices, requests and demands to or upon the Trustee, the Creditors’ Committee, the
U. S. Trustee, or the WD Trustee shall be in writing (including by facsimile transmission) to be
effective and, unless otherwise expressly provided herein, shall be deemed to have been duly
given or made when actually delivered or, in the case of notice by facsimile transmission, when
received and telephonically confirmed, addressed as follows:

       If to the Trustee:

               Robert J. Keach, Esq.
               BERNSTEIN, SHUR, SAWYER & NELSON, P.A.
               100 Middle Street
               P.O. Box 9729
               Portland, ME 04104
               Telephone: (207) 774-1200
               Facsimile: (207) 774-1127

       If to the WD Trustee:

               Joe R. Whatley, Jr.
               2001 Park Place North
               1000 Park Place Tower
               Birmingham, AL 35203

       If to the U.S. Trustee:

               Stephen G. Morrell, Esq.
               OFFICE OF THE UNITED STATES TRUSTEE
               537 Congress Street
               Portland, ME 04101
               Telephone: (207) 780-3564

          12.15. Time.

        In computing any period of time prescribed or allowed by the Plan, unless otherwise set
forth herein or determined by the Bankruptcy Court, the provisions of Bankruptcy Rule 9006
shall apply.

          12.16. Section Headings.

        The section headings contained in the Plan are for reference purposes only and shall not
affect in any way the meaning or interpretation of the Plan.

          12.17. No Admissions.

      As to contested matters, adversary proceedings and other Causes of Action or threatened
Causes of Action, the Plan shall not constitute or be construed as an admission of any fact or


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liability, stipulation, or waiver, but rather as a statement made in settlement negotiations. The
Plan shall not be admissible in any non-bankruptcy proceeding nor shall it be construed to be
conclusive advice on the tax, securities, and other legal effects of the Plan as to Holders of
Claims against, and Equity Interests in, the Debtor.


October 8, 2015                             ROBERT J. KEACH,
                                            CHAPTER 11 TRUSTEE OF MONTREAL
                                            MAINE & ATLANTIC RAILWAY, LTD.

                                            /s/ Robert J. Keach
                                            By: Robert J. Keach, Esq.




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                                 SCHEDULE A

                  Wrongful Death Claim Resolution Procedures
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                Distribution Mechanism with Respect to the Wrongful Death Claims

                                        Points Allocation Matrix
                  Criteria                                          Points per Criteria

1. Age of the decedents                         Age of Decedent                           Points
                                                x Less than 18                            x 3
                                                x 18 to less than 26                      x 8
                                                x 26 to less than 60                      x 10
                                                x 60 to less than 66                      x 8
                                                x 66 and greater                          x 3

2. If decedent survived by children             Age of Surviving Children                 Points
                                                x Less than 21                            x 15
                                                x 21 to less than 31                      x 7
                                                x 31 to less than 51                      x 5
                                                x 51 and greater                          x 3

3. If decedent is survived by a spouse          Annual Income of Decedent                 Points
                                                x Less than $20,000                       x 12.50
                                                x $20,000 to less than $50,000            x 15.00
                                                x $50,000 to less than $75,000            x 16.25
                                                x $75,000 to less than $100,000           x 17.50
                                                x $100,000 and greater                    x 18.75

4. If decedent is survived by a spouse          x   If parents, 5 additional points
   but no children                              x   If no parents, but siblings, then 2.5 points per sibling
                                                    to a maximum of 7.5 points

5. If decedent is not survived by a             x   10 points for each surviving parent and
   spouse or child and the decedent is a        x   5 points for each surviving sibling
   minor

6. If decedent is not survived by a             x   5 points for each surviving parent and
   spouse or child and the decedent is          x   2.5 points for each surviving sibling
   not a minor
                                        1
7. If decedent is survived by a child           x   Set aside of 5% to parents and siblings with a
                                                    potential reallocation to ensure a minimum payment
                                                    of $25,000 to each parent and sibling




1
  As set forth in the CCAA Plan, in the event that, following review of the Derailment Property Damage
Claims pursuant to the Claims Resolution Order (as defined in the CCAA Plan), the aggregate value of
the Derailment Property Damage Claims is reduced below CAD$75 million, the distribution related to the
difference between the amount of CAD$75 million and the revised aggregate value of these claims (the
“Economic Savings”) will be allocated as follows: (a) first, an amount up to CAD$884,000 to permit a
payment of up to CAD$24,000 to each of the grandparents and grandchildren of the deceased, in which
case the grandparents and grandchildren will be removed from Schedule B and included in this ¶7 of this
Schedule A; (b) second, an amount of Economic Savings to permit the increase of the carve-out for
parents, siblings, grandparents and grandchildren in this ¶7 of this Schedule A to increase from 5% up to
the equivalent of 12.5%; and (c) third, on a pro-rata basis, to the value of the claims in the other
categories described in Section 4.2(a), (b), (d) and (e) of the CCAA Plan. For greater certainty, the total
allocation of Economic Savings to increase the allocation to parents, siblings, grandparents and
grandchildren to 12.5% in the wrongful death category shall not exceed CAD$4.9 million.
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                   Victim   Total Points   Allocation %   Estimated Potential Distribution
                     1          68            4.83%                 $5,374,000
                     2          23            1.65%                  1,830,000
                     3          32            2.29%                  2,548,000
                     4          20            1.43%                  1,592,000
                     5          15            1.07%                  1,194,000
                     6          20            1.43%                  1,592,000
                     7           6            0.43%                   478,000
                     8          38            2.68%                  2,985,000
                     9          28            1.97%                  2,189,000
                     10         14            1.00%                  1,115,000
                     11         23            1.65%                  1,831,000
                     12         16            1.15%                  1,274,000
                     13         20            1.43%                  1,592,000
                     14         28            1.97%                  2,189,000
                     15         40            2.86%                  3,185,000
                     16         52            3.69%                  4,100,000
                     17         28            1.97%                  2,189,000
                     18         25            1.79%                  1,990,000
                     19         23            1.65%                  1,830,000
                     20         40            2.86%                  3,185,000
                     21         17            1.22%                  1,353,000
                     22         18            1.29%                  1,433,000
                     23         25            1.79%                  1,990,000
                     24         21            1.47%                  1,632,000
                     25         23            1.65%                  1,831,000
                     26         55            3.94%                  4,379,000
                     27         25            1.79%                  1,990,000
                     28         53            3.76%                  4,180,000
                     29         40            2.86%                  3,185,000
                     30         31            2.18%                  2,428,000
                     31         20            1.43%                  1,592,000
                     32         23            1.65%                  1,830,000
                     33         25            1.79%                  1,990,000
                     34         40            2.86%                  3,185,000
                     35         13            0.93%                  1,035,000
                     36         13            0.93%                  1,035,000
                     37         45            3.19%                  3,543,000
                     38         21            1.47%                  1,632,000
                     39         25            1.79%                  1,990,000
                     40         30            2.15%                  2,388,000
                     41         23            1.61%                  1,791,000
                     42         41            2.95%                  3,284,000
                     43         40            2.86%                  3,185,000
                     44         40            2.86%                  3,185,000
                     45         13            0.93%                  1,035,000
                     46         53            3.76%                  4,180,000
                     47         31            2.24%                  2,488,000
                     48         40            2.86%                  3,185,000
                               1,397         100.0%                $111,216,000


The amounts above are prior to any fees that may be claimed by the claimants’ attorneys or the
Class Representatives, as applicable.
                              (all amounts are in Canadian dollars)
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                                  SCHEDULE B

          Derailment Moral Damages and Personal Injury Claims Matrix
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                      Distribution Mechanism with Respect to the Moral Damage and Personal Injury Claims
                                                          Estimated # of                                                          Dist. per
                                           Points                                 Total points       %           Est. Dist.
                                                            claimants                                                             claimant

     Trouble & Inconvenience                 5.0               3,700                 18,500       24.9%        $11,677,000         $3,160
            Evacuations
      Per day of displacement                1.0               1,850                 10,370       14.0%         6,545,000           630
             Maximum                        30.0                                                                                   per day

       Red Zone/Yellow Zone                 50.0                140                   7,000        9.4%         4,418,000          31,560

 Grandparents and grandchildren
                                            15.0                 50                    750         1.0%          473,000            9,460
         (notes 1 & 5)

Post Traumatic Stress - short term
                                            50.0                250                   5,000       16.8%         7,890,000          31,560
            (note 2)
Post Traumatic Stress - long term
                                            100.0               250                  10,000       33.7%         15,780,000         63,120
            (note 2)

            Bodily Injury                   50.0                  2                    100         0.1%           63,000           31,500

           Buffer (note 3)                                                                                      2,000,000


         Total (notes 1 & 4)                                                         74,220        100%        $48,846,000

Note 1: This is a cumulative calculation, whereby one claimant can fall into more than one category, however wrongful death claimants
and grandparents and grandchildren cannot claim for post-traumatic stress.
Note 2: For those who have been given a medical diagnosis of post-traumatic stress, a depressive disorder, an anxiety disorder and/or
otherwise remain under medical care for mental health issues arising from the disaster and for those who were present in the red zone
at the time of the derailment. In order to qualify in this category and to determine if you qualify for short-term of long-term post-
traumatic stress, further details will be required by the Monitor.

Note 3: To be used for any increase in the post-traumatic stress category (if any); thereafter, any unused portion will be distributed to all
the other categories of moral damages on a pro rata basis.
Note 4: The final amounts may vary depending on further information received.

Note 5: As set forth in the CCAA Plan, in the event that, following review of the Derailment Property Damage Claims pursuant to the
Claims Resolution Order (as defined in the CCAA Plan), the aggregate value of the Derailment Property Damage Claims is reduced
below CAD$75 million, the distribution related to the difference between the amount of CAD$75 million and the revised aggregate value
of these claims (the “Economic Savings”) will be allocated as follows: (a) first, an amount up to CAD$884,000 to permit a payment of
up to CAD$24,000 to each of the grandparents and grandchildren of the deceased, in which case the grandparents and grandchildren
will be removed from this Schedule B and included in ¶7 of Schedule A; (b) second, an amount of Economic Savings to permit the
increase of the carve-out for parents, siblings, grandparents and grandchildren in ¶7 of Schedule A to increase from 5% up to the
equivalent of 12.5%; and (c) third, on a pro-rata basis, to the value of the claims in the other categories described in Section 4.2(a), (b),
(d) and (e) of the CCAA Plan. For greater certainty, the total allocation of Economic Savings to increase the allocation to parents,
siblings, grandparents and grandchildren to 12.5% in the wrongful death category shall not exceed CAD$4.9 million.


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                                 SCHEDULE C

           Derailment Property Damage Claims Distribution Mechanism
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                     Distribution Mechanism with Respect to the
                      Property and Economic Damages Claims


x   Property and Economic Damages Claims will be valued pursuant to the Claims
    Resolution Order.

x   The value of the Property and Economic Damages Claims is currently estimated at
    $75 million.

x   Following the valuation of the Property and Economic Damages Claims pursuant to
    the Claims Resolution Order, creditors having Proven Claims will be paid on a pro-
    rata basis.

x   In the event that, following the review of these claims pursuant to the Claims
    Resolution Order, the aggregate value of the Property and Economic Damages
    Claims is reduced below $75 million, the difference between the amount of $75
    million and the revised aggregate value of these claims will be allocated on a pro-
    rata basis to the value of the claims in the other categories described in Sections 4.2
    (a) (b) (d) and (e).



Any distributions made may be subject to fees that may be claimed by the
claimants’ attorneys or the Class Representatives, as applicable.


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                                   EXHIBIT 1

                               Amended CCAA Plan
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